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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

                                           :
USAA MUTUAL FUNDS TRUST on behalf : Civil Action No.
of its series USAA Aggressive Growth Fund, :
USAA Flexible Income Fund, USAA High :
Income Fund, and USAA International Fund; :  COMPLAINT FOR VIOLATION OF
and INTERNATIONALE                         : THE FEDERAL SECURITIES LAWS
KAPITALANLAGEGESELLSCHAFT mbH, :
                                           :
                     Plaintiffs,           :
                                           :   DEMAND FOR JURY TRIAL
                v.                         :
                                           :
VALEANT PHARMACEUTICALS                    :
INTERNATIONAL, INC.; J. MICHAEL            :
PEARSON; HOWARD B. SCHILLER;               :
ROBERT L. ROSIELLO; DEBORAH JORN; :
ARI S. KELLEN; and TANYA CARRO,            :
                                           :
                     Defendant.            :




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           Plaintiff USAA Mutual Funds Trust (the “Trust”), on behalf of its separate series USAA

Aggressive Growth Fund, USAA Flexible Income Fund, USAA High Income Fund, and USAA

International Fund, and Plaintiff Internationale Kapitalanlagegesellschaft mbH (“INKA”)

(collectively, “Plaintiffs”), by and through their undersigned counsel, bring this action under the

Securities Exchange Act of 1934 (“Exchange Act”) against Valeant Pharmaceuticals

International, Inc. (“Valeant” or the “Company”), and certain of its former officers and directors

(collectively, “Defendants”) to recover damages for losses Plaintiffs have suffered in connection

with Valeant securities purchased or acquired by Plaintiffs between January 4, 2013 and March

15, 2016, inclusive (the “Relevant Period”).

           Except for allegations specifically about Plaintiffs, all allegations herein are based upon

the investigation undertaken by Plaintiffs’ counsel, which included, but was not limited to,

review and analysis of (i) Valeant’s filings with the U.S. Securities and Exchange Commission

(“SEC”); (ii) securities analysts’ reports about Valeant; (iii) transcripts of Valeant earnings

and/or investor conference calls; (iv) Valeant press releases; (v) media reports concerning

Valeant, including online news sources; (vi) Congressional hearings and documents used at these

hearings; and (vi) other publicly available information. Counsel’s investigation is continuing,

and many of the relevant facts are known only by the Defendants, or are exclusively within their

custody or control.

I.         INTRODUCTION

           1.     This case arises from attempts by Valeant, a pharmaceutical and medical device

company, and its top executives to fraudulently inflate the revenue, profits, and overall value of

the Company. Valeant’s scheme ran an array of deceptive practices through a concealed captive

pharmacy network, which was designed to shield Valeant products from competition with




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generic and other lower-priced therapies, thus enabling Valeant to charge exorbitant prices for its

products. By failing to disclose its relationships with its network of pharmacies, and the extent

to which its revenue and profit growth depended on price gouging, Valeant misled investors

about its business model and the sustainability of its growth. Valeant’s scheme also involved

accounting fraud, including inter alia the early recognition of revenues for which collection was

not reasonably assured.

           2.   Valeant’s scheme was exposed through a series of revelations beginning in

September 2015, when Bloomberg announced that Congress was investigating Valeant for price

gouging. The revelations continued with Valeant’s admission on October 19, 2015 that it had an

inappropriate relationship with Philidor, a pharmacy dedicated to dispensing Valeant products to

patients. Additional revelations were made in late 2015 and early 2016, when Valeant disclosed

the financial impact of its fraudulent practices. On March 21, 2016, Valeant revealed it had

engaged in accounting improprieties and would have to restate prior financial statements. The

full extent of the scheme was finally revealed on August 10, 2016, when the Wall Street Journal

reported that federal prosecutors were investigating Valeant for criminal fraud. Ultimately, on

January 26, 2017, the United States Attorney for the Southern District of New York (“US

Attorney”) indicted Gary Tanner, a senior executive at Valeant, and Andrew Davenport,

Philidor’s former CEO, for violations of the wire and mail fraud statutes and money laundering

(“Tanner Indictment”).

           3.   During this series of revelations, the price of Valeant’s common stock fell

precipitously, declining by over 93% in just 18 months, resulting in financial harm to Plaintiffs.

Similarly, the price of Valeant’s bonds dropped precipitously.

           4.   Valeant is headquartered in Canada, but operates most of its business in the




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United States. Historically, Valeant employed a traditional pharmaceutical company business

strategy, engaging in the development, manufacture, and marketing of branded and generic

drugs. For decades, however, Valeant performed poorly. This changed when Defendant J.

Michael Pearson (“Pearson”) took the Company’s helm in 2008 as its Chairman of the Board and

Chief Executive Office (“CEO”).        Drawing from his prior experience as a consultant at

McKinsey & Co. (“McKinsey”), where he advised (among others) Tyco International, Ltd.

(“Tyco”) to engage in growth-by-acquisition strategies, Pearson transformed Valeant’s

traditional business model of investing in research and development (“R&D”), to one that

focused on acquiring other pharmaceutical companies and their products. R&D and labor costs

were cut dramatically, as Valeant turned away from developing improved drugs. The success of

the business now turned on Valeant’s ability to market those drugs “more efficiently.”1 Investors

were led to believe that, under Pearson’s purview, Valeant’s sales tactics were superior to the

prior tactics, and the so-called “inefficiencies” would be remedied.

           5.   For example, one feature of the new business model that Pearson implemented

was to increase the prices of “orphan” drugs, which were used to treat rare medical conditions.

Such drugs face little or no competition from generics or comparable treatments, thus making

them easy targets for unreasonable price increases. Although Valeant justified these price

increases by stating that they had previously been priced “inefficiently,” its strategy was no more

than basic price gouging. In fact, the prices of many of Valeant’s acquired drugs increased by at

least ten-fold, and in one instance, by more than 32-fold.



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    Valeant’s business model also exploited tax advantages. For instance, in September 2010,
Valeant was reverse-acquired by Biovail, a Canadian pharmaceutical company, largely so that
Valeant could claim Canada as its headquarters and thus take advantage of a lower tax burden
there. The tax savings added hundreds of millions of dollars to Valeant’s revenues, and the gains
increased as Valeant’s overall revenues increased with subsequent acquisitions.


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           6.   In fact, Valeant did not employ superior sales tactics. Rather, it engaged in a

scheme of deceptive and illegal practices designed to allow it to raise the price of its drugs and

ensure that the higher prices would be paid by patients and third party payers (“TPP”), despite no

improvement in the drug or reduction in completion from alternative therapies or generics.

           7.   Valeant’s price gouging business model could only work if it insulated its

products from generics and other less expensive comparable therapies. In order to do this,

Valeant developed relationships with a network of pharmacies throughout the United States to

ensure that its products, rather than generics, were dispensed to patients. Philidor, a mail order

pharmacy in Pennsylvania, was the primary actor in the network. To implement the fraud

Valeant directed Philidor to deceive TPPs, by, among other things, (i) altering prescriptions to

write “dispensed as written,” thereby avoiding generic substitution, when in fact the prescribing

doctor did not make that notation; (ii) waiving patient co-pays, so that there would be little

resistance from patients; and (iii) automatically refilling prescriptions that patients had not

requested and did not require. To ensure that Philidor and its other captive pharmacies employed

these manipulative devices, Valeant dispatched its own employees to the pharmacy sites to

oversee the prescription fulfillment process. The employees were directed to use aliases to hide

their Valeant affiliation. High level and well-paid Valeant executives with a direct line to

Pearson were installed on site at Philidor, and the most senior management conducted its own in-

person visits to ensure their fraudulent vision for Valeant was being implemented.

           8.   Valeant’s new business model of acquisition, followed by price gouging, was not

sustainable in the long run. Some investors understandably questioned how it was possible for

Valeant to raise prices so dramatically. To distract investors from the realities of its business and

to make Valeant’s revenue and profit growth appear genuine, Pearson and other Valeant




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executives falsely claimed the Company’s success resulted from “organic growth” achieved

through improved marketing. Meanwhile, Valeant downplayed the increase in revenues that was

attributable to price increases, and took extraordinary efforts to hide its relationships with

Philidor and other pharmacies in the secret network. Valeant affirmatively represented that its

business depended on third party pharmacies outside of its control. In fact, much of its business

was funneled through Philidor and other captive pharmacies, which Valeant did control.

           9.    Valeant’s deceptive practices were revealed when the public began to scrutinize

pharmaceutical companies’ pricing practices. A series of news reports, investor analyses, and

Congressional hearings shed light on Valeant’s deceptive practices beginning in September 2015

and continuing throughout most of 2016. When Valeant’s business model was exposed as

nothing more than price gouging made possible with deceit, investors dumped its stock, which

plummeted in value by more than 90%. As part of the fallout, Valeant fired its key executives,

including Pearson. In the process, investors who had believed Valeant’s false and misleading

statements lost tens of billions of dollars.

           10.   Plaintiffs bought Valeant securities during the period of the fraudulent scheme,

and suffered significant losses due to Valeant’s deception. Plaintiffs seek to recover their

damages due to the Defendants’ misconduct, under the Securities Exchange Act of 1934, based

both on its reliance on an efficient market as well as its actual reliance on Defendants’

misstatements.

II.        JURISDICTION AND VENUE

           11.   The claims under United States law asserted herein arise under Sections 10(b) and

20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78(t)(a)), and SEC Rule 10b-5 promulgated

thereunder by the SEC (17 C.F.R. § 240.10b-5).




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            12.   This Court has jurisdiction over the subject matter of this action pursuant to

 Section 27 of the Exchange Act, 15 U.S.C. § 78aa and 28 U.S.C. §1331.

            13.   Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

 U.S.C. §1391(b). The acts and conduct described in this Complaint, including the dissemination

 of false and misleading statements and information, occurred in substantial part in this District.

            14.   In connection with the acts alleged in this Complaint, Defendants, directly or

 indirectly, used the means and instrumentalities of interstate commerce, including the United

 States mails, interstate telephone communications, and the facilities of the national securities

 markets.

            15.   Valeant common stock trades in efficient markets, on the New York Stock

 Exchange (“NYSE”), among others.

            16.   Plaintiffs’ claims are premised upon their purchases of Valeant common stock

 and bonds issued by Valeant.

            17.   Plaintiffs’ purchases of Valeant-issued securities constitute domestic transactions

 for purposes of the federal securities laws.

 III.       PARTIES

            A.    PLAINTIFFS

            18.   The Trust is a registered investment company organized as a Delaware statutory

 trust with its principal place of business in San Antonio, Texas. The Trust is asserting the claims

 set forth herein on behalf of its series USAA Aggressive Growth Fund, USAA Flexible Income

 Fund, USAA High Income Fund, and USAA International Fund.

            19.   The series USAA Aggressive Growth Fund and USAA International Fund each

 purchased Valeant common stock on a U.S. exchange during the Relevant Period at prices that




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 were artificially inflated by Defendants’ conduct and suffered damages thereby.

            20.   In addition, during the Relevant Period, and at prices that were artificially inflated

 by Defendants’ conduct, and with resulting damages, series of USAA purchased Valeant debt

 securities as follows: the series USAA Flexible Income Fund purchased 5.625% senior notes due

 2021 (identified by CUSIP 91911KAD4); and the series USAA High Income Fund purchased

 5.625% senior notes due 2021 (identified by CUSIP 91911KAD4), 6.75% senior notes due 2023

 (identified by CUSIP 92912EAC7), and 6.125% senior notes due 2025 (identified by CUSIP

 91831AAC5). For these purchases, irrevocable liability for the purchases was incurred within

 the United States and/or title to the purchased securities passed within the United States.

            21.   INKA is a German fund management company with over €200 billion of assets

 under management, including assets for institutional investors and mutual funds.                INKA

 functions as a “Master KAG” under German investment company law and is acting on behalf of

 and in the sole interest of its (non-legal entity) investment funds based on its fiduciary duties to

 its clients. It is the only corporate entity with standing to assert the claims asserted herein, as the

 funds administered and managed by INKA are registered funds under German law but without

 legal personality.

            22.   INKA purchased Valeant common stock on a U.S. exchange during the Relevant

 Period at prices that were artificially inflated by Defendants’ conduct and suffered damages

 thereby. In addition, during the Relevant Period, and at prices that were artificially inflated by

 Defendants’ conduct, and with resulting damages, INKA purchased the following Valeant debt

 securities: 6.375% senior notes due 2020 (identified by CUSIP 91829KAA1); 5.375% senior

 notes due 2020 (identified by CUSIP 91831AAA9); 5.875% senior notes due 2023 (identified by

 CUSIP 91831AAB7); 6.125% senior notes due 2025 (identified by CUSIP 91831AAC5);




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 5.625% senior notes due 2021 (identified by CUSIP 91911KAD4); 5.5% senior notes due 2023

 (identified by CUSIP 91911KAE2); 7% senior notes due 2020 (identified by CUSIP

 91911XAM6); 6.875% notes due 2018 (identified by CUSIP 91911XAN49); 6.75% senior notes

 due 2021 (identified by CUSIP 91911XAQ7); 6.50% notes due 2016 (identified by CUSIP

 91911XAR5); 7.25% senior notes due 2022 (identified by CUSIP 91911XAS3); 7.5% senior

 notes due 2021 (identified by CUSIP 92912EAA1); 6.75% senior notes due 2023 (identified by

 CUSIP 92912EAC7); and 4.50% senior notes due 2023 (identified by ISIN XS1206091651).

 For these purchases, irrevocable liability for the purchases was incurred within the United States

 and/or title to the purchased securities passed within the United States.

            B.    DEFENDANTS

            23.   Valeant: Defendant Valeant is a Canadian corporation, incorporated in British

 Columbia, Canada, and has its United States headquarters located at 400 Somerset Corporate

 Boulevard, Bridgewater, New Jersey and Canadian headquarters located at 2150 Boulevard

 Saint-Elzéar O, Laval, Quebec. Valeant is a multinational pharmaceutical and medical device

 company that markets a broad range of branded, generic and branded generic pharmaceuticals,

 over-the-counter products, and medical devices, directly or indirectly, in over 100 countries.

 Valeant is one of the largest pharmaceutical companies in the United States. Shares of Valeant

 stock trade on the NYSE and TSE under the ticker symbol “VRX.”

            24.   Pearson: Defendant J. Michael Pearson served as Valeant’s CEO and a director

 of the Company from 2008 until May 3, 2016, and as Chairman of the Board of Directors from

 March 2011 to January 2016. Pearson took a medical leave of absence in January and February

 2016, and, on March 21, 2016, Valeant announced that Pearson had been terminated and would

 be replaced. Prior to working at Valeant, Pearson worked at McKinsey as a consultant, where




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 Valeant was one of his clients. During the Relevant Period, Pearson obtained Valeant stock

 valued, at one time, at over $2 billion. His total compensation (cash and stock awards) for 2013,

 2014, and 2015, respectively, was approximately $7 million, $10.3 million and $140.3 million.

            25.   Schiller: Defendant Howard B. Schiller served as Valeant’s Chief Financial

 Officer (“CFO”) and an Executive Vice President (“EVP”) of the Company from December

 2011 until June 30, 2015, when he resigned from the position. Additionally, Schiller was a

 member of Valeant’s Board of Directors from September 2012 until June 2016, and served as the

 Company’s interim CEO in January and February 2016 while Pearson was on medical leave.

 On March 21, 2016, Valeant announced that Schiller had engaged in “improper conduct” related

 to the Company’s accounting restatement, and asked him to resign as a director of the Company.

 Schiller refused, and was not made a candidate for re-election to the Board. Schiller’s total

 compensation (cash and stock awards) for 2013 and 2014 was approximately $4 million and $27

 million, respectively.

            26.   Rosiello: Defendant Robert L. Rosiello served as Valeant’s CFO and an EVP of

 the Company from July 2015 until December 31, 2016. During Pearson’s medical leave of

 absence and before Schiller was appointed interim CEO, Rosiello served as one of the three

 members of the Company’s “Office of the CEO.” Like Pearson, Rosiello is a McKinsey veteran,

 having spent over 30 years at the consulting group. Rosiello’s total compensation (cash and

 stock awards) for 2015 was approximately $60.4 million.

            27.   Jorn: Defendant Deborah Jorn served as a Valeant EVP and Company Group

 Chairman from August 2013 until her departure on March 2, 2016. Jorn was general manager of

 Valeant’s U.S. dermatology business, and she joined the Company in connection with its

 acquisition of Bausch & Lomb, where she had served as Vice President of Global Marketing.




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 Jorn’s total compensation (cash and stock awards) for 2013, 2014 and 2015, was approximately

 $1.7 million, $2.3 million and $5.6 million, respectively.

            28.   Kellen: Defendant Dr. Ari S. Kellen served as the Company’s EVP and Company

 Group Chairman from January 1, 2014 until January 13, 2017. Kellen briefly served as one of

 the three members of the Office of the CEO after Pearson went on medical leave and before

 Schiller was named interim CEO. Like Pearson and Rosiello, Kellen is a McKinsey veteran,

 having spent over 22 years at the consulting group. Following Jorn’s departure, Kellen became

 and currently serves as the head of Valeant’s U.S. dermatology business.            Kellen’s total

 compensation (cash and stock awards) for 2014 and 2015 was approximately $50.6 million and

 $4.7 million, respectively.

            29.   Carro: Defendant Tanya Carro was at all relevant times Valeant’s Corporate

 Controller. On March 21, 2016, Valeant announced Carro had been placed on administrative

 leave after committing “improper conduct” related to the Company’s accounting restatement.

 Shortly thereafter, Valeant announced that it had hired a new Controller.

            30.   Defendants Pearson, Schiller, Rosiello, Jorn, Kellen and Carro are collectively

 referred to herein as the “Executive Defendants.”

            31.   The Executive Defendants possessed the authority to control the contents of

 Valeant’s quarterly reports, annual reports, press releases, and presentations to securities

 analysts, money and portfolio managers, and institutional investors, i.e., the market. They

 received copies of the Company’s reports and press releases alleged herein to be misleading prior

 to or shortly after their issuance and had the ability and opportunity to prevent their issuance or

 cause them to be corrected. Because of their positions with the Company, and their access to

 material nonpublic information available to them but not to the public, the Executive Defendants




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 knew that the adverse facts specified herein had not been disclosed and were being concealed

 from the public and that the positive representations being made were then materially false and

 misleading. The Executive Defendants are liable for the false statements pleaded herein.

            C.        RELEVANT THIRD PARTIES

            32.       Philidor: Philidor is a Delaware limited liability company. Its headquarters were

 located at 400 Horsham Road, Suite 109, Horsham Pennsylvania, 19044. It was formed in

 January 2013 with the assistance of Valeant employees to serve as the head of Valeant’s secret

 network of specialty pharmacies. Philidor and numerous of the other pharmacies in Valeant’s

 secret networks were named for chess strategies, including:

                     Philidor: The “Philidor Defense” is a chess opening;

                     KGA: KGA was a wholly-owned Valeant subsidiary that paid $100 million to

                      obtain the option to acquire Philidor in December 2014. KGA stands for “King’s

                      Gambit Accepted,” a chess opening;

                     BQ6 Medial Group LLC (“BQ6”): BQ6 was a marketing firm that consulted for

                      Valeant and shared a Pennsylvania address with Philidor as well as employees.

                      BQ6 also refers to a chess move involving a bishop and a queen;

                     End Game Partnership L.P. (“End Game”): End Game owned a 31.5% stake in

                      Philidor and is also a chess term;

                     Isolani, LLC (“Isolani”):    Isolani was a Delaware company with Eric Rice,

                      Philidor’s Senior Director of Call Center Operations, as its sole member. In

                      chess, an isolated queen’s pawn is called an “isolani.” Isolani served as Philidor’s

                      “pawn” in California, after Philidor had been denied its own license to operate in

                      California.



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                     Back Rank LLC: Back Rank used one of Philidor’s Pennsylvania addresses and

                      its president, James Fleming, was the Controller at Philidor. Back Rank is also a

                      chess term.

                     Lucena Holdings, LLC (“Lucena”): Lucena was used to take a 10% stake in

                      another California pharmacy and is also a chess term.

            33.       Tanner: Gary Tanner was hired by Valeant in or about December 2012 as its

 Executive Director of Commercial Analytics. By April 2013, Valeant also appointed Tanner to

 be the Senior Director for Valeant’s “Access Solutions Team.” Tanner was largely responsible

 for overseeing daily operations at Philidor, including its alternative prescription fulfillment, or

 “AF” program. On November 16, 2016, the US Attorney charged Tanner with violations of mail

 and wire fraud statutes, as well as money laundering, for his role in the fraudulent scheme. An

 indictment was filed on January 26, 2017.

            34.       Davenport: Andrew Davenport created Philidor with the assistance of Tanner,

 Valeant and others. During the Relevant Time, Davenport was the Chief Executive Officer of

 Philidor. On November 16, 2016, the US Attorney charged Davenport with violations of mail

 and wire fraud statutes, as well as money laundering, for his role in the fraudulent scheme. An

 indictment was filed on January 26, 2017.

 IV.        VALEANT’S SCHEME TO DEFRAUD

            A.        VALEANT DEVELOPED       AN   UNORTHODOX BUSINESS MODEL DEPENDENT              ON
                      EXORBITANT PRICING

            35.       Traditional pharmaceutical companies invest heavily in R&D, spending up to

 20% of their revenue on developing new drugs and products for patient treatment. Their profit

 and growth strategies are focused on developing these new therapies. Their efforts are aided by

 U.S. patent law, which encourages pharmaceutical innovation by protecting new drugs from



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 generic competition for a substantial period of time following market entry. During this patent-

 protected window, pharmaceutical companies recoup their investments and generate income for

 future R&D by pricing their products non-competitively. Once the drugs go “off patent,” and

 generics are allowed in the market, the pharmaceutical company either lowers the prices of its

 drugs significantly to compete with generics, or suffers a vast decline in sales volume.

            36.   Eschewing this traditional model of pharmaceutical company growth and

 profitability, Valeant, under the direction of Pearson, employed a new approach. Pearson viewed

 pharmaceutical R&D spending as wasteful, often demonstrating low levels of return. Thus,

 Pearson steered Valeant towards a business model of acquisitions. In particular, Valeant’s new

 strategy was to acquire drugs and drug companies with established products and markets, and

 then raise the prices of the acquired drugs. Valeant pursued this strategy aggressively. Since

 2010, Valeant has spent a combined $36 billion on acquiring companies or their product lines.

 Since 2008, when Pearson became CEO of Valeant, Valeant has acquired at least 100

 companies.

            37.   For example, in September of 2010, Valeant engaged in a reverse merger with

 Biovail Corporation, a Canadian company, for $3.3 billion, with Pearson becoming CEO of the

 combined company. Biovail’s products included dermatological drugs, drugs treating disorders

 of the central nervous system, and the anti-depressant drug Wellbutrin. Similarly, in 2012,

 Valeant purchased Medicis Pharmaceutical Corporation (“Medicis”) for $2.6 billion, providing

 Valeant with access to additional acne drugs, as well as other aesthetic skin care products. Also

 in 2012, Valeant acquired Natur Produkt International of Russia for $180 million, which sold

 cough and cold treatments. In 2013, Valeant bought eye-care giant Bausch & Lomb from private

 equity firm Warburg Pincus for $8.6 billion, giving Valeant access to Bausch & Lomb’s




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 specialized ophthalmology and contact lens portfolio. Finally, in April 2015, Valeant completed

 its $11 billion purchase of Salix Pharmaceuticals (“Salix”), a maker of drugs treating

 gastrointestinal disorders.

            38.   Simply acquiring products and businesses would do nothing for Valeant unless it

 could increase its revenues.      Many of the products it acquired, however, faced generic

 competition, which, generally speaking, would make increasing either price or volume difficult.

 Thus, the products Valeant acquired were similar in that that they did not compete with products

 made by large, easily-recognized pharmaceutical companies. This helped Valeant raise the

 prices of its products without significant scrutiny from patients or third-party parties.

            39.   Valeant’s unorthodox growth-by-acquisition strategy appeared successful on the

 surface. Year after year, the Company reported consistent, steep increases in revenue, which

 rose from $3.48 billion in 2012, to $5.76 billion in 2013, to $8.25 billion in 2014, and finally to

 $7.71 billion in just the first three quarters of 2015. As of July 2015, Valeant was valued at over

 $90 billion, making it the largest public company incorporated in Canada and the largest

 pharmaceutical company headquartered in the United States.

            40.   During the Relevant Period, Valeant attributed the success of its non-traditional

 strategy to its aggressive cost-cutting measures, its “outstanding sales teams, implementation of

 innovative marketing approaches, great leadership, [and] a portfolio of great products.” Pearson

 personally echoed these reasons for Valeant’s success, stating in a February 22, 2015 Valeant

 press release that Valeant’s explosive growth was owed to the Company’s “output-focused

 research and development model,’’ which involved “focusing on innovation through our internal

 research and development, acquisitions, and in-licensing” and “focusing on productivity through

 measures such as leveraging industry overcapacity and outsourcing commodity services.” These




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 misrepresentations concealed from the public, including Plaintiffs and other investors, the true

 driver of the Company’s growth: price-gouging made possible through deceitful practices,

 centering on its use of a secret network of captive pharmacies.

            41.   In an effort to conceal its scheme, Valeant consistently made false statements that

 blurred the extent to which pricing increases contributed to the Company’s revenue growth. For

 instance, in response to a direct question concerning the contribution of price increase to growth

 during an April 29, 2015 conference call with investors, Pearson falsely responded that, “In

 terms of price volume, actually, volume was greater than price in terms of our growth.” On

 February 4, 2016, after Valeant’s extraordinary price increases became the subject of widespread

 public attention and reproach, including probes by federal authorities, regulators, and lawmakers,

 Valeant issued a press release admitting that Pearson’s statement on the April 2015 conference

 call was false and that, in truth, Valeant’s growth resulted from its price hikes. This admission

 was detailed by, inter alia, The Wall Street Journal, in a February 2, 2016, article titled,

 “Valeant’s Sales Growth: Driven by Price Increases or Volume Growth?”

            42.   In addition to making outright false statements, Valeant made critical changes to

 its public disclosures to take the spotlight off its price-gouging practices, beginning in 2013.

 First, Valeant refused to break-out the revenue numbers flowing from its major acquisitions,

 making it difficult for investors to determine whether the acquired drugs were experiencing any

 post-acquisition growth. In addition, Valeant reduced its number of operating segments from

 four (U.S. Neurology and Other; U.S. Dermatology; Canada & Australia; and Emerging

 Markets) to just two (Developed Markets and Emerging Markets) in 2013. Because various

 segments were driven by just a few main products, investors previously had been able to track

 how those products were performing.          But with just two operating segments, it became




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 impossible for investors to ascertain that same information.

            B.    VALEANT DEVELOPED A SECRET PHARMACY NETWORK                   TO   DISPENSE ITS
                  OVERPRICED PRODUCTS

            43.   The cornerstone of Valeant’s deceptive practices was its network of captive

 pharmacies. Without them, Valeant could not have insulated its brand name drugs from generic

 competition, allowing for increased sales at increased prices. Through this secret network of

 pharmacies, Valeant engaged in a host of deceptive practices, which included, inter alia, flouting

 statutory or contractual mandates requiring substitution of generic equivalents for Valeant-

 branded drugs and submitting false claims information to TPPs and pharmacy benefit managers

 (“PBMs”) (explained infra Section IV). As a result, TPPs and PBMs overpaid for Valeant’s

 expensive branded drugs, were prevented from obtaining cheaper generic alternatives, and paid

 for drugs that should never have been dispensed. All the while, investors were unaware that

 Valeant’s illusory success was due to these deceptive practices, and instead watched as the price

 of Valeant’s stock price was artificially increased.

            44.   Traditionally, the pharmacies that dispense drugs have operated independently

 from pharmaceutical manufacturers to avoid any conflict of interest. Pharmacies can serve as a

 check on prices and unnecessary refills. As a result, TPPs and, in particular PBMs, require

 notification of any change in pharmacy ownership. Any pharmacy that was owned or controlled

 by a manufacturer would spark increased scrutiny from the TPPs.

            45.   For its price-gouging scheme to be effective, Valeant had to evade this inherent

 system of checks and balances. Thus, it created a secret network of pharmacies that it controlled.

 At the center of Valeant’s pharmacy network was Philidor. On January 2, 2013, Defendants

 incorporated Philidor, a purportedly independent “specialty” mail order pharmacy. During the

 Relevant Period, Philidor was licensed in 45 states and the District of Columbia.



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            46.   Specialty pharmacies typically exist to dispense self-administered drugs, because

 patients require individualized direction in learning how to administer these medicines.

 Specialty pharmacies therefore focus on drugs that are almost always highly differentiated brand-

 name drugs for patients undergoing intensive therapies for chronic, complex illnesses such as

 cancer and HIV. Philidor, on the other hand, was primarily devoted to dispensing Valeant’s

 undifferentiated, traditional drugs - principally its dermatological products - most of which had

 low-cost generic substitutes. Indeed, as Philidor admitted, Valeant was its “only client.”2

            47.   Valeant was closely tied to Philidor even prior to its formal incorporation. One

 month before Philidor was incorporated, Valeant hired Tanner as the drug company’s special

 “liaison” with Philidor and to help launch the pharmacy’s operations. According to the US

 Attorney’s complaint against Tanner, dated November 16, 2016, by April 2013, Tanner was

 appointed to be the “Senior Director for Valeant’s ‘Access Solutions Team,’” and he had “direct

 access to senior management of Valeant.” Further, according to the US Attorney’s complaint

 against Tanner, Tanner “interacted directly with Philidor’s executives,” including its CEO

 Davenport, and “supervised employees who worked partially or wholly out of Philidor’s offices

 in Pennsylvania, including sales and managerial staff employed by Valeant and certain staff

 employed by Philidor.” He also maintained an office on Philidor’s premises.

            48.   Likewise, on the same day Philidor was incorporated, Valeant hired Laizer

 Kornwasser (“Kornwasser”) - a former senior executive at Medco - to oversee Valeant’s

 relationship with Philidor, and paid him nearly $5 million in equity awards that same day.

 Kornwasser supervised Tanner and reported directly to Pearson.                Kornwasser’s lofty

 compensation and his direct line to Valeant’s CEO indicates Philidor’s critical role in Valeant’s



 2
     See Business Insider, October 22, 2015.


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 success. Tanner and Kornwasser were key employees who remained closely involved in the

 details of running the pharmacy, including expanding its business.

            49.   Valeant’s relationship with Philidor permeated all levels of employment.      In

 addition to Tanner and Kornwasser, Valeant dispatched a team of employees to work within

 Philidor during the Relevant Period. Among other tasks, these employees supervised pharmacy

 operations and ensured that Philidor was employing the fraudulent business practices necessary

 to peddle Valeant’s overpriced drugs. Valeant employees were also responsible for performing a

 variety of key business functions for the pharmacy, including interviewing Philidor job

 applicants and overseeing the pharmacy’s billing operations.

            50.   Valeant undertook great efforts to ensure that its relationship with Philidor was

 concealed. For instance, the Valeant employees who performed functions at Philidor were

 instructed to use aliases when sending emails from Philidor accounts. For example, one Valeant

 employee who also worked for Philidor, Bijal Patel, was instructed to use “Peter Parker” as an

 alias (i.e., Spiderman’s “real” name) when sending emails from his Philidor account to obscure

 the fact that he was employed by both Valeant and Philidor. Other email aliases used by Valeant

 employees include “Jack Reacher” (the protagonist of a popular series of books written by Lee

 Child) and “Brian Wilson” (the lead singer and songwriter of the Beach Boys).

            51.   Valeant also made a large financial investment in Philidor. On December 15,

 2014, Valeant paid $100 million for the option to acquire Philidor for $0. This transaction was

 effectively a purchase of Philidor by Valeant (“Purchase Option Agreement”).            Valeant’s

 obscure wholly-owned subsidiary, KGA, obtained the option to acquire Philidor, in order to hide

 the relationship between Valeant and Philidor.        Notably, the Purchase Option Agreement

 provided that Philidor was to enter into a purchase agreement with Isolani and Lucena (two other




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 pharmacies, discussed below) as a condition to the acquisition, and stated that Philidor’s business

 “ha[d] been conducted in the Ordinary Course of Business” since December 31, 2013.

            52.   The Purchase Option Agreement also gave Valeant, through KGA (named after

 King’s Gambit Accepted, a chess opening), the right to form a joint steering committee to

 “assess and discuss” matters relating to legal compliance and Philidor’s “internal policies,

 manuals and processes,” including amending existing policies or establishing new ones.

 Significantly, it afforded Valeant the right to “make the final determination” regarding all

 matters with respect to “the Strategic Plan of Philidor” and “the compliance of [Philidor] with

 applicable Legal Requirements, Contractual obligations (including agreements with Third Party

 Payers) and the Company’s internal policies and manuals,” in the event there was a dispute

 among the joint steering committee members. The Purchase Option Agreement further allowed

 Valeant to review Philidor’s strategic plan and compliance structure, including Philidor’s

 policies and manuals. Further, the joint steering committee had “the right to review, prior to

 their submission, all applications of the Company for licenses and permits (including state

 pharmacy licenses).”     Notably, those internal manuals documented many of the deceptive

 practices used by Philidor to boost sales of Valeant products, described in detail infra, Section

 IV.C.

            53.   On the same day that Valeant officially acquired Philidor, December 15, 2014,

 Valeant and Philidor entered into a distribution and services agreement, which superseded the

 prior agreement that had been in effect between Philidor and Valeant. In the new agreement,

 Philidor represented it would “operate in full compliance with all licenses and permits required

 by Laws and all contracts with participating insurance companies and Third Party Payors.” This

 agreement also gave Valeant the right to inspect Philidor’s policies and procedures to verify




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 compliance.      Kellen signed the distribution agreement on behalf of Valeant; Davenport,

 Philidor’s CEO, signed for Philidor.

            54.   Multiple former employees of Valeant and Philidor have confirmed that Valeant

 controlled Philidor. For example, when asked if Valeant had control over Philidor, one woman

 who served as a Patient Care Specialist at Philidor from June 2015 to November 2015 stressed

 that “without them [Philidor], we [Valeant] can’t be in business.” She cited Philidor’s reliance

 on its ability to “administer a copay program on behalf of the manufacturer” as the reason a

 relationship with Valeant was necessary. Similarly, when asked what control Valeant had over

 Philidor, Valeant’s Territory Manager from July 2012 to February 2013 stated “the job of the

 Philidor reps were [sic] to make sure everything went through for Valeant.” There was “no other

 job than that.” Through personal connections, she learned that Philidor sales representatives

 were given bonuses as high as $40,000 per quarter to ensure that all of Valeant/Medicis’

 products were sold through Philidor.       The former Territory Manager recalls at least ten

 employees being “promoted” to Philidor from Valeant/Medicis during her time with the

 Company.

            55.   Valeant’s secret pharmacy network did not end with Philidor. After forming

 Philidor, Defendants created a host of related shell companies, which they used to acquire, on

 behalf of Valeant, interests in smaller retail pharmacies all over the United States. The network

 included at least 76 “phantom” pharmacies, created with the help of Philidor or its affiliates, who

 filed pharmacy applications with state regulators on behalf of various shell companies. These

 applications were replete with false and misleading statements that failed to disclose the shell

 companies’ relationship with Valeant and Philidor. For example, an application that Philidor

 submitted with the California State Board of Pharmacy on or about August 15, 2013 included the




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 following false representations, made by Philidor’s CEO Davenport, under penalty of perjury:

                 that Alan Gubernick was Philidor’s accountant and bookkeeper, when in
                  reality it was Gregory W. Blaszczynski, who, unbeknownst to state
                  regulators, was an employee of BQ6 Media, an instrumentality of Valeant
                  and Philidor;

                 that there were no individuals or entities with a beneficial interest in
                  Philidor, when in fact Valeant had an interest in Philidor;

                 that there were no owners or shareholders of Philidor, when in fact there
                  were sixteen;

                 that there were no persons with a beneficial interest in Philidor, when in
                  fact there were sixteen;

                 that there were no entities with a 10% or more ownership interest in
                  Philidor; and

                 that Davenport himself was not an owner of Philidor, when in fact he
                  owned a 27% stake in the company.

            56.   Finding that the foregoing statements were false, on May 16, 2014, the California

 State Board of Pharmacy denied Philidor’s application. Philidor was also found to have acted

 “with the intent to substantially benefit [Philidor and Davenport],” and that and Davenport, by

 virtue of their false statements, were “guilty of unprofessional conduct.” The California State

 Board of Pharmacy affirmed its denial of Philidor’s pharmacy license in February 2016, which

 occurs in less than 1% of applications for the particular license sought.

            57.   Following its failure to obtain a license in California through Philidor’s shell

 companies, Defendants sought access to the country’s largest market by simply extending the

 chain between Philidor and the pharmacy. In particular, Defendants caused a Va1eant/Philidor-

 controlled shell company, Lucena, to acquire a stake in a pre-existing and licensed California

 pharmacy called “West Wilshire Pharmacy” in an effort to circumvent the Board of Pharmacy’s

 licensing denial. In a “Change of Permit Request” filed with the California State Board of

 Pharmacy on September 24, 2014, Defendants made similar representations as they had done


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 previously, falsely representing that Lucena did not have a parent company; that the only entity

 or individual with an interest in Lucena was Gregory W. Blaszczynski, who, unbeknownst to

 state regulators, was an employee of BQ6edia, an instrumentality of Valeant and Philidor; and

 that Lucena’s CEO and pharmacist-in-charge, Sherri Leon, was not, and had never been,

 “associated in business with any person, partnership, corporation, or other entity whose

 pharmacy permit ... was denied.” In fact, Leon was Philidor’s Director of Pharmacy Operations,

 and California had denied Philidor’s pharmacy application earlier that same year.

            58.   Defendants also misled state regulators in Texas. Back Rank was a Philidor-

 controlled shell company. Back Rank’s managing member, James R. Fleming, was Philidor’s

 Controller, and his mailing address was a listed Philidor mailing address. Defendants caused

 Back Rank to take ownership of Houston-based Orbit Pharmacy, Inc. (“Orbit”). In a September

 2015 application filed with the Texas State Board of Pharmacy, Orbit falsely represented that no

 state had ever denied a pharmacy application filed by any of the “the pharmacy’s owner[s] or

 partner[s].” In reality, as detailed above, California had denied Philidor’s pharmacy application

 the previous year. Orbit’s false and misleading representation concealed its connection with

 Philidor and Valeant from state regulators.

            59.   The full extent of Valeant’s secret pharmacy network, including the identities of

 its pharmacies and shell companies, is still unknown. However, elements of that network have

 become public. One clue that a pharmacy is part of Valeant’s network is the preference for

 naming the shell companies and pharmacies after chess-related moves and players. “Philidor” is

 a reference to 18th Century chess master Francois-Andre Philidor and his eponymous Philidor

 defense. “Lucena” and “Back Rank,” both discussed above, refer to endgame chess strategies,

 while “Isolani” is a term for an isolated queen’s pawn. A sampling of the numerous additional




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 shell companies in Defendants’ captive network, all registered in Delaware, likewise share chess-

 related names: (i) Fifty Moves, LLC is a reference to the “Fifty Move Rule”; (ii) ELO Pharmacy

 LLC is a reference to the ELO chess ranking system; (iii) C-K Pharmacies LLC is a reference to

 the Caro-Kahn chess defense; (iv) Tarrasch Pharmacy Holdings, LLC is a reference to Siegbert

 Tarrasch, an acclaimed early 20th Century chess master; (v) NC3 Pharmacy LLC is a reference

 to the Dunst Opening (a strategy popularized by American chess player Ted A. Dunst); and (vi)

 Lasker Pharmacies, LLC is a reference to the early 20th Century chess player Emmanuel Lasker,

 considered one of the greatest chess players ever.

            C.    VALEANT EMPLOYED A WIDE HOST OF DECEPTIVE PRACTICES TO PUSH ITS
                  HIGH-PRICED PRODUCTS THROUGH ITS NETWORK OF PHARMACIES

            60.   Valeant’s scheme was predicated on its ability to sell drugs at exorbitant prices,

 even though many of these drugs faced generic competition at a fraction of the cost. That is

 where Valeant’s deceptive practices – forced upon its captive pharmacies – come into play.

 These pharmacies were directed to flout the rules, alter prescriptions and engage in other

 misconduct to ensure Valeant’s over-priced drugs were being sold.

            61.   Typically, contracts between TPPs or their PBM agents and pharmacies require

 less expensive generics to be dispensed, where available. In addition, fourteen states, including

 Pennsylvania where Philidor is headquartered, have enacted similar laws favoring generics.

 However, unbeknownst to patients, physicians, and TPPs, Philidor’s internal policy specifically

 mandated that Valeant-branded drugs be dispensed, even when a prescription expressly called

 for a generic. Philidor employees were instructed never to dispense generics, and were even

 told to alter the prescription manually, if necessary. By minimizing generic substitution and,

 thus, substantially shielding Valeant-branded products from generic competition, Defendants

 were able to inflate the prices of Valeant’s drugs far beyond the prices at which the drug had



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 previously been marketed and sold, both within Valeant’s captive pharmacy network and by

 pharmacies outside of Valeant’s network.

            62.   The fact that a high volume of claims for expensive Valeant-branded drugs were

 stemming solely from Philidor, which was failing to substitute generic drugs for any of Valeant’s

 drugs should have triggered heightened scrutiny, leading PBMs to deny these claims and

 scrutinize Philidor and Valeant. This is why Valeant went to great lengths to conceal its

 relationship with Philidor and its entire network of pharmacies, as well as the pharmacies’

 relationships to each other.

            63.   For example, neither Philidor nor any of the other captive pharmacies in

 Defendants’ network disclosed to the TPPs or PBMs - with whom they were negotiating

 contracts, reporting audits, submitting claims or otherwise transacting business - their

 relationship with Valeant. Defendants thereby diluted the false claims because they came from

 seemingly unrelated pharmacies. This created the false impression that scores of pharmacies had

 independently determined to dispense Valeant’s high-priced branded drugs for legitimate

 reasons, allowing Defendants’ misconduct to go undetected. Similarly, Valeant never disclosed

 Philidor in any of its SEC filings during the Relevant Period prior to October 19, 2015.

 Likewise, Philidor never publicly discussed the nature of its relationship to Valeant prior to

 October 19, 2015.

            64.   In furtherance of their fraudulent scheme, Defendants made a host of false and

 misleading statements directly to TPPs, their PBM agents, and their members/beneficiaries in

 order to maximize the reimbursements paid by TPPs and to boost Valeant’s drug sales. Many of

 Defendants’ fraudulent tactics were catalogued in manuals distributed to Philidor employees to

 guide their handling of claims submitted to TPPs. Those manuals explained to employees that




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 “[w]e have a couple of different ‘back door’ approaches to receive payment from the insurance

 company.” As explained in further detail below, those “back door approaches” included altering

 prescription information, making claims for refills that were never requested by patients, and

 misrepresenting the identity of dispensing pharmacies in order to bypass denials of claims for

 Valeant drugs. Internal emails, including a July 19, 2015 email from Philidor’s CEO Davenport,

 reveal that Valeant and Philidor senior management knew about these practices during the

 Relevant Period.

                  1.     Altering Prescriptions and Claims Submissions

            65.   First, Defendants instructed Philidor employees to alter the prescribing doctor’s

 instructions as set forth in a prescription to require that the prescription be filled with Valeant’s

 brand-name drugs, as opposed to less expensive generic alternatives. In general, pharmacists

 who receive a prescription for a branded drug will dispense a generic substitute if one is

 available. Doctors can indicate that the prescription be “dispensed as written” to ensure that the

 written brand name is dispensed. However, at the direction of Valeant claims-handling manuals,

 Philidor employees routinely altered doctors’ prescriptions to say “dispensed as written,” in

 order to ensure that more patients received Valeant products rather than their less expensive

 generics. These practices were reported by Bloomberg on October 29, 2015, when former

 Philidor employees explained that this fraud was frequently implemented with respect to certain

 key Valeant dermatologic products that encountered repeated denials from TPPs, such as Retin-

 A Micro and Vanos.

            66.   Second, if the “dispensed as written” tactic did not initially work, Defendants had

 ways to ensure that they were eventually paid. If claims were denied payment by a TPP, Philidor

 employees would re-submit them, but would designate them as “new claims,” to hide the fact




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 that these claims had previously been denied.

            67.   Further, when resubmitting a claim, Philidor employees were instructed to

 resubmit that claim using a National Provider Identification Number (“NPI”) belonging to a

 different pharmacy in Defendants’ captive network in order to claim falsely that a pharmacy had

 dispensed a prescription it did not in fact dispense, and, in some cases, did not even stock. For

 example, Defendants routinely caused pharmacies in the Valeant network, including Isolani, to

 use the NPI belonging to California-based R&O Pharmacy, one of the constituents of

 Defendants’ captive network discussed further below, Section IV.B., to bill for prescriptions

 R&O had never filled and, in some cases, did not even stock. In a July 19, 2015 email to R&O,

 Davenport acknowledged that he was aware this practice was ongoing.

            68.   These practices enabled Valeant to secure payment of a claim that had been

 denied by a TPP or PBM. In an interview with the Southern Investigative Reporting Foundation,

 Taylor Geohagen, a former Philidor claims adjudicator during the Relevant Period, confirmed

 the prevalence of this fraudulent practice, nothing that NPI codes “from the pharmacies we

 bought out” were used to get something approved “in a pinch.”

            69.   To conceal Defendants’ use of false pharmacy identification numbers, Philidor

 and Valeant also submitted false and misleading payer audits to TPPs (or to their PBMs) on

 behalf of the retail pharmacies with which they were secretly associated, falsely representing that

 the pharmacy had filled certain prescriptions, when, in fact, those prescriptions had been filled

 by Philidor or one of its other captive pharmacies. Relatedly, Defendants and their agents

 misrepresented their authority to approve the audit statements on behalf of the retail pharmacies

 and, in some cases, forged the signatures of principals at those pharmacies.




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                   2.     Filling Unwanted Prescriptions

            70.    Philidor also filled Valeant prescriptions that were never even requested by

 patients through automatic refill programs. In this manner, Philidor submitted for reimbursement

 to TPPs numerous prescription renewals that had not been requested. For example, as reported

 in New York Magazine on January 13, 2016, Defendants caused Philidor and its captive

 pharmacies to refill patients’ prescriptions for Jublia automatically, among other Philidor-

 dispensed Valeant drugs, despite the fact that the patients had not requested any refills. Further,

 it was virtually impossible for patients to decline or cancel those automatic refills.          This

 automatic renewal aspect of the scheme extended to products that were designed to treat non-

 chronic conditions that could be remedied with a limited course of treatment. The automatic

 renewal fraud worked well in tandem with Philidor/Valeant’s practice of waiving copays

 (described in detail below, Section IV.E.), because patients were not incentivized to complain

 about the unwanted renewals when they were not paying anything out of pocket.

            71.    One Philidor employee remarked in an online forum that Philidor “auto ship[ped]

 [Valeant drugs] without proper approval, most people do not need these refills. The reason they

 ship refills so fast is because it is free for the patient but Philidor gets anywhere from $550-

 $1220 from the insurance companies.”

            72.    The automatic renewal scheme was jointly developed by Greenfield, Director of

 Sales and Marketing for Valeant, and Philidor executive Fabian Forrester-Charles. As a Philidor

 employee explained in an online forum:

            They took the list of customers who had been approved by [insurance] and had
            refills available. Instead of waiting for the customer to call they would dial and
            leave a msg saying your refill will be shipped unless you call within 24 hrs.
            They would do this on the 30th day of the rx. Previously they had a Co pay so
            would have to wait to get approval to charge the 35.00 Co pay, making the Co pay
            0 allowed them to ship refills whether u wanted them or not. Not a bad money



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            making idea except most people did not really need refills of Solodyn so soon ...
            Of course these refills were out the door ASAP sometimes within an hour of the
            call and the [insurance] money would come in.

            What patients don’t get is your [insurance] company is paying 500 plus bucks
            for an old medication reformulated and refills not needed. I would bet a lot of
            Solodyn and Jublia bottles are just lying around still in the shipping package.

            If you ever saw Wolves of Wallstreet well that was sorta what some of us saw at
            Philidor. Let’s say on average a person does not need a refill of Solodyn for 45 or
            60 days from the 1st fill and you force them to take it at 30 days every month
            $$$$$$$$$$$$$$ and a ton of it! Think about it.

 (Cafepharma, Philidor employee post dated October 27, 2015. Emphasis added.)

                   3.      Directly Misleading Patients

            73.    Finally, Defendants’ fraudulent practices included deceiving patients directly in

 order to funnel them to Philidor pharmacies. Specifically, Defendants disseminated brochures

 and coupons to doctors and patients, promising Valeant drugs at no cost if prescriptions were

 filled at Philidor. This ensured that the false and deceptive practices described above, which

 Valeant monitored at Philidor, would be used to increase Valeant drug prescription fulfillment.

 To induce these patients to take advantage of these discounts, the coupons falsely assured

 patients that their TPPs would not be billed. For example, in a consumer complaint filed with

 the Better Business Bureau on March 2, 2015, a patient wrote about Philidor:

            Complaint: Received a call from the [Philidor] representative stating that they
            wanted to refill a Rx for ******. They stated that they had a coupon that would
            pay for the medication completely, and even said “at no cost to you.
            Unfortunately, I said OK. In reviewing my healthcare plan claims, I noticed that
            they bill my Plan for $449.55. Since I have a $1500 deductible, I may be liable for
            this charge. This is not what I agreed to and not what the representative said
            would occur. I would like this claim removed from my healthcare plan
            immediately. I will return the****** unopened in order to have this taken off my
            Claims.

 (Better Business Bureau, customer complaint dated March 5, 2015) (Emphasis added and all
 typographical errors in original).




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            74.    In fact, TPPs were billed for these drugs. For example, one patient reported in an

 online forum:

            My dermatologist provided me with a “Trial Coupon” for JUBLIA; a topical
            solution used to treat toenails. The trial coupon offers a ‘$0 copay for 12
            months’ of this medicine . . . . Philidor RX Services continues to
            INCORRECTLY bill my health insurance which, in tum, is impacting my HSA
            I MRA Funds - each time, removing $100 from MY Medical Reimbursement
            Account.

 (Emphasis added and all typographical errors in original) (Pissed Consumer, customer complaint
 dated January 2, 2015).

            75.    Other customer complaints reported similar conduct, as reported to the Better

 Business Bureau:

            Hello. My child had an appointment with a local dermatologist. While we were
            there we were referred to Philidor RX Services for filling two acne prescriptions.
            The dermatologist assured me that I would be charged only $25 and nothing
            more from our health insurance company. She also gave us a coupon to use for
            one of the prescriptions that would make it free. I called Philidor and gave them
            all of the information that was provided to me by the dermatologist. Philidor
            charged me $220 from my FSA account ($110 for each prescription). I
            contacted Philidor and spoke with a man who said his name was Mickey. Mickey
            told me that I needed to submit a statement from my insurance company showing
            that $220 was withdrawn from my FSA account. I did as requested and have sent
            the information via email to Philidor, Attn: Mickey, twice. I have received no
            response and no refund.

 (Business Insider, October 23, 2015, “The secret firm at the heart of Valeant’s crisis has an
 alleged history of shady behavior with customers”).

            76.    Defendants also made it difficult for patients to contact Philidor to complain, for

 example, that their insurers had been billed in contravention of promises made in coupons and

 sales literature or that they had received unrequested refills. For example, despite a massive

 investment in its sales force, Philidor invested very little in creating a call center to handle

 customer complaints and problems. In fact, customers and patients would routinely report that

 they were directed to sales staff when they tried to report these problems.




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            77.   Patients were also unaware of Philidor’s relationship to Valeant. Defendants

 concealed from investors, as well as physicians, patients, private payors, and PBMs the $100

 million payment, Valeant’s controlling relationship and that Philidor’s financials were being

 consolidated into Valeant’s.

            D.    VALEANT RAISED THE PRICES OF ITS PRODUCTS SHARPLY

            78.   By creating a secret network of pharmacies, and ensuring that they employed the

 deceptive practices explained above, Valeant was able to raise the prices of its products

 exorbitantly. Through this price-gouging, Valeant exhibited quarter after quarter of growth, and

 investors were misled into believing that Valeant’s growth and profitability were real and

 sustainable.

            79.   Pricing was crucial to Valeant’s illusion of growth.       As demonstrated by

 documents that the Congressional Committee on Oversight and Government Reform obtained

 while investigating Valeant’s misconduct, the prices Valeant set for its drugs were specifically

 designed in order to reach various profitability and revenue targets.

            80.   For example, Valeant’s “orphan drugs” were prime opportunities to boost revenue

 by increasing prices because such drugs are used to treat rare diseases and thus face little

 competition. Valeant recognized that its higher prices might attract some new entrants to the

 market for a particular orphan drug. However, it typically takes an average of 42-months for a

 new generic drug to receive FDA approval. Valeant used this backlog to calculate the amount of

 time it could engage in price gouging to meet financial targets. Evidence exists that this strategy

 was in fact employed by Valeant. For example, on December 26, 2014, Valeant’s consultant

 reported that “FDA Average Review Time for ANDAs [Abbreviated New Drug Application, a

 form used for generics] is 36-48 months.”




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            81.   A prime example of Valeant’s price gouging can be found in its acquisition of

 Isuprel and Nitropress from Marathon Pharmaceuticals (“Marathon”). This heart medication,

 which had been owned by Hospira for many years, was indicated for emergency situations and

 had always been priced moderately. Hospira was acquired by Marathon, which raised the prices

 significantly, but Valeant saw an opportunity to price the drugs even higher.

            82.   On December 3, 2014, Andrew Davis, Valeant’s Senior VP for Business

 Development, emailed Kornwasser, Valeant’s EVP/Company Group Chairman, stating that

 another “opportunity company is [M]arathon, value is largely derived from 2 hospital products

 they bought from Hospira which have no IP [intellectual property protections].” Steve Sembler,

 the general manager of Neurology responded that those two drugs “make up the VAST majority

 of revenue” at Marathon and “[t]his would also have to be a price play (if we determine there is

 upside to take price)…”

            83.   Defendants engaged consultants from Marketing Medical Economics (“MME”) to

 study the pricing of Nitropress and Isuprel. In a presentation, MME noted that Hospira had

 priced Nitropress at $47 in 2013. Marathon acquired the drug and increased the price to $214.

 Similarly, Marathon raised the price of Ispurel from $48, which Hospira had changed, to over

 $200. MME claimed there was still “upward potential for pricing” on these drugs, adding that

 for Nitropress ‘‘most patients treated are in critical condition.”

            84.   Defendants also worked alongside consultants from Pearson’s former employer,

 McKinsey, as they considered the potential to increase the prices of Isuprel and Nitropress

 dramatically.    On December 29, 2014, Aamir Malik, the co-leader of McKinsey’s global

 Pharmaceuticals & Medical Products Practice, wrote an email to Pearson and Davis regarding

 those and other drugs stating that they “have material pricing potential.” McKinsey also noted




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 that “Smaller/older products (e.g., Isuprel and Nitropress) are not reviewed on formulary....

 Products have been in the system for so long that reviews are practically rubber stamped.”

            85.   Valeant’s analyses further showed that generic competition for Isuprel and

 Nitropress would likely not arrive until mid-2017, and volumes would subsequently decline. As

 soon as the drugs were acquired, Pearson, Schiller, Davis, and others held a meeting to discuss

 pricing. While Davis recommended steep increases, Pearson decided to raise prices even higher.

            86.   The dramatic price increases of Isuprel and Nitropress caused revenues to surge in

 the short-term. Total revenues for the two drugs soared from approximately $150 million in

 2014 to approximately $540 million for 2015 based on “Aggressive Pricing through consultant

 recommendation.” The increased revenue translated directly to profits because there was no cost

 increase to offset the increase in price. As Valeant’s Senior Director of Finance pointed out in an

 email to Davis on March 24, 2015, the price assumptions “are leading to high gross margins

 (more than 99%).”        Indeed, the costs associated with the two drugs in 2015 were only

 approximately $2 million.

            87.   These practices were not limited to Isuprel and Nitropress.      According to a

 Deutsche Bank Securities Inc. (“Deutsche Bank”) analysis, in 2015 alone, Valeant raised brand-

 name drug prices an average of 66%, approximately five times more than its closest industry

 peers.

            88.   In addition to Isuprel and Nitropress, Syprine and Cuprimine also saw significant

 price increases. They had previously cost $650 and $450 per 100 capsules, respectively. By

 July 2015, Valeant had raised the prices of Syprine to over $21,000 for 100 capsules (a more

 than 32-fold increase) and Cuprimine to over $26,000 for 100 capsules (a more than 58-fold

 increase) in the United States, even though Valeant had spent little or no money on any




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 additional R&D.

            89.   Defendants’ scheme also allowed Valeant to triple the price of Wellbutrin XL, an

 anti-depressant Defendants sold through Philidor and the captive pharmacy network, from less

 than $6,000 to $17,000 for a year’s supply of the drug. This is despite the fact that Wellbutrin

 XL had a generic equivalent which sold for only $360 for a year’s supply. These prices were

 possible only because Valeant rigged the market.

            90.   Likewise, Defendants’ scheme allowed Valeant to increase the price of its

 dermatology drugs - drugs that have far cheaper generic bioequivalents - by extraordinary

 amounts. For example, in February 2013, Valeant acquired Tagretin gel from Eisai Co., Ltd., and

 in 2015, after Valeant had incorporated Philidor, dramatically increased the price of Tagretin gel

 from approximately $12,176 at the beginning of the Relevant Period to over $30,320 by 2015.

            91.   Additional examples where Valeant dramatically increased the prices of the drugs

 it acquired included (i) Glumetza, a diabetes drug which was increased from approximately $900

 per 90 tablets to over $10,000 (a more than 11-fold increase); (ii) Targretin, a T-cell lymphoma

 drug which was increased from approximately $1,800 per tube to over $30,000 (approximately a

 16.7-fold increase); (iii) Carac cream, a drug for precancerous legions which was increased from

 approximately $230 to over $2,800 per tube (approximately a 12-fold increase); (iv) Addyi, a

 recently FDA approved “Female Viagra” drug, was increased by 100% immediately following

 Valeant’s acquisition of the drug from Sprout; and (v) Mephyton, a drug that helps blood clot,

 has seen eight price increases since July 2014, costing $58.76 a tablet, up from $9.37.

            92.   From 2014 to 2015 alone, Valeant raised prices on more than 50 other drugs.

 While the Company referred to this practice as “optimization,” in reality, these price increases

 were effectuated through Defendants’ deceptive practices. The below chart summarizes the




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 increases that Defendants implemented for certain of Valeant’s drugs during the Relevant Period:

                  Valeant Drug         Begin      Ending      Duration Percent Increase
                                                              (in Years)

            Carac Cream               Ql-13     Q3-15       2.50           557%
            Wellbutrin XL 300 MG      Ql-13     Q3-15       2.50           381%
            Tablet
            Tretinoin 0.1% CRM        Q2-14     Q3-15       1.25           328%
            Vanos 0.1% CRM            Ql-13     Q3-15       2.50           279%
            Targretin 60g 1 % Gel     Q1-13     Q3-15       2.50           250%
            Aldara 5% CRM             Ql-13     Q3-15       2.50           223%
            Xerese 5%-1% Cream        Q1-13     Q3-15       2.50           216%
            Noritate 1% Cream         Ql-14     Q3-15       1.50           212%
            Migranal Nasal Spray      Ql-13     Q3-15       2.50           159%
            Loprox 1% Shampoo         Q1-13     Q3-15       2.50           145%
            Atralin 0.05% Gel         Q1-13     Q3-15       2.50           135%
            Dihydroergotamine         Q1-14     Q3-15       2.50           90%
            Mesylate 4 MGIML Nasal
            Spray
            Jublia (Efinaconazole     Q2-14     Q3-15       1.25           20%
            topical solution 10%)


            E.     VALEANT MISUSED “PATIENT ASSISTANCE PROGRAMS”             TO   OFFSET PATIENT
                   PUSHBACK ON ITS HIGH PRICES

            93.    Patient Assistance Programs, or “PAPs,” are employed by pharmaceutical

 companies to ensure that patients without the financial means to purchase high priced drugs are

 not deprived of critical medicine. Valeant, however, manipulated its PAPs into another deceptive

 tactic to conceal its price gouging from private payers. Valeant waived or reduced patient

 obligations for high-priced Valeant drugs to reduce patient complaints, patient refusal to accept

 unnecessary refills or enrollment in automatic refill programs, and negative publicity.




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            94.   Typically, a patient’s co-payment serves as a check on prescription drug prices or

 frequency of distribution (i.e., refills). Patients are unwilling to make large copayments for

 elective drugs or those that have close generic substitutes. This reduces costs for TPPs as well.

 In order to circumvent this inherent check in pricing and distribution. Valeant routinely and

 systematically waived patient copays when submitting claims to insurance companies and other

 TPPs, falsely claiming these waivers were a part of its PAPs. However, Valeant waived the

 copays for many patients who had the means to make the copayments simply to ensure that the

 patients would not object to the high prices, seek generic equivalents, or decline automatic

 refills. As a result, Valeant was able to sell medically unnecessary and low-value drugs, and to

 sell them at artificially inflated prices. The undisclosed waiver of copays led patients to obtain

 higher priced Valeant drugs rather than lower priced generic substitutes, and to obtain

 unnecessary refills, whose costs were reimbursed by the insurance companies and other TPPs.

 Copay waivers thus significantly distort an insured’s economic incentive when choosing between

 a branded drug and its generic alternative, and when refilling a prescription.

            95.   To enable this aspect of Defendants’ scheme, Defendants did not inform TPPs

 about the copay waivers, and TPPs were thus misled about the “actual charges” for the Valeant

 drugs. PBM contracts with pharmacies require pharmacies to diligently collect copayments, and

 submit claims reflecting their “actual charges,” taking into account any discounts or waivers

 applied. Defendants failed to inform TPPs or PBMs that they had engaged in a routine practice

 of waiving patient co-pay.

            96.   Valeant used this method liberally, increasing the total it spent on PAP waivers by

 over 11-fold from 2012 to 2015, from $53 million to $600 million. In addition, Valeant had

 forecast PAP spending to exceed $1 billion in 2016. In comparison, the Company’s revenues




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 increased by less than 3-fold, in the same time period, from $3.5 billion in 2012 to $10.4 billion

 in 2015. Though waiving patient copays cost Valeant some revenue, it more than paid off in the

 increased prices Valeant was permitted to charge as a result. Indeed, Kornwasser wrote a May

 2014 email that “[t]hese patients are too valuable to lose.”

            97.   Federal anti-kickback laws prohibit such practices when the government is the

 TPP. Valeant therefore targeted its PAP practices toward patients with private insurance.

 However, engaging in such activities left Valeant open to potential violations of state laws

 prohibiting fraud and deceptive practice, as well as contractual terms with the TPPs. It also

 increased the risk that private insurers would apply extra scrutiny to Valeant or refuse to

 reimburse Valeant prescriptions.

            98.   During the April 27, 2016 House Oversight Committee and the Committee on

 Aging of the U.S. Senate (“Senate Aging Committee”) hearings relating to Valeant, Senator

 Elizabeth Warren asked Pearson “[w]hy don’t you use these co-pay reduction programs for

 federal government insurance programs, like Medicare Part D or Medicaid,” to which Pearson

 acknowledged “we’re not allowed to.” Senator Warren responded, “Yeah, because it’s illegal.”

 She explained that “[t]hese programs are illegal because Medicare and Medicaid understand that

 the programs are scams to hide the true cost of the products from the consumer and drive up the

 cost of all the taxpayers.”

            99.   Mark Merritt (“Merritt”), President and CEO at the PCMA, which represents

 PBMs, explained to Congress at a hearing on Valeant that PBMs “encourage the use of generics

 and more affordable brand medications.” He noted that PBMs restrain drug costs by “using

 differential copays and other tools to encourage patients to choose more affordable options.”

 Merritt explained that the pricing and marketing tactics by Valeant were designed to reduce




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 “resistance to higher prices.” He testified that by providing copay coupons to encourage patients

 to bypass generic and cheaper drugs “for higher cost branded drugs,” Valeant forced TPPs “to

 pay hundreds of thousands more for the most expensive brands on the formulary.” Echoing

 Senator Warren, Merritt stated that “such practices are considered illegal kickbacks in federal

 programs.”

            100.   Valeant simultaneously used its PAP program as a public relations strategy to

 divert attention from any negative media regarding patient complaints over massive price

 increases. An internal Valeant analysis outlining the Company’s “Orphan Drug Model” for

 Syprine, Cuprimine, and Demser reflected this strategy. The analysis stated, “Take initial 25%

 price increase to drive patients into the restricted distribution model,” and noted that “[h]igh

 deductible copay requires increased foundation support.” The analysis “assume[d] target price

 increases of 100% for Demser and Cuprimine” and “price target increases of 500% for Syprine.”

 However, far from demonstrating Valeant’s benevolence, the PAP program was actually a key

 part of its fraud.

            101.   Another internal Valeant presentation detailed the proposed launch of a new PAP

 called “Valeant Coverage Plus Program.” The presentation plainly stated that “[t]he [PAP]

 program will be funded through planned price increases [i.e. funded by higher prices to payors

 rather than by Valeant].” The analysis directed adjudicators to “[u]tilize all of patient resources

 prior to co-pay mitigation or foundation assistance” when adjudicating claims and to use a

 “[p]atient assistance program or free goods as last resort.” The presentation noted that Valeant

 had an opportunity to expand utilization “for niche brands” that “[i]nvolves a combination of

 alternative/restricted distribution model, advocacy support and patient assistance programs”

 along with “planned pricing actions expected to maximize overall returns.”




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            102.   The presentation also identified the risks of such tactics (that were concealed from

 investors), including that “[s]ubstantial price actions could attract undue negative publicity from

 patients, HCP’s, payors, and/or government agencies” and “Managed Care plan actions against

 products could limit/ restrict re-imbursement.” To address the risks, the presentation included a

 “PR Mitigation” plan to “Privately address concerns from patients, insurance companies or

 managed care providers to prevent public displays of negative sentiment” and “[m]inimize media

 coverage of the pricing increase.”

            103.   The presentation included a June 4, 2013 “PR Draft Communications Plan:

 Orphan Drug Rate Increases,” which noted that orphan drugs “often command a substantial

 premium in the market - to offer pharmaceutical companies a greater return on investment.” It

 explained that “[w]hile the high cost of orphan drugs has been largely tolerated by the medical

 community because the overall impact of these pharmaceuticals on health budgets has been

 relatively small, there has recently been a renewed focus on the cost of these drugs.” The

 presentation warned that the “press has also picked up on these trends” and Valeant’s planned

 price increases on drugs to treat Wilson’s disease “needs to be managed carefully.”

            104.   As part of the PAP and PR strategy, the presentation also encouraged false and

 misleading responses to inquiries about price increases. A draft Q&A directed that the response

 to the question of “Isn’t Valeant just trying to make insurers and managed care providers pay as

 much as possible for these drugs?” was: “No. These rate increases are essential to ensure that

 Valeant is able to continue to offer these important pharmaceuticals to our patients who are

 afflicted with Wilson’s disease while also remaining commercially viable.” In truth, Valeant’s

 costs of producing these drugs had not increased, and no price increase (which resulted in gross

 margins exceeding 90%) was required to keep Valeant commercially viable.




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            105.   For example, Valeant employed its PR strategy on Bema Heyman, a patient who

 testified at the April 27, 2016 Senate Aging Committee hearings as to her experience with

 Valeant and Wilson’s disease. On November 1, 2013, Ms. Heyman wrote to Pearson that she

 was “outraged ... by the unbelievably steep increases in prices charged for Syprine.” She wrote

 “to ask for an explanation of how the drug costs could have increased so dramatically.” On

 December 9, 2013, Valeant’s customer service department responded (following the PR strategy)

 that “there are many challenges associated with developing treatments for rare conditions such as

 Wilson’s disease, the investments we make to develop and distribute novel medicines are only

 viable if there is a reasonable return on the company’s investment and if our business is

 sustainable.” This was dishonest because despite Valeant’s massive price increase for Syprine,

 Valeant was not reinvesting in R&D to find better treatments for Wilson’s disease.

            106.   Thereafter, Valeant continued raising prices and Ms. Heyman’s copay increased

 to over $10,000 per year, in addition to the $26,000 per year her insurance company was paying.

 Ms. Heyman could not afford the copay and was forced to use an alternative and, in her view,

 less desirable treatment.

            107.   Ms. Heyman eventually took her complaints to the media, and was met with a

 much different response from Valeant. Rather than offer false justifications for its exorbitant

 pricing, Valeant offered her financial assistance, sent her flowers, and offered to provide free

 medication for life, while continuing to charge the exorbitant prices to other patients. This

 response was not motivated by any concern for Ms. Heyman’s health or finances, but was

 designed to encourage Ms. Heyman to keep her complaints to herself.

            108.   Pearson was well aware of such patient complaints, as well as the Company’s

 response, because he personally monitored them. For example, in January 2015, Drew Katz




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 (“Katz”) wrote an email to Bill Ackman (“Ackman”), CEO of Pershing Square and a Director of

 Valeant, complaining that “Valeant charges approximately $300,000/yr for the average does [sic]

 needed for a patient with WD [Wilson’s disease] (200X higher than Merck charged when it

 owned the drug. Merck did not raise its rates for ... 20 years.” Katz noted that “[w]e hear that

 healthcare providers are now beginning to deny coverage due to the cost of the drug. And those

 without coverage are in real trouble.” Ackman forwarded the email to Pearson warning that

 “Drew is a very politically connected and influential person.”

            109.   Valeant also targeted its deceptive PAP at hospitals and other health care

 providers, which came to light in the Senate Aging Committee hearings. In a letter to Senator

 Claire McCaskill dated October, 30, 2015, Pearson stated “for those institutions where the

 impact [of price gouging] was significantly greater, we are beginning to reach out to hospitals to

 determine an appropriate pricing strategy.” Soon thereafter, Valeant announced a 30% discount

 program. But at the April 2016 hearings, Senator McCaskill noted that she had not found a

 single hospital that had received the discounts. Hospital affiliated witnesses at the hearing also

 denied receiving the discounts and several more sent letters to the Senate Aging Committee

 stating they had not received any such discounts.

            110.   For example, the Cleveland Clinic called Brian Stolz (“Stolz”), former Vice

 President of Valeant, to ask about the discounts, and Stolz promised to get back to him but never

 did. Valeant essentially conceded that Pearson’s claim concerning discounts was inaccurate,

 when, on April 23, 2016, Stolz submitted a written response, admitting that “[a]s of this date,

 Valeant has not entered into contracts with individual hospitals to provide volume-based

 discounts for Nitropress and Isuprel,” and had entered into contracts with only three hospital

 groups. Valeant then issued a public statement stating it had formed a committee which was




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 working to “develop solutions so any hospital that is eligible for discounts on Nitropress and

 Isuprel receives them,” and Stolz left the Company.

            F.     A VALEANT-CONTROLLED PHARMACY’S DISCOVERY OF ITS DECEPTIVE
                   PRACTICES BEGINS TO UNRAVEL THE FRAUDULENT SCHEME

            111.   On December 1, 2014, Russell Reitz (“Reitz”), a Southern California pharmacist,

 sold R&O Pharmacy, a specialized pharmacy for gastroenterology patients, to Philidor.

 Following the sale, R&O was suddenly inundated with thousands of prescriptions from doctors

 using Philidor’s mail-order service, numbers dwarfing the customary size of R&O’s business.

 This occurred because Philidor was sending bulk orders of Valeant-branded pharmaceuticals to

 be filled by R&O.        Payment arrived later from health insurers, with each check covering

 hundreds of patients and typically made out for over one million dollars.

            112.   Not only was the volume of Philidor-channeled patients unusually large, but the

 prescriptions that Philidor was filling were also extraordinarily expensive, even compared to the

 specialized prescriptions R&O usually dispensed. Yet, Reitz noticed, most of the overpriced

 prescriptions R&O was filling were Valeant drugs indicated for simple dermatological

 conditions, such as Solodyn for acne, Elidel, an eczema treatment, and Jublia, a topical treatment

 for toenail fungus.

            113.   In March 2015, Reitz received an audit from one of his PBMs. The audit showed

 that R&O was being used by Philidor to fill thousands of prescriptions all across the country.

 These prescriptions had been filled with Reitz’s name and R&O’s NPI, but they were dispensed

 to patients of whom Reitz had never heard. Many were for medications that R&O did not even

 carry. Some prescriptions were backdated to the time prior to Reitz’s sale of R&O to Philidor.

 These practices continued throughout the summer of 2015.




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            114.   As a result of these suspicious practices, in the summer of 2015, R&O began

 investigating Philidor. Its investigation uncovered that in 2013, Philidor had filed an application

 with the California State Board of Pharmacy - which, as noted above, California denied due to

 Philidor’s “false statements of fact” in its application. Upon learning that Philidor had been

 denied access to the California pharmaceutical marketplace, Reitz realized Philidor’s reason for

 acquiring R&O was to circumvent the California licensing board’s denial of its application and

 conduct its shady practices in California.

            115.   For instance, as evidenced by a July 14, 2015 email from Reitz, of R&O

 Pharmacy, to Eric Rice (“Rice”), Senior Director at Philidor, Defendants’ agents’ audit

 statements on behalf of R&O falsely claimed that R&O had dispensed prescriptions for Valeant

 drugs that were actually filled by Philidor. Specifically, Reitz told Rice that Philidor had billed

 R&O for prescriptions that were either “filled by some other pharmacy” or ‘‘were filled and

 billed before the execution of the R&O purchase and sale agreement” and thus fraudulently

 billed using Reitz’s National Council for Prescription Drug Programs (‘‘NCPDP”) number

 without his knowledge or consent. Again, in some cases, these prescriptions were for drugs that

 R&O did not even stock.

            116.   On July 14, 2015, Reitz emailed Rice seeking to address ‘‘the issue of Philidor’s

 improper, and perhaps illegal, use of my [pharmacy] number without my knowledge or consent

 to bill for prescriptions that were” either filled by other pharmacies or billed before the execution

 of the agreement to purchase R&O.            Reitz demanded that Philidor cease the practices

 immediately. Reitz added that the purchase agreement required Philidor/Isolani to apply for a

 permit and that “this process does not take 7 months” and asked for all documents relating to the

 application.




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            117.   On July 19, 2015, Davenport responded to Reitz, stating that Philidor stopped

 using R&O’s NPI number and “halted activity pending coming to some alignment with you.”

 The next day, Reitz wrote back asking why “Philidor is responding to my concerns instead of

 Eric Rice” who executed the agreement on behalf of Isolani. Reitz further stated that he learned

 that Rice signed off on the “Argus-Humana audit, the same audit I refused to sign,” and “Eric

 Rice is not the PIC [pharmacist-in-charge] (I am) and has never stepped through R&O’s doors. I

 am not sure how he could verify the accuracy of anything pertaining to that audit.”

            118.   On July 21, 2015, Rice and several Philidor executives, including Davenport,

 Fleming, and General Counsel Gretchen Wisehart, flew to California to meet Reitz at R&O. The

 meeting did not satisfy R&O’s concerns, and the next day counsel for R&O sent a letter to Rice

 noting that Philidor “appear[ed] to be engaging in a widespread fraud.” On August 18, 2015,

 Fleming emailed Reitz suggesting responses to an audit. One of the issues identified in the audit

 was the large number of prescriptions being filled by R&O that were shipped to patients from

 Pennsylvania, where Philidor was based.

            119.   On August 31, 2015, counsel for R&O sent a notice of termination to Isolani’s

 law firm. R&O’s counsel wrote “[i]t is now crystal clear that Isolani/Philidor fraudulently

 induced Mr. Reitz to sign the [Sale, Management Services, and related] Agreements in order to

 allow Isolani/Philidor to engage in a massive fraud.” R&O’s counsel added that “Isolani is

 simply a shell created by Philidor to perpetrate a massive fraud against not only Mr. Reitz and

 R&O, but also the California State Board of Pharmacy, [and] various payer networks.” R&O’s

 counsel noted that Philidor had been denied a California license and “targeted Mr. Reitz and

 R&O back in the fall of 2014 because it needed access to R&O’s valuable multi-state pharmacy

 licenses and payer contracts” and “Philidor then created Isolani as the instrumentality to




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 improperly use R&O’s NCPDP and NPI numbers to distribute pharmaceuticals in jurisdictions

 that Philidor would not have had access to but for R&O.” Counsel added that “Mr. Reitz’s worst

 fears have been realized, as he has obtained irrefutable proof that despite Mr. Davenport’s

 written assurance, Isolani/Philidor continue to use R&O’s … NPI numbers to bill payors for

 prescriptions dispensed by Philidor.” R&O’s counsel also asserted that “Mr. Reitz now has

 concrete evidence that representatives of Isolani/Philidor have signed false and misleading payer

 audits and falsely represented themselves as officers or employees of R&O ... to certain payors.”

            120.   In response to Reitz’s investigation of Philidor, Reitz received letters, not from

 Philidor, but from Valeant’s General Counsel, demanding $69 million in payments from R&O.

 These letters made clear that Valeant was not simply a drug manufacturer supplying Philidor, but

 rather that Valeant was acting in concert with Philidor to perpetrate the conduct of which Reitz

 complained.

            121.   On September 6, 2015, Isolani’s counsel sent an email informing R&O’s counsel

 that Philidor seeking a protective order against Reitz and for an accounting. Counsel for R&O

 responded that Isolani had known for “at least six weeks that Mr. Reitz was in receipt of checks

 paid to his company to protect himself and his company from the massive potential/actual civil,

 regulatory and even potential criminal liability that your clients have exposed him to due to their

 malfeasance,” adding that the conduct was outlined in prior correspondence “to which your

 clients have provided no denials.”

            122.   R&O claimed it never received a previous invoice from Valeant for any amount

 and that either Valeant and R&O are “victims of a massive fraud perpetuated by third parties,” or

 that “Valeant is conspiring with other persons or entities to perpetuate a massive fraud against

 R&O and others.”




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            123.   Ultimately, Reitz filed suit against Valeant. The ensuing disclosures, including

 the facts detailed above, set off a chain of events that, along with the government’s

 investigations, revealed the truth about Defendants’ fraud and Valeant’s network of secret

 pharmacies.

 V.         DEFENDANTS ISSUED MATERIALLY FALSE AND MISLEADING
            STATEMENTS DURING THE RELEVANT PERIOD

            124.   During the Relevant Period, Defendant made a series of statements in press

 releases, SEC disclosure documents, investor conference calls, and through other media to

 investors concerning Valeant’s assets, liabilities, operations and financial condition. The

 statements set forth below were materially false and misleading. Defendants’ false and

 misleading statements during the Relevant Period were material and had the effect of falsely

 increasing or maintaining the price of Valeant securities. Moreover, Defendants’ deception

 permitted Valeant to increase the prices of its securities in its primary offerings or private

 placements. But for these artificially inflated prices, Plaintiff would not have invested in Valeant

 or would not have retained its Valeant investments for as long as it did.

            125.   During the Relevant Period, Defendants repeatedly touted its “organic growth”

 and the sustainability of its business model. These statements were designed to hide Valeant’s

 dependence on price gouging for its increased profitability, as well as to conceal that such price

 gouging was only made possible through its deceptive practices and its secret pharmacy network.

 Similarly, Defendants made a series of statements concerning its alternative prescription

 fulfillment (“AF”) program, suggesting that Valeant had discovered a way to take advantage of

 drugs that had previously been priced inefficiently (i.e., lower than the market would bear). The

 statements concerning the AF program were false and misleading because they concealed the

 fact that the higher priced prescriptions could only be achieved by improper and deceptive



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 practices implemented at Philidor and its other captive pharmacies, such as misuse of its PAP

 and automatic refill programs, and through alterations of prescriptions. This business model was

 not, in fact, sustainable. Further, Defendants’ omissions and misrepresentations concealed the

 fact that Valeant was exposed to significant regulatory risk, including enhanced scrutiny from the

 SEC, the DOJ, Congress and state regulators. Finally, Defendants made false statements about

 the adequacy of its compliance program and internal controls, which were in fact, deficient and

 ineffective.

            126.   More specifically, the statements detailed below failed to include the following

 facts, which rendered them materially false and misleading:

            127.   Relationships with Philidor: Several key aspects of Valeant’s relationship with

 Philidor were concealed, including the fact that Philidor was formed with Valeant’s assistance,

 and for the purpose of benefiting Valeant by enabling it to increase the prices of Valeant-branded

 products and to avoid substitution of Valeant drugs with lower priced therapies. Moreover,

 Defendants went to great lengths to hide that Valeant employees worked at Philidor pharmacies;

 that Valeant was Philidor’s only client; that Valeant paid Philidor’s owners $100 million for the

 right to acquire Philidor for $0; and that Valeant was consolidating Philidor’s results with its

 own. As a result, Philidor had the ability to shutter Philidor’s business, and had obtained explicit

 rights to direct Philidor’s activities. All of these facts were actively concealed by Defendants

 from private payers, patients, physicians, PBMs and investors.

            128.   Valeant’s Business Strategy: Valeant explicitly misled the public about the nature

 of its business strategy. Statements concerning “organic growth” and its alternative fulfillment

 program’s contributions to its profitability were false. In fact, Valeant’s illusory success was

 dependent on (i) increasing prices far beyond industry norms to unsustainable levels; (ii) routing




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 patients to Valeant’s secret pharmacies; (iii) using patient assistance and public relations

 strategies to minimize patient complaints, thus keeping those complaints from getting public

 attention; (iv) altering prescriptions so that generic substitutions would not be dispensed; and (v)

 misusing its automatic refill program so that patients were supplied drugs they neither wanted

 nor needed. All of these facts were actively concealed by Defendants from private payers,

 patients, physicians, PBMs and investors.

            129.   Regulatory Risk to Valeant’s Business: By concealing the nature of its business

 strategy, Valeant also misled investors into thinking that Valeant employed a low risk model. In

 fact, the deceptive and fraudulent practices made Valeant susceptible to a host of risks including

 government investigations, regulatory sanctions, criminal charges, reputational harm, contractual

 violations, decreased sales, and increased scrutiny. All of these regulatory risks were actively

 concealed by Defendants from private payers, patients, physicians, PBMs and investors.

            130.   Business Risk to Valeant’s Business: In addition to the regulatory risks inherent

 in its concealed business model, Valeant faced competitive and other business risks to the

 sustainability of its success. For example, Valeant’s growth was dependent on its ability to

 acquire companies and drug portfolios in which it could dramatically increase prices. Any slow-

 down in its ability to acquire those companies would have a material adverse effect on its

 business, cash flows, and results of operations. Further, Valeant’s branded products were subject

 to competition with more cost-effective generics that were preferred by PBMs and substituted by

 pharmacies. Any threat to its ability to force its costly therapies on patients through Philidor

 would have a material adverse effect on its business, cash flows and results of operations. As a

 result, Valeant’s reported revenues, earnings per share, profitability, and future business

 prospects were dependent on its ability to conceal its deceptive practices, and did not accurately




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 portray Valeant’s financial performance and business prospects.

            131.   Improper Revenue Recognition: Valeant also improperly recognized Philidor’s

 revenues as its own, which violated GAAP, and caused its revenues, net income and EPS to be

 materially misstated and inflated.

            132.   Internal Controls:   Valeant also touted the adequacy of its internal controls,

 compliance and training programs.          In fact, these systems were woefully deficient and

 ineffective.      Defendants prioritized increasing Valeant’s stock price and/or their own

 compensation over ensuring that Valeant complied with applicable laws, regulations and

 contracts. In addition, Defendants had little regard for the accuracy of its SEC filings and public

 disclosures, which were replete with material misstatements, many of them specifically designed

 to conceal Valeant’s true business model.

            133.   Oversight: Valeant’s board of directors and senior management reviewed and

 approved the improper accounting which reflected a material weakness in internal controls.

            134.   Defendants knew the true facts, or recklessly disregarded them, in making the

 false statements listed below in the remainder of Section V.

            A.     DEFENDANTS’ FALSE OR MISLEADING STATEMENTS FROM JANUARY TO JUNE
                   2013

            135.   On January 4, 2013, the first day of the Relevant Period, Pearson and Schiller

 hosted a conference call with investors and analysts to discuss Valeant’s 2013 financial

 guidance, where they made several statements concerning Valeant’s business model, financial

 prospects, and the benefits of its new Alternative Fulfillment (“AF”) initiative. Pearson, in

 particular, stressed Valeant’s “organic growth,” the “sustainability” of the business, and

 deflected from or denied the role that price increases played in the Company’s growth.

            136.   Pearson stated:



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            2012 was another very strong year for Valeant. From a top line perspective we
            added over $1 billion in revenue in 2012 . . . . On the bottom line, we delivered
            cash EPS growth of greater than 50% as compared to 2011, demonstrating once
            again the sustainability of our business model.

            Our businesses continued to deliver strong organic growth, and we expect full
            year 2012 to have same-store sales, organic growth of approximately 8%, and pro
            forma organic growth of approximately 10%.

            137.   When asked about pricing for Solodyn, a dermatological product acquired in the

 Medicis transaction, Pearson responded, “In terms of Solodyn, we’re not assuming we’re making

 any kind of major price increases in terms of the end consumer. Through the AF [alternative

 fulfillment] programs, it will allow us our sort of average price internally to go up, because of

 the way that system works.” Pearson also discussed the expansion of Valeant’s AF initiative,

 stating:

            Yes, the more we understand about it the more excited we get about it, quite
            frankly because it’s not just a singular sort of initiative that there’s a whole
            evolution being planned in terms of the Stage I, Stage II, Stage III. And there’s
            some exciting opportunities there that we’re not going to give specifics of. And
            also as we had hoped, we think it will apply to more than just Solodyn. Ziana is
            actually also being-already Medicis has Ziana being used in the AF program, and
            we see application for a number of our dermatology products and potentially
            neurology products in the US.

            138.   When asked what percentage of Solodyn revenue would go through the AF

 initiative, Pearson replied it would increase because there was “evidence” AF was working,

 stating:

            Well the last questions, it’s much – it will be much closer to 50% than 10%, that’s
            for sure. And yes, what we – the AF, if it all works out, will both help eliminate
            or get rid of non-revenue producing or non-profitable scripts, but hopefully can
            be used to start generating truly profitable scripts through a different channel.
            That’s the intent, and we’re seeing evidence that that will work.

            139.   Later in the call, one analyst asked Pearson ‘‘why are you so encouraged by the

 AF strategy when net sales have been heading in the wrong direction for the one case study we

 can observe, Solodyn?” Pearson responded that the AF channel had “incentives” in place to get


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 paid for drugs that were being rejected by retail pharmacies, stating:

            And again, Medicis is still learning and we’re just still learning about what we can
            do with these AF scripts. So when someone actually makes the call or sends the
            script to the alternate channel, what can be done with that. And a number of
            things can be done. One is you can continue to try to adjudicate the claim just
            because the claim was or just because the script was rejected at retail pharmacy,
            does not mean that eventually you can’t get the payer to actually pay for it. If
            you think about the retail pharmacist, the retail pharmacist doesn’t have a huge
            incentive to work hard to get that script reimbursed. In fact you might argue they
            have the opposite incentive, because they get paid more if they convert it to a
            generic.

            So, all of a sudden if it goes to a different channel where the incentives are in
            place to actually try to get that claim adjudicated, then there’s a significant
            amount of that volume that gets rejected by retail that you can then adjudicate,
            and actually get fully paid.

                                                     ***

            So, I think through as we continue to learn about this AF program, there are
            some things that we can do that might actually change the direction in terms of
            so rather than see a decline in Solodyn, if we’re really successful we can begin
            starting to grow that product again. So it’s things like that that sort of start
            giving us some real optimism in terms of what you can do, and how this program
            can sort of turn out to a much better case than assuming you didn’t have the
            AF program.

            140.   On February 28, 2013, Valeant issued a press release and hosted a conference call

 regarding its 2012 financial results, which Pearson and Schiller attended on its behalf. During

 the call, they highlighted the purported benefits of their AF strategy but did not disclose the

 associated improper practices and risks. In response to a question about the AF strategy, Pearson

 represented that “The program is working actually quite well. We are going to be rolling out a

 couple new generations of the program but we’re not going to talk about it on this call”.

 When pressed for details on the “Medicis alternate fulfillment channel” and “how that sort of

 contributes to the growth,” Pearson emphasized that it had increased sales volumes but similarly

 refused to disclose the improper practices and risks, stating: “We have never given details.

 Medicis never gave details. and that was probably a smart practice. We are not going to give


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 details in terms of what’s flowing through full alternate fulfillment and what’s not. What we

 can reiterate is that all of our key brands in dermatology since our sales force meeting are now

 growing.”

            141.   On May 3, 2013, Valeant filed a Form 10-Q Quarterly Report for the period

 ended March 31, 2013 (“1Q13 10-Q”). The 1Ql3 10-Q represented that ‘‘pricing and sales

 limited control” while concealing that Valeant controlled and had significant influence over

 Philidor.

            142.   The 1Q13 10-Q was signed by Pearson and Schiller and represented that

 management’s disclosure controls and procedures were effective: “Our management, with the

 participation of our CEO and Chief Financial Officer (‘CFO’), has evaluated the effectiveness of

 our disclosure controls and procedures as of March 31, 2013. Based on this evaluation, our CEO

 and CFO concluded that our disclosure controls and procedures were effective as of March 31,

 2013.” (hereafter, “Internal Controls Statement”).

            143.   The 1Q13 10-Q included Sarbanes Oxley Certifications signed by both Pearson

 and Schiller pursuant to Rules 13a-14(a) of the Exchange Act, which stated, among other things,

 that the 1Q13 10-Q did not contain any untrue statement of material fact or omit to state a

 material fact (hereafter, the “SOX Certifications”). Specifically, the SOX Certifications stated:

                                                                                       Exhibit 31.1

                   CERTIFICATION OF THE CHIEF EXECUTIVE OFFICER
                             PURSUANT TO RULE 13a-14(a)
                              AS ADOPTED PURSUANT TO
                   SECTION 302 OF THE SARBANES-OXLEY ACT OF 2002

     I, J. Michael Pearson, certify that:

     1.        I have reviewed this quarterly report on Form 10-Q of Valeant Pharmaceuticals
               International, Inc. (the “Company”);




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     2.     Based on my knowledge, this report does not contain any untrue statement of a
            material fact or omit to state a material fact necessary to make the statements made,
            in light of the circumstances under which such statements were made, not
            misleading with respect to the period covered by this report;

     3.     Based on my knowledge, the financial statements, and other financial information
            included in this report, fairly present in all material respects the financial condition,
            results of operations and cash flows of the Company as of and for, the periods
            presented in this report;

     4.     The Company’s other certifying officer and I are responsible for establishing and
            15(e) and 15d-15(e)) and internal control over financial reporting (as defined in
            Exchange Act Rules 13a- 15(f) and 15d-15(f)) for the Company and have:

            a.     Designed such disclosure controls and procedures or caused such disclosure
                   controls and procedures to be designed under our supervision to ensure that
                   material information relating to the Company, including its consolidated
                   subsidiaries, is made known to us by others within those entities,
                   particularly during the period in which this report is being prepared;

            b.     Designed such internal control over financial reporting, or caused such
                   internal control over financial reporting to be designed under our
                   supervision, to provide reasonable assurance regarding the reliability of
                   financial reporting and the preparation of financial statements tor external
                   purposes in accordance with generally accepted accounting principles;

            c.     Evaluated the effectiveness of the Company’s disclosure controls and
                   procedures and presented in this report our conclusions about the
                   effectiveness of the disclosure controls and procedures, as of the end of the
                   period covered by this report based on such evaluation; and

            d.     Disclosed in this report any change in the Company’s internal control over
                   financial reporting that occurred during the Company’s most recent fiscal
                   quarter that has materially affected, or is reasonably likely to materially
                   affect the Company’s internal control over financial reporting, and

     5.     The Company’s other certifying officer and I have disclosed, based on our most
            recent evaluation of internal control over financial reporting, to the Company’s
            auditors and the audit committee of the Company’s board of directors (or persons
            performing the equivalent functions);

            a.     All significant deficiencies and material weaknesses in the design or
                   operation of internal control over financial reporting which are reasonably
                   likely to adversely affect the Company’s ability to record, process,
                   summarize and report financial information, and




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                 b.      Any fraud, whether or not material, that involves management or other
                         employees who have a significant role in the Company’s internal control
                         over financial reporting.

            Date: May 3, 2013

            /s/J. MICHAEL PEARSON

            144.      On June 11, 2013, Schiller presented at the Goldman Sachs Healthcare

 Conference. When asked about the Company’s “alternative fulfillment program” by a Goldman

 Sachs analyst, Schiller responded that the program was increasing profits and that AF was a

 trend in “the whole pharmaceutical industry”:

            Alternative fulfillment, I think a couple things. One is, to me, the alternative
            fulfillments was an example of what the whole pharmaceutical industry -
            certainly what Mike and I believe is the trend, and that is the focus on the
            profitable scripts. There was a day when you could call on anybody, and almost
            any script was profitable. Those days are gone. So segmenting your customer
            base and really focusing on profitability has got to be the future. And that’s -
            alternative fulfillment was the beginning of that journey, but not the endpoint.

            So I probably think under Medicis, alternative fulfillment was held out a little bit
            too much as the holy grail. I really think it’s- it’s actually the starting points, and
            in some ways, it was quite a clumsy starting point. It wasn’t that different, but it’s
            a process where we have generation two and generation three. But it’s all trying
            to focus on profitable scripts, and stay away from those scripts that are
            unprofitable, and more judicious use of copay cards and the rest, and making
            sure when a customer, a patient is covered, you get reimbursed for it. . . . Yes, I
            think - I’m hoping - we’ve got generation two and generation three, which I’m
            hoping sort of turn it into a pure defense, into more of an offensive tool to allow
            us to grow profits. And that’s really the focus, is growing profits.

            B.        DEFENDANTS’ FALSE      OR   MISLEADING STATEMENTS          FROM    JULY 2013 TO
                      JANUARY 2014

            145.      On July 29, 2013, Valeant filed a Form 8-K with the SEC, attaching a

 memorandum to employees of Valeant and Bausch & Lomb and a copy of the anticipated

 organizational chart of the combined company upon closing of the merger of these two

 companies. The memorandum purported to describe Valeant’s “Organizational Design and

 Philosophy,” which emphasized the strength of Valeant’s ethical culture, internal controls, and


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 commitment to compliance. The memorandum states:

            In the end, our primary mission is to serve the patients and consumers who use
            our products, the physicians who prescribe I recommend them and the
            customers who provide retail outlets for these products. Healthcare companies
            are held by society to the highest possible ethical standard- and they should be.
            Adhering to this extremely high ethical bar supersedes any financial or other
            objective.

            ***

            Consistent with our decentralized operating philosophy, our corporate center will
            be small, lean and focused on three things:

            1.     Ensuring adequate controls to protect our shareholders and to ensure
            we are in compliance with all regulatory requirements.

            146.   On August 7, 2013, Pearson and Schiller held a conference call with analysts to

 discuss Valeant’s second quarter 2013 (“2Q13”) financial results. Pearson emphasized the long-

 term growth potential and sustainability of its acquisitions strategy, but without disclosing how

 the Company relied on captive pharmacies and price gouging; he also provided re-assurances

 that Valeant’s strategy did not subject it to increased compliance risks.

            147.   During the call Pearson was asked whether the Company would need to adopt

 ‘‘more of a mainstream strategy” to “become one of the world’s largest healthcare companies.’’

 In response, Pearson continued to defend Valeant’s purportedly superior non-traditional

 acquisitions strategy, while not disclosing that it relied on captive pharmacies and price gouging,

 stating, in part:

            I don’t – I think we would plan to have our same model. We think we can be
            successful by not doing what large pharma companies are doing and, that’s
            been our strategy, that will continue to be our strategy. And so we’re not
            looking to get into the traditional- we’re not going to go -therapeutic areas are
            largely driven by R&D in terms of why people organize that way, and we don’t
            plan to spend-increase our R&D spend as a percent of sales to what other
            companies are doing. And we’ll continue to focus on both specialty segments
            and attractive geographic markets.




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            148.   Furthermore, Pearson assured investors Valeant’s strategy, albeit not traditional,

 was not accompanied by increased compliance risks:

            In terms of compliance, compliance is obviously very, very important for us. . . .
            When people come back and they rate our Company on our most positive
            attributes and our most negative attributes, and at the very top of the list of the
            positive is ethical. So our employees really do appreciate it. That’s our most
            important thing that-that comes before everything.

            149.   Also on August 7, 2013, Valeant filed its Form 10-Q Quarterly Report for the

 second quarter ended June 30, 2013 (“2Q13 10-Q”), signed by Pearson and Schiller. The 2Q13

 10-Q represented that “pricing and sales volume of certain of our products . . . are distributed

 by third parties, over which we have no or limited control” while concealing that Valeant

 controlled and had significant influence over Philidor. The 2Q13 10-Q contained the same

 Internal Controls Statement and SOX Certifications as set forth in the 1Q13 10-Q at ¶¶142-143.

            150.   On October 31, 2013, Valeant issued a press release reporting its 2013 third

 quarter (“3Q13”) financial results. The release again emphasized Valeant’s incredibly rapid

 growth while making it appear to be organic rather than the result of inflating prices on its

 products, stating that “Valeant’s Developed Markets revenue was $1.14 billion, up 77% as

 compared to the third quarter of 2012” and that “[t]he growth in the Developed Markets was

 driven by continued improvement in many of our Dermatology prescription brands, our

 aesthetics and oral health portfolios, our orphan drug products and CeraVe.”

            151.   On November 1, 2013, Valeant filed its Form 10-Q Quarterly Report for its 3Q13

 ended September 30, 2013 (“3Q13 10-Q”), signed by Pearson and Schiller. The 3Q13 10-Q

 represented that “pricing and sales volume of certain of our products . . . are distributed by

 third parties, over which we have no or limited control” while concealing that Valeant

 controlled and had significant influence over Philidor. The 3Q13 10-Q also included the Internal

 Controls Statement and SOX Certifications signed by Pearson and Schiller, which in all material


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 respects are identical to the ones quoted above.

            152.   On January 7, 2014, Pearson and Schiller hosted a financial guidance conference

 call with investors and analysts. During the call, Pearson emphasized the Company’s organic

 growth in sales volume:

            If we compare Valeant’s performance in 2013 to the company’s average
            performance from 2009 through 2012, you can see a continuing track record of
            consistent strong performance in terms of growth in revenues, earnings, and most
            important, returns to all of you, our shareholders. This is a result of achieving
            strong organic growth in a fiscally responsible manner for the products that we
            already own, coupled with a consistent track record of buying durable assets in a
            very disciplined manner and over-achieving in terms of improving growth rates
            and extracting cost synergies.

            153.   Also on January 7, 2014, Pearson spoke at the Goldman Sachs Healthcare CEOs

 Unscripted: A View from the Top Conference. When asked about the Company’s dermatology

 business and Valeant’s AF program Pearson continued to conceal the practices, stating:

            The AF program was I think rolled out a little bit too quickly and there were lots
            of bugs in it and we have a next generation that we’re going to- which we are
            implementing, which we aren’t going to talk about the details of, but net-net I -
            think Solodyn, it’s a lot less important to us now than when we- than it was to
            Medicis obviously.

            C.     DEFENDANTS’ FALSE OR MISLEADING STATEMENTS FROM FEBRUARY TO JUNE
                   2014

            154.   On February 27, 2014, Valeant issued a press release detailing its 2013 financial

 results, which attributed the Company’s growth to increased volume (rather than price) of

 dermatology sales, stating: “The growth in the Developed Markets was driven by continued

 growth in certain dermatology prescription brands, our aesthetics, consumer, neurology and

 other and oral health portfolios, and our Canadian business unit.”

            155.   On the same day, Pearson and Schiller hosted a conference call with investors and

 analysts to discuss Valeant’s fourth quarter 2013 (“4Q13”) and full year 2013 financial results,

 and again did not mention the role of price gouging in fueling Valeant’s growth. While


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 discussing Valeant’s growth in ‘‘Neurology and Other,” Pearson stated, “When we acquired

 Medicis, I think we mentioned that we picked up a couple of orphan drugs, which they weren’t

 marketing optimally. And so we have been able to take advantage of that and grow those

 products.”

            156.   On February 28, 2014, Valeant filed its Form 10-K Annual Report for the year

 ended December 31, 2013 (“2013 10-K”), which Pearson and Schiller signed. The 2013 10-K

 stated that the Company faced significant competition from generic pharmaceutical products

 without disclosing the deceptive steps Valeant took to prevent substitution of its products. It

 included statements that:

            (a)    addressed generic competition stating, “Generic versions are generally

 significantly less expensive than branded versions, and, where available, may be required in

 preference to the branded version under third party reimbursement programs, or substituted by

 pharmacies,” and claiming “[t]o successfully compete for business with managed care and

 pharmacy benefits management organizations, we must often demonstrate that our products

 offer not only medical benefits but also cost advantages as compared with other forms of

 care”;

            (b)    addressed Variable Interest Entities (“VIE”), which are defined in GAAP as a

 legal entity that is subject to consolidation. Although Philidor was a VIE under GAAP (see ¶¶

 316-318 below) in its 2013 10-K, Valeant explicitly stated that the Company did not hold any

 interests in VIEs: “[t]here were no material arrangements determined to be variable interest

 entities”; and

            (c)    included Management’s Conclusion, signed by Pearson and Schiller, “that our

 internal control over financial reporting was effective as of December 31, 2013.” The 2013




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 10-K also included the Internal Controls Statement and SOX Certifications, signed by Pearson

 and Schiller, which in all material respects are identical to the ones quoted above.

            157.   The 2013 10-K included several statements regarding the Company’s purportedly

 lower-risk business strategy that failed to disclose the company’s reliance on price gouging and

 captive pharmacies. For example, the 2013 10-K stated:

            The growth of our business is further augmented through our lower risk
            research and development model This model allows us to advance certain
            development programs to drive future commercial growth, while minimizing
            our research and development expense. . . . This is achieved primarily as
            follows: focusing our efforts on niche therapeutic areas ... and acquiring dossiers
            and registrations for branded generic products, which require limited
            manufacturing start-up and development activities.

            158.   Moreover, the 2013 10-K represented that ‘‘pricing and sales volume of certain of

 our products ... are distributed by third parties, over which we have no or limited control,” while

 failing to disclose that Valeant controlled and had significant influence over Philidor.

            159.   On April 22, 2014, Valeant issued a press release stating that “it ha[d] submitted a

 merger proposal to the Board of Directors of Allergan under which each Allergan share would be

 exchanged for $48.30 in cash and 0.83 shares of Valeant common stock.” In total, this

 unsolicited offer to acquire Allergan, the maker of Botox (a popular anti-wrinkle treatment), was

 valued at approximately $46 billion. The release disclosed that the proposal was made with the

 full support of Ackman and Pershing Square, his hedge fund, which had accumulated 9.7% of

 Allergan’s outstanding stock leading up to the proposed acquisition, making it Allergan’s largest

 shareholder.

            160.   On May 8, 2014, Valeant issued a press release announcing Valeant’s first quarter

 2014 (“1Q14”) financial results, which emphasized the Company’s organic growth and

 sustainability. The release discussed Valeant’s continued trend of extraordinary growth,

 including revenue growth which represented “an increase of 77% over the prior year,” which


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 “[e]xceeded our expectations,” along with “[p]ositive organic growth in the U.S....” The release

 quoted Pearson as stating, in part, “[o]ur first quarter results demonstrate the strong, durable

 nature of our diversified business model.”

            161.   That same day, Pearson and Schiller hosted an earnings conference call with

 investors and analysts to discuss its 1Q14 results. When asked about the Company’s dermatology

 products and whether ‘‘you’re doing [anything] differently, in terms of how you’re marketing

 them ... [o]r improving the gross to nets on those products,” Pearson responded, in relevant part:

            I think the other thing is - that we’ve worked on is a much more sophisticated
            alternate fulfillment system that we’ve implemented [in] the US, which is really
            helping. Those scripts don’t show up in IMS, in terms of what’s doing, but we’re
            very pleased that Solodyn is now growing. And we’ve applied that to a number
            of our other products, which is also helping in terms of the growth.

            162.   On May 9, 2014, Valeant filed its Form 10-Q Quarterly Report for the first

 quarter ended March 31, 2014 (“1Q14 10-Q”), which Pearson and Schiller signed. In addition to

 confirming the financial results announced in the Company’s May 8, 2014 earnings release, the

 1Q14 10-Q included:

                     (a)    numerous statements regarding the Company’s purportedly lower risk

    business strategy, for example:

            The growth of our business is further augmented through our lower risk
            research and development model, which allows us to advance certain
            development programs to drive future commercial growth, while minimizing
            our research and development expense; and

                     (b)    the Internal Controls Statement and SOX Certifications signed by

    Pearson and Schiller, which in all material respects are identical to the ones quoted above.

            163.   The 1Q14 10-Q represented that “pricing and sales volume of certain of our

 products . . . are distributed by third parties, over which we have no or limited control” while

 concealing that Valeant controlled and had significant influence over Philidor.



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            164.   On May 12, 2014, Allergan issued a press release rejecting Valeant’s unsolicited

 bid, stating its Board of Directors “believes that the Valeant business model is not sustainable.”

 During a conference call on the same day, Allergan’s Chairman and CEO referred to ‘‘the

 unsustainability of Valeant’s business model,’’ emphasized Valeant’s lack of organic growth,

 and cautioned investors to ‘‘very carefully” check the results “actually achieved” by Valeant’s

 new product launches and “dig in what are the price increases behind those very low [organic

 growth] numbers because there are some eye-popping increases of price.”

            165.   On May 20, 2014, Valeant issued a press release announcing that it would be

 hosting an investor meeting and webcast on May 28, 2014, “to respond to assertions Allergan

 has made that the Valeant model is not sustainable.” The release continued: “Our goal for this

 meeting is to provide transparency into Valeant’s historic, current, and future operating

 performance and to refute Allergan’s allegations through a thoughtful and fact-based

 presentation.”

            166.   On May 27, 2014, Allergan filed a Form 8-K with the SEC, attaching a slide

 presentation entitled “Certain Potential Business Risks and Issues With Valeant Pharmaceuticals

 International, Inc.,” which expressed concern about “Valeant’s low organic sales growth (driven

 mostly by price increases).” It asserted that much of Valeant’s growth was attributable to

 “unsustainable price increases- not volume.” The presentation also noted Valeant’s “depleted

 R&D engine” and questioned its “roll-up” business model and “Significant Management

 Turnover.”




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            167.   On May 28, 20143, Valeant hosted its investor meeting and conference call to

 refute Allergan’s claims, which Pearson, Schiller and Jorn attended. During the presentation,

 they emphasized Valeant’s organic growth, sustainability of the business model, and asserted

 that Valeant was limited in its ability to increase drug prices. Specifically, Pearson and Jorn

 made the following statements:

                     (a) Pearson said they would provide investors with “a much deeper

     understanding of our operating model and why we believe it is sustainable for many years

     to come” and show that “ when we buy a platform asset, we have either maintained the

     growth or in most cases, we have accelerated the growth”;

                     (b) Jorn emphasized the launch of “additional access programs so that

     patients can get the medicines that their physician prescribes for them”;

                     (c) Jorn reiterated “that in 2014 we have returned the business to growth”

     and highlighted the growth of dermatology products, including Solodyn and Acanya

     (medications used to treat acne which were sold through Philidor) stating:

            We have returned many of our core promoted brands to growth. We have new
            managed care capabilities, we have launched additional access programs so that
            patients can get the medicines that their physician prescribes for them.

                                                   ***
            So what type of growth are we talking about? It is important that we recognize
            that we have been able in 2014 to turn around our largest brand, Solodyn. We
            entered the year with 49% share, branded share of the dermatology space. We are
            now up at 51% and as you can see, our competitors have issues. Doryx: has been
            declining and Monodox is flat. We are very proud of this accomplishment.

            Further, we continue to maintain greater than 80% share of the branded
            Clindamycin/BPO market with our brand, Acanya. Despite loss in some major
            accounts in managed care, we have been able to achieve this;


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     The same day, Valeant also issued a press release to announce that it was substantially
 raising is Allergan merger proposal by raising its cash consideration, making the total
 consideration approximately $49 billion.


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                      (d) Pearson concluded the presentation by claiming Valeant “has delivered

    strong organic growth since I have been here’’ and “[w]e are very transparent” and “our

    basic underlying growth rate is about 8%”; and

                      (e) During the question and answer session, Pearson was asked to reconcile

    industry data showing 15% price increases with slides used during the presentation showing

    a 1% increase. Pearson claimed Valeant was “limited” to 9%” price increases in

    dermatology and denied all of Allergan’s claims stating: “We are limited. For example in

    the US with our managed care contracts, I think the maximum price increase we can take

    a year is 9% across dermatology, across ophthalmology, etc. So that is what limits. It is

    managed care in the United States.” He continued:

            I think we showed that when we went through the 10 points that Allergan
            asserted which was based on just looking at conventional sources and it is just not
            applicable to the way we run our business. And I would argue it would be less
            and less applicable to most pharma companies because the role of specialty
            pharmacies, the role of managed care is changing the landscape in terms of
            what you can look at.

            168.   Also on May 28, 2014, Pearson participated in the Sanford C. Bernstein Strategic

 Decisions Conference on behalf of the Company. Pearson responded to several questions during

 the conference about price, volume, and the sufficiency of Valeant’s disclosures.

                      (a)    With regard to price and volume, Pearson stated:

            The only country in the world that you can really sustainably increase pricing is
            the United States. And in the United States, you’re governed by managed care
            contracts. And the managed care contract-the highest price increase we could
            take under any managed care contract we have in the US is 9% a year.

            So, we have a lot of constraints, just like other pharma companies do, in terms
            of pricing. So, we focus on volume growth, and the vast majority of our growth
            on a global basis - and we went through some of that this morning- is volume.




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                      (b) In response to why Valeant did not provide more detailed disclosures on

    product sales, Pearson responded, “We’re more like a generics company in terms of the

    amount of revenue we get per product,” adding “[it] just makes no sense” to make such

    disclosures; and

                      (c) Pearson was also asked if others were copying Valeant’s business model

   and said Valeant’s model is transparent but hard to execute, claiming: “as Howard [Schiller]

   always says, it’s not a very easy model to replicate. It’s very simple. We tell you exactly

   what we’re doing. But it’s very hard. It requires working really, really hard, sweating the

   details every day.”

            169.   On June 17, 2014, Pearson and Schiller hosted a conference call “to refute recent

 misleading assertions made by Allergan.” During the call, Defendants made the following

 statements that emphasized the business’s organic growth and de-emphasized how much of the

 growth was due to price:

                      (a) During his opening remarks, Pearson emphasized that Valeant’s

    “business is strong” and its “operating model is both durable and sustainable,” stating, in

    part:

            I am pleased to update all of you that our business is continuing to perform well. I
            find it very odd that Allergan continues to suggest that our Q2 and in particular
            our Q3 results will demonstrate weakness. . . . In short, our business is strong
            and I can assure you our operating model is both durable and sustainable.

            In Allergan’s investor presentation dated June 10, 2014, they asserted that Valeant
            has experienced volume decreases in 11 of its top 15 worldwide pharmaceutical
            products.

            First, the products listed in the presentation are not Valeant’s top 15 products by
            revenue. Only 6 of the products listed are in Valeant’s top 15 products. The
            presentation also claimed that most of our products are not growing, when in
            fact, 13 of our top 15 products are growing and 9 of the top 15 are growing by
            volume, not just price.



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                      (b) Pearson continued later in the call: “I think the other thing we will

    probably start doing again is price volume. People- a lot of assertions are that it’s all about

    price, but it’s not.” He additionally stated:

            So I think what we’re talking about earlier this morning is probably we will report
            what the volume and price parts of our organic growth are. And I suspect it will
            be surprising to people because I think volume is a much larger piece of our
            organic growth than most people would assume it is; and

                      (c) Pearson further stated during the June 17, 2014 conference call that “[o]ur

    sales force in dermatology now has been stable for a few quarters and . . . all our promoted

    products in dermatology are growing.”

            D.     DEFENDANTS’ FALSE       OR   MISLEADING STATEMENTS         FROM    JULY 2014 TO
                   JANUARY 2015

            170.   On July 18, 2014, Valeant issued a press release announcing it had filed an

 investor presentation with the SEC that would be used in meetings with Allergan’s institutional

 investors and proxy advisors. The presentation, entitled “Investor Presentation Regarding the

 Allergan Special Meeting Process,” included “Valeant Operating Principles,” emphasized

 Valeant’s high ethical standing, focus on growth through targeting key products and geographies

 (rather than through price), and compliance. The presentation included the following statements:

                  Put patients and our customers first by maintaining the highest ethical
                   standards in the industry

                  Select high-growth business segments (therapeutic areas and
                   geographies) where the healthcare professional is still the primary
                   decision maker

                                                    ***

                  Ensure tight controls and rigorous compliance standards while avoiding
                   overspending[.]

            171.   On July 31, 2014, Valeant issued a press release announcing its second quarter

 2014 (“2Q14,’) financial results and emphasized its organic growth. The release reported “2014


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 Second Quarter Total Revenue [of] $2.0 billion; an increase of 86% over the prior year.” It

 quoted Pearson as stating “Valeant once again delivered strong quarterly results and, as

 expected, organic growth has accelerated from the first quarter. As we look across the entire

 business, I have never been more confident about the growth trajectory across the entire

 company.”

            172.   On the same day, Pearson and Schiller represented Valeant in a conference call to

 discuss its 2Q14 financial results. During his opening remarks, Pearson stated, in part:

            Turning to medical dermatology. .. The business has now stabilized, with a new
            management team. And the branded market share has increased across all key
            Medicis products since the beginning of2014. This includes Solodyn, Ziana, and
            Zyclara.

            In the US, dermatology grew approximately 7% in the quarter, including the
            headwinds from generics, driven by the continued growth of Acanya, Targretin,
            and Elidel.

                                                   ***

            Given the strong reception from both physicians and patients of our recently
            launched products Jublia, Ultra, and Luzu, each of them has exceeded our
            expectations. As I mentioned, after only three weeks of being available, last
            week’s script demand for Jublia exceeded over 1,300 scripts. This trend is
            expected to accelerate, as regulatory approval for marketing materials are received
            and our dermatology sales forces is appropriately trained.

            173.   Later in the call, a Deutsche Bank analyst asked a “question on the alternative

 fulfillment initiatives” and whether Defendants could “just give us a sense of how much volume

 tends to run through that channel.’’ In response, Pearson stated:

            We’re not going to give specifics. It’s - we think it’s a competitive advantage
            that we have. And it is still primarily the Medicis products, although not
            exclusively the Medicis products. And - but I don’t want to give specific
            numbers, but it is a very successful initiative.

            174.   On August 1, 2014, the Company filed its Form 10-Q Quarterly Report for 2Q14

 (“2Q14 10-Q”), signed by Pearson and Schiller. The 2Q14 10-Q contained the Internal Controls



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 Statement and SOX Certifications, signed by Pearson and Schiller, which in all material respects

 are identical to the ones quoted above. It also included a statement regarding the Company’s

 purportedly lower-risk business strategy, stating:

            The growth of our business is further augmented through our lower risk
            research and development model, which allows us to advance certain
            development programs to drive future commercial growth, while minimizing
            our research and development expense.

            175.   The 2014 10-Q represented that ‘‘pricing and sales volume of certain of our

 products …are distributed by third parties, over which we have no or limited control” while

 concealing that Valeant controlled and had significant influence over Philidor.

            176.   On August 19, 2014, Valeant filed with the SEC a “[c]larification on assertions

 made about Valeant’s business,” which purported to respond to statements made by Allergan in

 its August 5, 2014 press release and in an August 15, 2014 Financial Times article. Among other

 things, Valeant stated that the Company’s “Promoted Pharmaceutical brands (i.e. Dermatology,

 Dental) are growing from a combination of price and volume” and that “[w]e have no

 knowledge of any exposures or issues other than those disclosed or for which reserves have

 been established.”

            177.   On September 11, 2014, Valeant filed with the SEC a letter sent by Pearson to

 Valeant’s employees referencing Allergan’s “attack[s] [o]n our business” and “our business

 model and our track record of organic growth.” In the letter, Pearson responded that “[h]ighlights

 across Valeant’s businesses include . . . return to growth of our U.S. Prescription Dermatology

 business, including the Obagi Medical business, coupled with the early, but exciting launch

 successes of Jublia and Luzu” and “continued tremendous growth in our U.S. Neuro & Other

 and OraPharma businesses.”




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            178.   On October 20, 2014, the Company issued a press release announcing its third

 quarter 2014 (“3Q14”) financial results, which stated, in relevant part: “Total Revenue [of] $2.1

 billion … GAAP EPS [of] $0.81, [and] Cash EPS [of] $2.11.” The release also reported net

 income of $275.4 million. The release further conveyed that ‘‘[t]otal same store sales organic

 growth was 19%, including impact from generics.”

            179.   The same day, Pearson, Schiller, and Kellen hosted a conference call on behalf of

 Valeant to discuss its 3Q14 financial results. In his opening remarks, Pearson emphasized

 improved marketing and increased dermatology sales as the source of Valeant’s earnings growth,

 stating, in part:

            Revenues for our dermatology business, including the recent Precision
            acquisition, grew 33% quarter over quarter. The turnaround of our dermatology
            business is continuing. New leadership has brought stability to the sales force
            and has led to innovative new marketing approaches that are working well. This
            has resulted in market share and revenue gains across the portfolio, including
            launch products.

            Elidel, Acanya, Zycltzra, and Zillna have all gained market share since the
            beginning of 2014. Elidel has had an exceptional year, increasing market share
            from 45% to 52%. And it has overtaken Protopic as the leader in this category.

            After years of declines Solodyn market share has stabilized. On the new
            products side, both Jublia and Luzu quickly gained share, with Jublia reaching
            7% script share of the total onychomycosis market, both branded and generics.
            And Luzu accelerated its script share to 13% of the branded topical antifungal
            market. In addition, quarter-over-quarter result growth for all of our
            dermatology promoted brands was over 40%.

            180.   On October 20, 2014, Allergan filed a response to Valeant’s 3Q14 financial

 results with the SEC and Valeant responded by filing a document entitled “October 20th rebuttal

 items.” In the document, Valeant rebutted Allergan’s assertion that ‘‘price is a large drive[r] of

 growth for select Valeant U.S. pharmaceutical businesses” by stating, in part:

                  Overall price/volume for the Valeant business was ~50% volume and
                   ~50% price.



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                  Like all PhRMA [Pharmaceutical Research and Manufacturers of
                   America] companies, including Allergan, our managed care contracts
                   restrict our price increases each year, and many of our managed care
                   contracts restrict price increases to less than 10% net price increase per
                   year.

                  Gross price increases could be seen as higher but do not contribute to
                   our reported net sales growth.

            181.   On October 24, 2014, Valeant filed its quarterly report on Form 10-Q for the third

 quarter ended September 30, 2014 (“3Q14 10-Q”). The 3Q14 10-Q was signed by Pearson and

 Schiller. The 3Q14 10-Q reported 3Q14 revenue of$2.056 billion, net income of$275.4 million,

 and GAAP EPS of $0.81 and included a statement regarding the Company’s purportedly lower-

 risk business strategy, stating:

            The growth of our business is further augmented through our lower risk
            research and development model, which allows us to advance certain
            development programs to drive future commercial growth, while minimizing
            our research and development expense. We believe this strategy will allow us to
            maximize both the growth rate and profitability of the Company and to enhance
            shareholder value.

            182.   The 3Q14 10-Q also represented that ‘‘pricing and sales volume of certain of our

 products …are distributed by third parties, over which we have no or limited control” while

 concealing that Valeant controlled and had significant influence over Philidor.

            183.   The 3Q14 10-Q included the Internal Controls Statement and SOX Certifications

 signed by Pearson and Schiller, which in all material respects are identical to the ones quoted

 above.

            184.   On January 8, 2015, Valeant hosted a guidance call to discuss its expected 2015

 financial performance and strategies for the year, which again emphasized the Company’s

 organic growth. Pearson, Schiller, and Kellen attended on behalf of the Company. During the

 call, Pearson stated, in relevant part:



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            We demonstrated tremendous organic growth improvement in 2014

                                                   ***
            In conclusion, all the successes from 2014 and our [process] for 2015 and beyond
            continue to validate that Valeant’s business model is both sustainable and value
            creating. Our robust organic growth profile is evidenced by our ability to deliver
            double-digit organic growth, not only in 2014 and 2015 but strong organic
            growth for the foreseeable future.

            E.     DEFENDANTS’ FALSE OR MISLEADING STATEMENTS FROM FEBRUARY TO
                   APRIL 2015
            185.   On February 22, 2015, Valeant issued a press release announcing its fourth

 quarter 2014 (“4Q14”) and full year 2014 financial results. For 4Q14, the release reported

 “Revenue [of] $2.3 billion . . . GAAP EPS [of] $1.56, [and] Cash EPS [of] $2.58.” For the full

 year 2014, the press release reported: “Revenue [of] $8.3 billion. . . GAAP EPS [of] $2.67,

 [and] Cash EPS [of] $8.34, (excluding Allergan gain).’’ The release also reported 4Q14 net

 income of $534.9 million and 2014 net income of $913.5 million. The press release further

 reported that “Total Same Store Sales organic growth” was 16% and 13% for the 4Q14 and

 FY 2014, respectively and quoted Pearson as claiming Valeant’s strategy “is paying off for all of

 our stakeholders” and reporting “Outstanding growth in the U.S., most notably dermatology.”

            186.   On February 23, 2015, Pearson and Schiller hosted a conference call on behalf of

 Valeant to discuss Valeant’s 4Q14 and full year 2014 financial results. During the call, Schiller

 highlighted Valeant’s sources of growth, including that “[r]evenues for our dermatology

 business were very strong and increased 70% year-over-year” and:

            The outstanding work of our sales teams, implementation of innovative
            marketing approaches, great leadership, a portfolio of great products, and our
            four new launch products have contributed to the turnaround and the
            outstanding results in our dermatology business in Q4 and 2014.

            Core products such as Zyclara, Elidel, and the RAM franchise continued their
            strong growth. And Solodyn grew in Q4 and grew 5% for all of 2014, after a
            tough year in 2013.



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            Jublia continues its rapid growth trajectory and reported more than 20,000
            weekly scripts for the last reported weekly sales report. This yields an annualized
            run rate of greater than $250 million for the product.

            187.   On February 25, 2015, the Company filed with the SEC its Form 10-K Annual

 Report for the year ended December 31, 2014 (“2014 10-K’’), which Parson, Schiller, and the

 relevant third parties signed, and it contained the following statements:

                      a)    reported the Company’s 4Q14 revenue of $2.28 billion, net income of

    $534.9 million, GAAP EPS of $1.56, full year 2014 revenues of $8.264 billion, net income

    of $913.5 million, and GAAP EPS of $2.67;

                      (b) attributed the source of Valeant’s growth to “our lower risk, output-

    focused research and development model, which allows us to advance certain

    development programs to drive future commercial growth, while minimizing our research

    and development expense”;

                      (c) claimed “[t]o successfully compete for business with managed care and

   pharmacy benefits management organizations, we must often demonstrate that our

   products offer not only medical benefits but also cost advantages as compared with other

   forms of care....”;

                      (d) stated that “[t]he consolidated financial statements include the accounts

    of the Company and those of its subsidiaries and any variable interest entities (‘VIEs’) for

    which the Company is the primary beneficiary,” while omitting any mention of Philidor;

                      (e)     stated, under the heading “Business Combinations”:

            During the year ended December 31, 2014, the Company completed other
            smaller acquisitions, including the consolidation of variable interest entities,
            which are not material individually or in the aggregate. These acquisitions are
            included in the aggregated amounts presented below;




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                      (f) included “Reports of Management on Financial Statements and Internal

    Control over Financial Reporting” signed by Pearson and Schiller, stating:

            Financial Statements

            The Company’s management is responsible for preparing the accompanying
            consolidated financial statements in conformity with United States generally
            accepted accounting principles (“U.S. GAAP”). In preparing these consolidated
            financial statements, management selects appropriate accounting policies and
            uses its judgment and best estimates to report events and transactions as they
            occur. Management has determined such amounts on a reasonable basis in
            order to ensure that the consolidated financial statements are presented fairly,
            in all material respects. Financial information included throughout this Annual
            Report is prepared on a basis consistent with that of the accompanying
            consolidated financial statements.

            Internal Control Over Financial Reporting

            Under the supervision and with the participation of management, including the
            Company’s Chief Executive Officer and Chief Financial Officer, the Company
            conducted an evaluation of the effectiveness of its internal control over financial
            reporting based on the framework described in Internal Control - Integrated
            Framework (2013) issued by the Committee of Sponsoring Organizations of the
            Treadway Commission. Based on its evaluation under this framework,
            management concluded that the Company’s internal control over financial
            reporting was effective as of December 31, 2014;

                   (g)     represented that “pricing and sales volume of certain of our products are

 distributed or marketed by third parties, over which we have no or limited control,” while

 omitting mention of its control of Philidor; and

                   (h) also included the Internal Controls Statement and SOX Certifications signed

 by Pearson and Schiller, which in all material respects are identical to the ones quoted above.

            188.   On March 16, 2015, Valeant announced a $1.45 billion public offering of 7.3

 million shares of common stock at a price of $199 per share, the proceeds of which were used to

 fund the acquisition of Salix and related costs. The March 2015 Stock Offering was conducted

 pursuant to the March 2015 Stock Offering Materials, including the Registration Statement and

 Prospectus Supplement.


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            189.   The March 2015 Stock Offering Materials represented that:

                   (a)A “key element” of Valeant’s business strategy, which allowed it to “improve

 both the growth rate and profitability of the Company” and “enhance shareholder value,” was

 its “low-risk research and development (‘R&D’) model”;

                   (b) Valeant’s dermatology segment and other segments were “attractive markets”

 in which Valeant operated because they were “high-growth businesses” with “sustainable

 organic growth” where the ‘‘healthcare professional or patient is still the primary decision

 maker,” and similarly stated that Valeant’s business strategy operated “to ensure decisions are

 made close to the customer” and that there was “significant opportunity to create value

 through application of the Valeant business model”;

                   (c) Valeant’s ‘‘inventory is held at retail pharmacies and other non-wholesale

 locations over whose buying patterns we will have limited influence” and the ‘‘pricing and

 sales volume of certain of our products (or Salix’s products) . . . are distributed or marketed by

 third parties, over which we have no or limited control”; and

                   (d) Valeant’s financial results for the year ended December 31, 2014: total

 revenues of $8.264 billion; net income of $913.5 million; and basic and diluted EPS of $2.72

 and $2.67, respectively, and stated that revenues had grown by approximately 43% year-over-

 year.

            190.   The March 2015 Stock Offering Materials also discussed the Company’s “Other

 Recent Acquisitions,” but failed to mention Valeant paid $100 million for the option to acquire

 Philidor just three months prior to the March 2015 Stock Offering, and claimed that the

 Company was “not currently a party to any significant transactions, other than the [Salix

 merger].”




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            191.   Valeant’s 2014 10-K, which was expressly incorporated into the March 2015

 Stock Offering Materials, included the same Internal Controls Statement and SOX Certifications

 as set forth above.

            192.   On April 29, 2015, the Company issued a press release announcing its financial

 results for the first quarter 2015 (“1Q15”), as well as increased guidance for full year 2015,

 which emphasized that: “[s]ame Store Sales Organic Growth was 15%, driven by”:

               Growth from launch brands, including BioTrue Multipurpose Solution,
                   BioTrue ONE day Contact Lens, Jublia, Luzu, and Ultra Contact Lens,
                   and

               Double digit growth in U.S. businesses such as Contact Lens, Dermatology,
                  Neurology and Other, Obagi, and Oral Health[.]

            193.   On April 29, 2015, Pearson, Schiller and Kellen hosted a conference call to

 discuss Valeant’s 1Ql5 financial results with investors and analysts, where they again

 emphasized Valeant’s organic growth through volume and de-emphasized the part that came

 from price increases. During the call, Pearson in particular made the following statements:

                      (a) Pearson stated, in part:

            Our US dermatology business had an outstanding quarter. Dermatology

            revenue grew 38% year on year and script growth grew 37% year on year.

            Jublia scripts grew 87% in Q1 versus Q4 of last year; and

                   (b)     An analyst asked “if you could quantify a little bit how much was price

 versus volume that contributed to growth in 1Q? And what do you factor in your full-year

 guidance price versus volume?” Pearson responded:

            In terms of price volume, actually volume was greater than price in terms of our
            growth. Outside the United States it’s all volume . . . . And in the US it’s shifting
            more to volume than price, and we expect that to continue with our launch
            brands. A lot of our prices for most of our products are negotiated with managed
            care. And there’s only a limited amount of price that we can take.



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            194.   On April 30, 2015, Valeant filed its Form 10-Q Quarterly Report with the SEC for

 the period ended March 31,2015 (“2015 10-Q”), which Pearson and Schiller signed, and: (a)

 reported the Company’s 2015 revenue of $2.191 billion; (b) included the same statement related

 to Valeant’s “Business Combinations” as in the Company’s 2014 10-K, discussed above at -

 ,r205(e), which failed to mention the existence of Philidor as a VIE; and (c) included the Internal

 Controls Statement and SOX Certifications signed by Pearson and Schiller, which in all material

 respects are identical to the ones quoted above.

            195.   The 2015 10-Q also included a statement regarding the Company’s purportedly

 lower-risk business strategy, stating:

            The growth of our business is further augmented through our lower risk,
            output- focused research and development model, which allows us to advance
            certain development programs to drive future commercial growth, while
            minimizing our research and development expense. We believe this strategy will
            allow us to maximize both the growth rate and profitability of the Company and
            to enhance shareholder value.

            196.   The 1Q15 10-Q represented that ‘‘pricing and sales volume of certain of our

 products . . . are distributed or marketed by third parties, over which we have no or limited

 control” while concealing that Valeant controlled and had significant influence over Philidor.

            F.     DEFENDANTS’ FALSE OR MISLEADING STATEMENTS FROM MAY TO JULY 2015

            197.   On May 19, 2015, Pearson addressed investors at Valeant’s 2015 annual

 shareholder meeting. Pearson made numerous statements about the business strategy, source of

 growth, pricing, and stock price including:

                     (a) Pearson said that “we have a differentiated R&D model that has and will

    continue to deliver more innovative products to our customers at a lower cost than our

    competitors” adding that “[w]e’ve delivered three consecutive strong quarters of organic

    growth,19% and 16% and 15% respectively”; and



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                     (b) Valeant had a “unique executive compensation system tied to generating

    disproportionate returns for our shareholders.”

            198.   On May 21, 2015, Pearson attended an RBC Capital Markets, LLC (“RBC”)

 Investor Meeting on Valeant’s behalf and made numerous statements about the Company’s

 pricing, source of growth, and accounting practices, including:

                     (a) when asked to discuss pricing in the United States, Pearson concealed the

    full extent of Valeant’s price increases by observing that due to managed care contracts,

    Valeant was “contractually not allowed to raise prices beyond” an average of “5%,”

    including in its Dermatology business;

                     (b) while discussing pricing, Pearson said of the Neurology and Other

    business segment “that’s where we have the most ability to raise price[s] and play with

    price” and raising prices “is I believe not, at least from [an investor’s] standpoint a bad

    thing.” Pearson stated that orphan products provided him with the opportunity to be flexible

    with pricing. He said Valeant’s base plan was around 5% price increases adding that Valeant

    had raised prices more in certain areas but that “we don’t plan for them, but again if we can

    take advantage of –during times we’ve had significant price increases in acquisitions.”

    Rather than disclosing the deceptive tactics to implement the price increases, Pearson

    claimed Valeant was able to raise prices by buying products from companies “that did not

    price their product the right way”;

                     (c) Pearson said they raised the prices of Isuprel and Nitropress because

    Marathon left money “on the table” and claimed the drugs were priced much lower than

    competitive products, stating they raised prices “because the drugs were mispriced vs.

    comparative products” and adding “that can create lot of value[] for shareholders”;




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                       (d) Pearson added that “we’ve been accused of our growth being price and

     not volume” but claimed that “organic growth is more volume than price and will continue

     to be’’;4 and

                       (e) turning to Valeant’s accounting practices and financial status, Pearson

     reassured investors “our accounting practices are fine” and added “[w]e get audited all the

     time, by the SEC…and we have absolutely no issue from a government standpoint’ and

     that ‘‘we never had a financial irregularity.”

            199.     On July 23, 2015, the Company issued a press release announcing its second

 quarter 2015 (“2Q15”) financial results and increasing the Company’s full year 2015 guidance.

 The release reported that “Same Store Sales Organic Growth was 19%, driven by: U.S.

 businesses, driven by the strength of dermatology, contact lenses, dental and Obagi.”

            200.     The July 23, 2015 press release also quoted Pearson as stating: “We once again

 exceeded our guidance and delivered our fourth consecutive quarter of greater than 15% organic

 growth. Our strong second quarter results were driven by outperformance in our U.S.

 businesses.”

            201.     On July 23, 2015, Pearson, Rosiello, and Kellen attended and hosted a conference

 call on Valeant’s behalf to discuss its 2Ql5 financial results. Commenting on the Company’s

 results, Pearson stated, in relevant part:

            We have now delivered four consecutive quarters of more than 15% same-store
            organic growth. Strong performance throughout our businesses resulted in
            both our top and bottom line exceeding the Q2 guidance that we provided on


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     In contrast to Pearson’s public representations, on May 21, 2015, Schiller, in an email with
 the subject "price/volume," wrote to Pearson, "Last night, one of the investors asked about
 price versus volume for Q1. Excluding [M]arathon, price represented about 60% of our
 growth. If you include [M]arathon, price represents about 80%." In addition, on May 26,
 2015, an RBC analyst reported that one of the key takeaways from the meetings with
 Valeant management and Pearson, was ‘‘volume not price is fueling organic growth."


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            our last call.
                                                   ***

            Turning to organic growth, our overall same-store total company organic
            growth was 19% for the quarter. The exceptional growth of our US businesses
            driven by the strength of dermatology, contact lenses, dental and Obagi was
            complimented by many of our emerging markets including China, Middle
            East/North Africa, Russia and South Korea.

                                                   ***

            Jublia is now our second largest product with annual run-rates sales of
            approximately $450 million....

            Our US dermatology business had another excellent quarter with our launch
            brands leading the way. Both launch and core brands contributed to the
            dermatology revenue growth of 55% year-on-year. Jublia scripts grew 37% in
            Q2 versus Q1…

            202.    During the question and answer session of the Company’s July 23, 2015

 conference call, a Jefferies LLC analyst questioned whether the number of prescriptions for

 Jublia going through specialty pharmacy channels had improved. In response, Kellen, Valeant’s

 Company Group Chairman, concealed Valeant’s control over the Philidor network, and stated:

            Yes, the adoption through multiple specialty pharmacies continues. I think last
            time we said Jublia was around 50%. That trend continues. For derm[atology]
            overall, it varies by product, but it’s around 40%.

            203.    As the call continued, Pearson was asked about the price increase on Glumetza

 and the “extent to which you envision more pricing power ... broadly speaking, in the U.S.?” In

 response, Pearson again emphasized organic growth and de-emphasized the role of price

 increases, stating:

            I think most pharma companies that I’m aware of, as the product gets into the last
            stages of their life, like Glumetza --we’re going to lose Glumetza within six
            months -- often price increases are taken at the end. So that was just consistent
            with what most companies do.

            Our view on pricing -- across most of our portfolio, we do not take prices.
            Outside the US, there’s like zero price. I think, David, as we get more and more
            into segments like contact lenses and consumer products and other devices, we’re


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            not able to take price. So we’re opportunistic when it comes to price. But our
            base strategy is, how do we grow organically through volume, which is -- I
            think this quarter, we once again exhibited our ability to do so.

            204.   On July 28, 2015, the Company filed its Form 10-Q Quarterly Report with the

 SEC for its 2Q15, ended June 30, 2015 (“2Q15 10-Q”). The 2Q15 10-Q was signed by Pearson

 and Rosiello. The 2Q15 10-Q reported the Company’s revenues for the six months ended June

 30, 2015 of $4.923 billion. The 2Q15 10-Q also stated:

            As is customary in the pharmaceutical industry, our gross product sales are
            subject to a variety of deductions in arriving at reported net product sales.
            Provisions for these deductions are recorded concurrently with the recognition of
            gross product sales revenue and include cash discounts and allowances,
            chargebacks, and distribution fees, which are paid to direct customers, as well as
            rebates and returns, which can be paid to both direct and indirect customers. . . .
            Provisions as a percentage of gross sales increased to 31% and 33% for the
            second quarter and first half of 1015, respectively, compared with 27% and 26%
            in the second quarter and first half of2014. The increase was driven by (i) higher
            provisions for rebates, chargebacks, and returns, including managed care
            rebates for Jublia® and the co-pay assistance programs for launch products
            including Jublia®, Onexton®, and Retin-A Micro® Microsphere 0.08%
            (‘‘RAM 0.08%’’).

            205.   The 2Q15 10-Q also included a statement regarding the Company’s purportedly

 lower-risk business strategy, stating:

            The growth of our business is further augmented through our lower risk,
            output- focused research and development model, which allows us to advance
            certain development programs to drive future commercial growth, while
            minimizing our research and development expense.

            206.   The 2Ql5 10-Q represented that ‘‘pricing and sales volume of certain of our

 products . . . are distributed or marketed by third parties, over which we have no or limited

 control” while concealing that Valeant controlled and had significant influence over Philidor.

            207.   The 2Q15 10-Q also included the Internal Controls Statement and SOX

 Certifications, but signed by Rosiello and Pearson, which in all material respects are identical to

 the ones quoted above.



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            G.     DEFENDANTS’ FALSE        OR   MISLEADING STATEMENTS         FROM   SEPTEMBER      TO
                   DECEMBER 2015

            208.   On September 28, 2015, Valeant filed a Form 8-K with the SEC that attached a

 letter from Pearson to the Company’s employees responding to claims that Valeant’s “business

 model and strategy is dependent upon large price increases in our U.S. pharmaceutical business’’

 and “[c]oncern around our exposure to U.S. government drug price reimbursement.” In his letter:

            (a) Denying Citron’s allegations, Pearson referred to these concerns as a “bear thesis,”

 claimed they were “incorrect on both accounts,” and dismissed the dependency on price

 increases stating “Valeant is well-positioned for strong organic growth, even assuming little to

 no price increases”;

            (b) Pearson added, “[a]s we have stated many times, Valeant’s core operating principles

 include a focus on volume growth and a concentration on private and cash pay markets that

 avoid government reimbursement in the U.S.’’ and ‘‘the majority of our portfolio will continue

 to deliver strong volume-based organic growth and is not dependent on price increases”;

            (c) Pearson went on to “lay out the facts” noting, in part, that: (i) growth in dermatology,

 ophthalmology, Rx and dentistry was based on having “delivered over 30% script growth year

 to date,” and (ii) they expected “double-digit script growth and corresponding revenue growth

 trends to continue’’ in the “Salix business; and

            (d) Pearson added, “we expect double-digit organic growth in 2016 and beyond as we

 prepare for the launch of Addyi and anticipate other potential product approvals ... ‘‘

            209.   On October 14, 2015, Valeant issued a press release noting it received subpoenas

 from the DOJ for documents regarding its patient assistance and distribution practices. The

 release quoted Pearson as stating that “All of us at Valeant firmly believe in maintaining strong

 regulatory and financial controls and believe we have operated our business in a fully



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 compliant manner.”

            210.   On October 19, 2015, Valeant issued a press release announcing its third quarter

 2015 (“3Q15”) financial results and hosted an earnings conference call that began before the

 market opened. The release stated, in part, “Same store sales organic growth of 13%; 5th

 consecutive quarter of 10% organic growth, driven by: Continued outperformance of U.S.

 businesses, particularly dermatology and contact lens....”

                       (a) As discussed in ¶¶ 243-259, by this time Valeant’s ties to Philidor were

 beginning to be uncovered by investigative journalists, which forced Valeant to publicly

 disclose the relationship. To offset the negative impact on the price of Valeant securities, the

 Company raised revenue and EPS guidance for the fourth quarter 2015 (“4Q15”) and full year

 2015, stating:

               4Q15 Guidance

                      Total Revenue increased to $3.25- $3.45 billion {midpoint of$3.35
                       billion] from $3.2 - $3.4 billion {midpoint of $3.3 billion]

                      Cash EPS increased to $4.00- $4.2 0 {midpoint of $4.10] from
                       $3.98- $4.18/midpoint of$4.08]

               Full Year 2015 Guidance

                      Total Revenue increased to $11.0- $11.2 billion [midpoint of$11.1
                       billion] from $10.7- $11.1 billion {midpoint of $10.9 billion]

                                                  ***

                      Cash EPS increased to $11.67- $11.87/midpoint of $11.77] from
                       $11.50- $11.80 {midpoint of $11.65],· and

                        (b) In addition, the press release quoted Pearson as stating, in part, “With

     our strong product portfolio and growth prospects, we feel very confident in our future

     outlook and we are reaffirming our $7.5 billion EBITDA floor for 2016.”




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            211.   That same day, Pearson, Rosiello, and Kellen hosted a conference call. In the

 slide presentation accompanying the earnings conference call, Valeant included a list of

 anticipated “Questions from Investors.” One of the “anticipated” questions was “How does

 Valeant work with specialty pharmacies and what is Valeant’s relationship with Philidor’’ to

 which the presentation asserted:

                      We have viewed our relationship with Philidor and our other
                       specialty pharmacies as proprietary and as one of our competitive
                       advantages

                      Similar to many pharmaceutical companies in the U.S., an
                       increasing percentage of our revenue is coming from products
                       dispensed through multiple specialty pharmacies

                      We find specialty pharmacies improve patients’ access to
                       medicines at an affordable price and help ensure physicians are able
                       to prescribe the medications they believe most appropriate for their
                       patients

            We understand that Philidor:

                      Provides services under our programs for commercially insured and
                       cash- paying claims only. Any claim that would be reimbursed in
                       whole or in part by government insurance is not eligible for our co-
                       pay subsidy programs

                      Does not restrict prescriptions it fills to any particular
                       manufacturers (including Valeant)5

                      Dispenses generic products as specified in patient’s prescription or
                       as requested by patient

            212.   During the call, Pearson repeated some of the same claims, saying that the

 relationship with Philidor had not been disclosed previously for “competitive reasons” and

 suggesting Valeant’s use of specialty pharmacies was similar to its competitors and resulted in

 more affordable prices, stating, in relevant part:

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    As Defendants knew, and as Philidor admitted on November 25, 2015, Valeant was
 Philidor’s only customer.


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            The topic of specialty pharmacies has not been a focus of ours on past calls
            because we believe this was a competitive advantage that we did not want to
            disclose to our competitors. But given all the incorrect assertions by some, we
            will provide an update to this call.

            Similar to many pharmaceutical companies in the US, an increasing percentage
            of our revenue is coming from products dispensed through multiple specialty
            pharmacies. We find specialty pharmacies improve patients’ access to medicines
            at an affordable price, and help ensure physicians are able to prescribe the
            medications they believe most appropriate for their patients. In almost all cases,
            our inventory with specialty pharmacies in this channel and the title to our
            medicine only transfers to the pharmacy when the actual prescription is filled.

            213.   Pearson also claimed that “[s]ince we do not recognize the revenue of our

 products [sold through Philidor] until the prescriptions are filled, this consolidation has the

 impact of delaying revenue recognition as compared to products that are sold through traditional

 distribution channels.”

            214.   Regarding the media and government scrutiny of Valeant’s pricing practices,

 Pearson asserted that the criticism was industry-wide and told investors that Valeant’s forecast

 was appropriately discounted for such scrutiny, claiming:

            [I]t’s clear that the pharmaceutical industry is being aggressively attacked for
            past pricing actions. And that’s not just Valeant, but I think it’s all companies. I
            do think given that environment, the pricing that pharmaceutical companies will
            take in the future will be more modest, and we built that into our forecast for
            next year.

            215.   Regarding the lawsuit filed by R&O, Pearson reassured investors that the business

 practices of Valeant and Philidor were proper by claiming:

            R&O is one of the specialty pharmacies in our network, and Valeant has shipped
            approximately $69 million at wholesale prices to them. This represents
            approximately $25 million at net prices. Any products R&O dispensed to patients
            were recognized as our revenues, and are reflected in our receivables. Any
            products still held by R&O are reflected in our inventory. R&O is currently
            improperly holding significant amounts it receives from payers. We will refrain
            from comment on active litigation, and look forward to showing in court that we
            are owed the money.




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            216.   During the conference call, Rosiello repeated the increased guidance from the

 press release, ¶210, and added that “[w]e expect our gross margins to approach 80% in the fourth

 quarter, driven by continued growth in our dermatology and Salix businesses, the launch of

 Addyi, and decreased sales of Xenaxine.” His statements were accompanied by the following

 chart in the slide presentation:




            217.   To further assuage investor concern, and buoy the price of Valeant’s securities,

 the slide presentation also stated that Valeant was “reaffirming our expectations to exceed $7.5

 [billion] in EBITDA in 1016.” When Pearson was asked during the conference call how the lack

 of price increases going forward may affect the Company’s ability to meet EBITDA guidance in

 2016, he responded, in part, “today . . . we feel very comfortable with the $7.5 billion and we

 expect our guidance next year will exceed that.”

            218.   On October 21, 2015, Valeant issued a press release responding “to recent

 accusations made regarding its financial reporting and operations” by Citron Research (“Citron”)

 that Valeant was inflating revenues through its secret network of pharmacies to refute such

 allegations and confirm it was complying with GAAP stating, in part:

                  All shipments to Philidor and other pharmacies in the Philidor
                   pharmacy network, including R&O, are not recorded in Valeant’s
                   consolidated net revenue. Sales are recorded only when the product is
                   dispensed to the patient.     All sales to Philidor and Philidor network
                   pharmacies are accounted for as intercompany sales and are eliminated
                   in consolidation. They are not included in the consolidated financial
                   results that Valeant reports externally.


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                  Any inventory at pharmacies in the Philidor pharmacy network are
                   included in Valeant’s consolidated inventory balances-there is no sales
                   benefit from any inventory held at these specialty pharmacies and
                   inventory held at the Philidor network pharmacies is reflected in
                   Valeant’s reported inventory levels.

                  The timing of our revenue recognition by selling through the Philidor
                   pharmacy network is actually delayed when compared to selling through
                   the traditional wholesaler channel.

            219.   On October 26, 2015, the Company filed its Form 10-Q Quarterly Report with the

 SEC for the period ended September 30, 2015 (“3Q15 10-Q”), which Pearson and Rosiello

 signed. The 3Q15 10-Q reported the Company’s revenue for the nine months ended September

 30, 2015 of $7.71 billion.

            220.   The 3Q15 10-Q disclosed that Valeant had the “power to direct Philidor’s

 activities” and stated that Valeant’s entire Board of Directors had reviewed Valeant’s accounting

 for Philidor and had confirmed its appropriateness.

                   (a)    Specifically, the 3Q15 10-Q stated:” During (a) the year ended

 December 31, 2014, the Company completed other smaller acquisitions, including the

 consolidation of variable interest entities, which were not material individually or in the

 aggregate. These acquisitions are included in the aggregated amounts presented below.

 Beginning in December 2014, the Company has consolidated Philidor Rx Services, LLC

 (“Philidor”) pharmacy network, which includes R&O Pharmacy, LLC. The Company

 determined that based on its rights, including its option to acquire Philidor, Philidor is a

 variable interest entity for which the Company is the primary beneficiary, given its power to

 direct Philidor’s activities and its obligation to absorb their losses and rights to receive their

 benefits. As a result, since December 2014, the Company has included the assets and

 liabilities and results of operations of Philidor in its consolidated financial statements. Net




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 sales recognized through Philidor represent approximately 7% and 6% of the Company’s

 total consolidated net revenue for the three-month and nine-month periods ended September

 30, 2015, respectively, and the total assets of Philidor represent less than 1% of the

 Company’s total consolidated assets as of September 30, 2015. The impact of Philidor as a

 consolidated entity on the Company’s net revenues for 2014 was nominal.

                   (b)     The 3Q15 10-Q report further stated:

            On October 26, 2015, the Company also announced that its Audit and Risk
            Committee and the full Board of Directors have reviewed the Company’s
            accounting for its Philidor arrangement and halve confirmed the
            appropriateness of the Company’s related revenue recognition and accounting
            treatment.

            As is customary in the pharmaceutical industry, our gross product sales are
            subject to a variety of deductions in arriving at reported net product sales.
            Provisions for these deductions are recorded concurrently with the recognition
            of gross product sales revenue and include cash discounts and allowances,
            charge backs, and distribution fees, which are paid to direct customers, as well
            as rebates and returns, which can be paid to both direct and indirect
            customers… Gross product sales for products dispensed through Philidor Rx
            Services, LLC (“Philidor”) pharmacy network (which is consolidated as a
            variable interest entity within our consolidated financial statements) are
            recognized when a prescription is dispensed to a patient. Net sales recognized
            through the Philidor pharmacy network represents 7% and 6% of our total
            consolidated net revenue for the three months and nine months ended September
            30, 2015, respectively;

                         (c) The 3Q15 10-Q also described the Company’s performance:

     “Excluding the items described above, we realized incremental product sales revenue

     from the remainder of the existing business of $236 million and $820 million in the third

     quarter and first nine months of 2015, respectively.

            The growth, which incorporates sales directly to wholesalers and retailers as
            well as use of specialty pharmacies (primarily Philidor),reflected (1) higher
            sales of (i) Jublia® (launched in mid-2014), (ii) the Retin-A® franchise (including
            the launch of RAM 0.08% in mid-2014), (iii) Xenazine®, (iv) Arestin®, (v)
            Solodyn®, and (vi) the Carac® franchise, and (2) higher sales from other recent
            product launches, including the launches of Biotrue® ONEday, Bausch + Lomb
            Ultra®, and Onexton®;


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                         (d) The 3Q15 10-Q also included a statement regarding the Company’s

     purportedly lower-risk business strategy, stating:

            The growth of our business is further augmented through our lower risk,
            output- focused research and development model, which allows us to advance
            certain development programs to drive future commercial growth, while
            minimizing our research and development expense; and

                         (e) The 3Q15 10-Q included the Internal Controls Statement and SOX

      Certifications (this time signed by Pearson and Rosiello), which in all material respects

      are identical to the ones quoted above.

            221.   On October 26, 2015, Valeant issued a press release designed to alleviate investor

 concerns and re-inflate the price of Valeant stock, which:

                   (a)      repeated that Valeant’s ‘‘Audit and Risk Committee and the full Board

 of Directors have reviewed the company’s accounting for its Philidor arrangement and have

 confirmed the appropriateness of the company’s related revenue recognition and accounting

 treatment’;

                   (b)      quoted Pearson as stating that “As we have said previously, our

 accounting with respect to the Company’s Philidor arrangements is fully compliant with the

 law,” and “We operate our business based on the highest standard of ethics, and we are

 committed to transparency”; and quoted Ingram as stating that the Board of Directors “has

 fully supported the company’s specialty pharmacy strategy,” adding that Pearson “operates

 with the highest degree of ethics.”

            222.   Also on October 26, 2015, the Company hosted a conference call with investors

 that was accompanied by a presentation. Pearson, Schiller, Rosiello, Ingram, Provencio, Melas-

 Kyriazi, Stevenson, Carro, and Kellen attended on behalf of Valeant. The presentation disclosed

 that “[o]ur specialty pharmacy strategy originated from the Medicis Alternate Fulfillment



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 Program.” Among other things, the presentation also stated that:

                   (a)    “Prescriptions through Philidor are less profitable than traditional

 channels due to lower copay rates, lower cash pay rates and more cash pay scripts in Philidor

 than in retail and other channels”

                   (b)    “We do not own or control Philidor ...” and “Philidor employees do

 not report to Valeant ...”;

                   (c)    “Philidor is independent ...”; and

                   (d)    “Unless and until Valeant exercises the option to acquire Philidor,

 Philidor remains independent and Valeant has no rights to remove CEO or management.’’

            223.   Pearson assured investors there was no improper accounting or other improper

 practices involving Philidor stating:

                   (a)    “we stand by our accounting treatment of Philidor completely”;

                   (b)    “[w]e follow the law and we comply with accounting and disclosure

 rules’’;

                   (c)    “the sensational claims made by the short seller Andrew Left,

 through his entity Citron, are completely untrue. His motivation is the same as someone

 who runs into a crowded theater to falsely yell fire. He wanted people to run”;

                   (d)    “after we saw the false report from Citron, we promptly coordinated

 with our outside regulatory counsel from Cahill to make a request that the SEC investigate

 Mr. Left and Citron”;6

                   (e)“We still believe that the strategy of working with specialty pharmacies is

 sound and it’s good for patients and physicians. There have been no issues with regards to


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    This request instead led the SEC to investigate Valeant’s accounting, which as noted
 below, resulted in a restatement.


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 the accounting or revenue recognition of the business”; and

                   (f)    “We have been working with outside counsel and we have found no

 evidence of illegal activity whatsoever at Philidor.”

            224.   Ingram, Valeant’s lead independent director, speaking on behalf of the entire

 Board of Directors, reaffirmed these statements, saying:

            Thank you, Mike [Pearson]. As Mike stated, the Company stands by its
            accounting completely. The audit committee of the Board and the full Board
            have reviewed the Company’s accounting, the Philidor relationship, and have
            confirmed the appropriateness of the Company’s revenue recognition and
            accounting treatment.

            225.   Rosiello reinforced the statements by Pearson and Ingram adding:

                   (a) “Valeant consolidates financials with Philidor and the Philidor network,

 ensuring that revenue recognition and financial statement presentation is appropriate”;

                   (b) “Valeant recognizes revenue only when products are dispensed to patients,

 and Valeant records this at net realized price”;

                   (c) “There is simply no way to stuff the channel of consolidated variable interest

 entities, or VIEs, since all inventory remains on Valeant’s consolidated balance sheet until

 dispensed to patients”; and

                   (d) “Philidor was considered a VIE prior to the purchase option agreement, but

 since Valeant was not determined to be the primary beneficiary, consolidation was not

 appropriate. A purchase option agreement for Philidor was executed in December 2014. The

 finance and transactions committee, audit and risk committee, and full Board, all reviewed the

 transaction. The appropriate accounting treatment was determined by management and

 reviewed with the Audit and Risk Committee.”

            226.   Carro, Valeant’s corporate controller, also defended Valeant’s accounting and

 lack of prior disclosure regarding Philidor. Specifically:


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                   (a) Carro claimed that, as of year-end 2014, “Philidor is not considered to be

 material to Valeant’s business for reporting purposes” at the end of 2014 because the “GAAP

 requirement for disclosing sales to large customers is 10% of revenue” and in December 2014

 Philidor’s year-to-date net sales were $111 million; and

                   (b) Carro claimed that for the first two quarters of 2015 “Philidor was not

 specifically mentioned in our disclosures because it had not been material to the consolidated

 financial statements, because “[i]t represented 1% or less of total assets and 7% or less of

 consolidated net revenues since the fourth quarter of 2014.”

            227.   Schiller reassured investors that there was no evidence of wrongdoing by Pearson,

 stating “if I had any concerns whatsoever about Valeant or Mike, I would not have stayed on the

 Board. It’s as simple as that. When we announced that I was leaving, and Mike and I had a bit of

 our lovefest, I don’t want to repeat all the words but I meant them in terms of Mike is

 professional, his ethics, his work ethic, his commitment to doing the right thing.”

            228.   To mitigate the impact of the negative news, Pearson reaffirmed Valeant’s

 recently increased 2015 guidance, stating: “Given the continued healthy growth in dermatology,

 Salix, eye health, and the recent Addyi launch, we expect to meet or exceed our fourth-

 quarter projections, excluding the one-time expenses associated with recent events.” He added,

 “we continue to be very comfortable with our 2016 EBITDA expectation of greater than

 $7.5 billion.”

            229.   On November 10, 2015, before the market opened, Pearson, Rosiello, Carro, and

 Kellen hosted a conference call with investors to ‘‘update [the market] on our strategy with

 respect to specialty pharmacies, to explain our transition plans for Philidor, to discuss our

 business performance for the first half of the quarter, and perhaps most importantly to take




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 questions from all of you.”7 Pearson stated, in relevant part:

            We began working with Philidor because we believed a strong relationship with
            one specialty pharmacy would deliver better, faster customer service for doctors
            and patients. We were also looking for a pharmacy which would be willing to
            process prescriptions before adjudicating the claims, which would allow us
            rather than the patient, to assume the risk if the commercial payer denied the
            claim.

            230.   An analyst noted that there were ‘‘two kind[s] of major accusations aimed at the

 Company,” one regarding pricing and the other regarding Philidor, and noted that Valeant

 “decided to limit your pricing going forward” and “cut operations with Philidor.” With regard to

 Philidor, Pearson responded in part:

            Well Philidor was very specific. First, there was the Citron report which claimed
            financial fraud and other things. They quickly came out and there was no
            financial fraud, in terms of Valeant had to do. But then other allegations were
            made in terms of the practices of Philidor. And we felt, both management and the
            Board felt that given these allegations, given what was happening to our stock
            price and given what many of our major shareholders were asking us to do that
            the best thing to do was to sever.

            231.   On December 16, 2015, Valeant issued a press release formally withdrawing the

 inflated guidance it issued less than two months earlier on October 19, 2015. Attempting to

 offset the disappointing revised 2015 guidance and notwithstanding the financial impact of its

 lost sales through Philidor and increased scrutiny by PBMs and private payers, Valeant’s

 December 16, 2015 press release projected robust 2016 growth with revenue of $12.5- $12.7

 billion, Cash EPS of $13.25- $13.75, and EBITDA of $6.9- $7.1 billion.

            232.   The same day, Valeant hosted a conference call. Pearson, Rosiello, Jorn, and

 Kellen participated on behalf of the Company. Rosiello repeated the 2016 guidance and Pearson

 stressed how conservative Valeant’s estimates were: “I feel very comfortable with the guidance.

 But each little pieces [sic], I feel little less comfortable this year just given - so we put an extra

 7
      As discussed herein, in late October 2015 Valeant announced that it would be terminating
 its relationship with Philidor and that Philidor would be shut down.


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 dose of conservatism in.” Pearson added: “Addyi ...a lot of people have said, Addyi is a disaster;

 today you’ll see it’s not a disaster. So we believe we’ll sell between $100 million and $150

 million in sales of Addyi next year.”

 VI.        THE TRUTH EMERGES REGARDING VALEANT’S PRICING PRACTICES
            AND ITS OTHER MISREPRESENTATIONS

            233.   Through a series of partial disclosures coming from the general media, investment

 research, and Congressional reports, the truth gradually emerged regarding Valeant’s pricing

 practices, business operations, and prospects. Valeant itself began to offer substantive corrective

 disclosures on October 19, 2015. The full disclosure of the facts, and materialization of the risks

 associated with Defendants’ misstatements, did not occur until August 10, 2016, when the Wall

 Street Journal reported that the U.S. Attorney was considering bringing criminal charges against

 Defendants.

            A.     INQUIRY INTO VALEANT’S PRICE GOUGING PRACTICES

            234.   Beginning in September 2015, public attention began to focus on the practices of

 certain pharmaceutical firms of acquiring drugs and then massively increasing their prices.

 While the initial public scrutiny centered on Turing Pharmaceuticals (“Turing”), it soon

 broadened to include other companies, including Valeant. On September 28, 2015, Bloomberg

 reported that Valeant was the subject of a letter by all Democratic members of the U.S. House of

 Representatives Committee on Oversight and Government Reform (“House Oversight

 Committee”) sent to Chairman Jason Chaffetz urging the investigation of Valeant and its price

 gouging practices. In particular, these Congressmen highlighted Valeant’s price increases of two

 drugs:

            [I]n February, Valeant purchased the rights to sell Nitropress, which is used to
            treat congestive heart failure and hypertensive episodes, and Isuprel, which is
            used to treat heart block and abnormal heart rhythm. The same day, Valeant
            increased the prices of these drugs to $805.61 and $1,346.62, respectively


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            (increases of 212% and 525%). When asked about its price increases, a Valeant
            spokeswoman responded: “Our duty is to our shareholders and to maximize the
            value” of the drugs.

            235.   The September 28, 2015 letter also revealed that on July 31, 2015, staff members

 from the House Oversight Committee participated in a call in which Valeant representatives

 “failed to adequately answer our questions about the basis for their skyrocketing prices.” On

 August 12, 2015, “Ranking Member Cummings sent [a] document request to Valeant” and on

 September 3, 2015, “Valeant rejected Ranking Member Cummings’ request in a dismissive two-

 page letter that refused to provide any of the requested documents.”

            236.   On the same day, The Washington Post disclosed that Senator McCaskill “sent a

 detailed list of 22 questions to [Valeant], probing its simple explanation that it increased two

 heart drug prices because they were ‘significantly underpriced.’” Indeed, the media reported that

 Valeant was “in [the] crosshairs of [the] U.S. Congress” for its practice of “engag[ing] in a

 business strategy of buying old neglected drugs and turning them into high-price specialty

 drugs,” noting that Valeant was using the same business model as Turing.8

            237.   Not only were media scrutinizing Valeant, but investors were, as well. On

 September 28, 2015, Citron published a report revealing that Valeant had more than doubled the

 price of 30 drugs during the Relevant Period. Moreover, Citron observed, “Martin Shkreli was

 created by the system. Shkreli is merely a rogue trying to play the gambit that Valeant has

 perfected.” The report also highlighted that “Valeant has made little to no effort to improve

 these products.”

            238.   In response to these developments, Valeant issued a press release on September

 28, 2015, disclosing that Pearson had distributed a letter to its employees in an attempt to address


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     Turing’s CEO, former hedge fund manager Martin Shkreli, resigned three months later
 following his indictment by federal authorities on securities fraud charges.


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 concerns that Valeant’s “business model and strategy is dependent upon large price increases in

 our U.S. pharmaceutical business” and “[c]oncern around our exposure to U.S. government drug

 price reimbursement.”

            239.   Yet the letter did little to calm the public’s concerns. On October 4, 2015, The

 New York Times published an article that questioned Pearson’s employee letter. The New York

 Times article called into doubt, among other things, Pearson’s claim that Valeant was well-

 positioned for growth even without price increases. The article provided insight into Valeant’s

 dependency on price gouging compared to its industry peers, citing a Deutsche Bank analysis

 finding that in 2015, “Valeant raised prices on its brand-name drugs an average of 66 percent ...

 about five times as much as its closest industry peers.” The article also cited examples of drugs

 that Valeant had dramatically raised prices on, including clotting agent Mephyton, which Valeant

 raised the price on eight times since July 2014, from $9.37 to $58.76 per tablet, and diabetes

 drug Glumetza, which Valeant had acquired from Salix whose price Valeant raised by 800%

 during the year, with a month’s supply rising from approximately $500 to $4,600.

            240.   Publicity over price gouging was not Valeant’s only worry. During the same

 period, on October 14, 2015, Valeant issued a press release disclosing that the Company had

 recently received subpoenas from prosecutors in the U.S. Attorneys’ Offices for the District of

 Massachusetts and the Southern District of New York, which related not only to the Company’s

 drug pricing practices, but also to the Company’s patient assistance programs and distribution

 practices, which reduced patients’ copays for the high-priced drugs and potentially circumvented

 rules that reduced over-prescription of these drugs.

            241.   Following disclosure of the subpoenas, Pearson assured investors that the

 Company believes in “maintaining strong regulatory and financial controls and believe[s] we




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 have operated our business in a fully compliant manner.” The Company further stated that it had

 “responded to a letter from Senator Claire McCaskill” regarding the pricing of Nitropress and

 Isuprel and the “reimbursement process for hospital procedures involving Nitropress and Isuprel,

 [as well as] the analysis and reasons underlying Valeant’s pricing decisions.” The Company

 noted it was ‘‘beginning outreach to hospitals where the impact of a price change was

 significantly greater than average.”

            242.   But on October 15, 2015, news outlets reported that Senator McCaskill

 condemned Valeant’s response to her letter, stating: “It appears obvious to me that Valeant has

 been anything but responsive or transparent - it refused to take any action until served with

 federal subpoenas, and is still refusing to provide answers to many of the questions I’ve asked.”

            B.     VALEANT’S SECRET RELATIONSHIP WITH PHILIDOR

            243.   On October 19, 2015, Valeant’s control over a secret network of pharmacies

 began to come to light. Early that morning, Bill Ackman, CEO of Pershing Square and a

 Director of Valeant, sent an email to Laurie Little, Valeant’s Senior Vice President, Investor

 Relations, and Pearson regarding a Southern Investigating Reporting Foundation (“SIRF”) report

 on Valeant, which described the connection between Valeant and Philidor. Little responded,

 “We knew it was coming and will address on today’s call.”

            244.   On the same day, Valeant issued a press release announcing its 3Ql5 financial

 results and hosted a conference call with a presentation by Pearson, Rosiello, and Kellen.

 Pearson sought to address ‘‘the turmoil over the past few weeks from both governmental and

 media scrutiny.” The Company made limited disclosures, such as confirming its relationship

 with Philidor, the option to acquire Philidor, and that it had been consolidating Philidor’s

 financial results with its own. Valeant also effectively conceded its business strategy was neither




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 sustainable nor less risky by disclosing it would rely less on acquisitions and more on R&D (by

 announcing that it would double its R&D spending from $56 million in 1Q15 to $102 million in

 3Q15). Pearson added that Valeant would be “making pricing a smaller part of our growth

 looking forward” and “will pursue fewer, if any, transactions that are focused on mispriced

 products.’’

            245.   During this call, Pearson also disclosed the outsized role that price played in

 Valeant’s growth, in contrast to his earlier statements about “organic growth,” implying that

 volume had driven Valeant’s profits.           Pearson noted that price of drugs accounted for

 approximately 60% of growth in 2014 and 2015. Those years saw Valeant grow by 20% and

 41%, respectively, with the contribution of increased prices outweighing the contribution of

 volume growth 20% to 12% in 2014, and 24% to 15% in 2015. The slide presentation stated that

 85 of Valeant’s 156 U.S.-branded Pharma products had an average price increase of 36%. With

 respect to the ‘‘Neuro and Other” portfolio, the presentation further provided that the year to date

 volume had declined by 7% but the net realized price had increased by 30%. Pearson repeated

 during the call that the Company was “seriously considering spinning off or selling” the ‘‘Neuro

 and Other portfolio, which is dependent on price,” and that “internal R&D will become more of a

 focus.”

            246.   Pearson refused to discuss the subpoenas from federal prosecutors, stating “[w]e

 will not be answering questions.” Regarding the government inquiries on price gouging, Pearson

 stated:

            As you all know, Valeant has responded to Senator McCaskill, and addressed her
            questions regarding Nitropress and Isuprel. In a letter to her last Wednesday, we
            discussed ... , the analysis and reasons underlying Valeant’s pricing decision, and
            Valeant’s programs designed to improve patient access, among other topics. We
            also noted that we are beginning an outreach to hospitals where the impact of a
            price change was significantly greater than average.



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             247.   When asked what percentage of U.S.-branded prescription business flowed

  through “alternative fulfillment” and “how much of that is Philidor’’ Pearson stated:

             Sure. It’s really primarily our dermatology brands and then some of our specialty
             products like Ruconest, Arestin, and some of the other orphan drugs. For certain
             products it’s quite large. For Jublia it’s probably 15%. For a lot of other
             dermatologies it’s much less. I’m sorry, I can’t- it’s significant but it’s - I don’t
             know the precise number but it’s certainly, of our US portfolio, 10%, 20%,
             maybe. Tanya’s nodding[;] probably closer to 10%.

             248.   After the market closed on October 19, 2015, The New York Times reported

  further revelations into Valeant and its use of Philidor in an article entitled “Drug Makers

  Sidestep Barriers on Pricing.” The article discussed how Philidor’s application for a license in

  California had been rejected because it had concealed its owners. The article reported that

  Valeant used Philidor to “keep the health system paying for high-priced drugs” and to keep

  prices high for its dermatology products. The article quoted a Florida dermatologist as stating

  that Valeant’s program was designed to buffer physicians and insurers from complaints about

  high prices. Discussing Philidor, the article stated, in part:

             Valeant had said little about Philidor until Monday, when J. Michael Pearson,
             Valeant’s chief executive, revealed on his company’s quarterly earnings call that
             Valeant had purchased an option to acquire Philidor late last year. He said that
             Valeant consolidated Philidor’s results in its own financial reports.

                                                      ***
             Specialty pharmacies are most known for providing patients with assistance with
             complex drugs, many of them requiring refrigeration and injections, for diseases
             like cancer, multiple sclerosis and rare genetic disorders. But the drugs dispensed
             through the specialty pharmacies used by ... Valeant are for common ailments like
             arthritis pain, acne, and toenail fungus. What was started as administering
             complex, costly drugs has been co-opted as a sales/marketing tool to drive the
             growth of minor differentiation standard retail drugs.

             249.   The early negative publicity into Valeant’s deceptive practices culminated in a

  bombshell report from Citron on October 21, 2015.                Citron’s report questioned Valeant’s

  accounting and prior disclosures, asking, “Valeant: Could this be the Pharmaceutical Enron?”



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  The reported wondered, “Why would Valeant, a major big cap pharma, a darling of the hedge

  fund crowd... be secretly maneuvering to buy a little known pharmacy [Philidor] with a dubious

  ownership structure,” and inquired as to why this entity was “NEVER disclosed in any prior

  company disclosure?” The Citron report asserted that Valeant was using a network of mail-order

  pharmacies under its control to prop up sales and keep patients and their insurance companies

  from switching to less costly generics. Citron also questioned whether Valeant’s revenues were

  inflated through Philidor.

             250.   The Citron report linked Philidor to other pharmacies through shared phone

  numbers, identical privacy notices, a shared facsimile number, and shared websites. Citron

  claimed “that Valeant/Philidor have created an entire network of phantom captive pharmacies,”

  which included West Wilshire, SafeRx and Orbit Pharmacy. The report also provided investors

  with details of the R&O lawsuit, noting that Valeant resembled a “house of cards” and could be

  “Enron part Deux.”

             251.   Upon publication of this report, Valeant suffered a rapid decline in its stock price

  and had to have trading halted. When trading resumed, Valeant shares plummeted nearly 40%,

  resulting in another trading suspension.

             252.   In response, Philidor issued a press release on October 21, 2015, disclosing that it

  had a contractual relationship with “affiliated pharmacies,” including R&O, and that Philidor

  “does not currently have a direct equity ownership in R&O Pharmacy or the affiliated

  pharmacies, but does have a contractual right to acquire the pharmacies now or in the future

  subject to regulatory approval.”

             253.   Following Citron’s report, other analysts also began to downgrade Valeant. For

  example, on the following day, October 22, 2015, BMO Capital Markets Corp. (“BMO’’) stated




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  that it “cannot defend the specialty Pharmacy structure” Valeant was using and downgraded the

  shares to “market perform.” The BMO report further stated: “We’ve been strong, vocal Valeant

  bulls,” but ‘‘we find Valeant’s arrangements with specialty pharmacy Philidor as not just

  aggressive, but questionable.”

             254.   The same day, a Bloomberg article titled, “Valeant Still Has Explaining to Do,

  Citron Research’s [Andrew] Left Says,” reported on Valeant’s option to buy Philidor and noted

  it was “a relationship other [drug] companies don’t appear to have” with pharmacies. The article

  noted that when manufacturers previously owned PBMs in the 1990s they were all spun off

  because these arrangements were “perceived” to be conflicts of interest.

             255.   Revelations of Valeant’s improper practices continued as Philidor employees

  came forward disclosing the improper business practices employed by Philidor. On October 25,

  2015, The Wall Street Journal reported that it had interviewed former Philidor employees who

  revealed that Valeant employees worked directly at Philidor and were using fictitious names to

  “conceal the ties so it didn’t appear Valeant was using the pharmacy to steer patients to the drug

  company’s products ....” A former employee interviewed by The Wall Street Journal noted that

  the Valeant employees’ “real identities were well known to the other Philidor employees.”

             256.   That night, Ackman expressed his concern to Valeant executives by forwarding a

  media article to Pearson, Schiller, Rosiello, Ingram, and Little, which found to be unsatisfying

  Pearson’s explanation that Valeant concealed its relationship with Philidor as a competitive

  advantage. The article noted that “[w]hile Valeant may argue it didn’t think the consolidation of

  Philidor was material, the market’s reaction shows investors think otherwise. And since

  materiality is a qualitative, not a quantitative, concept the company shouldn’t try to stonewall

  ....” Ackman suggested that Pearson as the CEO and Ingram as a representative of the Board lead




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  Valeant to admit that “some mistakes were made.” As an example, Ackman wrote “is it a

  mistake not to disclose Philador [sic]? In retrospect, it certainly appears to have been a mistake

  as the lack of disclosure made the company a potential target for a short attack which implied the

  company was hiding something.” He added that “the lack of disclosure on Philidor was a big

  surprise and raised concerns among shareholders.” Ackman suggested that they “explain whether

  or not the board, audit committee, auditors understood and agreed with the accounting, strategy,

  and disclosure of this business,” adding that “Investors fear fraud.”

             257.   On October 26, 2015, the Company filed its 3Q15 10-Q which included further

  disclosures related to Philidor, including that the Company now had the “power to direct

  Philidor’s activities.” The 3Ql5 10-Q also revealed that Valeant established a special “ad hoc”

  committee of the Board of Directors to investigate Valeant’s relationship with Philidor to be led

  by Ingram, the Company’s lead outside director, and to include Provencio, chairman of the Audit

  and Risk Committee, Colleen Goggins, and Mason Morfit, the President of ValueAct Capital

  (one of Valeant’s largest shareholders), who had been added to the Valeant Board that morning

  and immediately placed on the ad hoc committee (the “Ad Hoc Committee”).

             258.   As discussed above, on October 26, 2015, the Company hosted a conference call

  which included a presentation that stated, among other things:

                   That “44% of Jublia revenue flowed through Philidor in Q3 2015”;

                   That ‘‘we maintain regular communication, have a joint steering
                    committee, have rights (and have utilized them) to approve key positions
                    (e.g., in-house lawyer, chief compliance officer), included Philidor in
                    Valeant’s SOX 404 Internal Control Testing and Internal Audit program
                    for 2015”;

                   That “Valeant [has] contractual rights [to Philidor] including: Joint
                    Steering Committee, Right to require hires for certain positions,
                    Substantial information rights, Covenants respecting Philidor’s
                    compliance with all applicable laws”; and


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                   In a section addressing Valeant’s “Management Rights” over Philidor, that
                    “Valeant has the right (but not the obligation) to appoint or cause Philidor
                    to hire: Advisor to the CEO, Head Compliance Officer, In-House lawyer,
                    Head IT officer, Other employees as reasonably requested.”

             259.   On the conference call, Rosiello disclosed Philidor’s status as a VIE, and stated:

  “Philidor was considered a VIE prior to the purchase option agreement, but since Valeant was

  not determined to be the primary beneficiary, consolidation was not appropriate. A purchase

  option agreement for Philidor was executed in December 2014.” Moreover, Carro admitted that

  “Valeant reviews the financials of the Philidor network pharmacies on a regular basis.” Shortly

  after the call, Bloomberg reported that the remarks on the call “left investors skeptical, failing to

  answer critical questions on Valeant’s continuing relationship with Philidor, according to

  analysts.”

             C.     VALEANT’S SHUTDOWN        OF   PHILIDOR   AND   ADDITIONAL ATTEMPTS     AT     CRISIS
                    MANAGEMENT

             260.   As a reflection of these continued concerns, on October 27, 2015, Bill Ackman,

  CEO of Pershing Square and a Director of Valeant, told Pearson and Schiller via e-mail, “I don’t

  think you are handling this correctly and the company is at risk of getting into a death spiral as a

  result.”

             261.   In another email that same day, Ackman reacted to The New York Times article by

  Joe Nocera on whether Valeant was the ‘‘Next Enron?” which stated that “Valeant . . . is a sleazy

  company.” Addressing Ingram, Pearson, Schiller, Morfit, and Little, Ackman said, “when one of

  the most credible journalists in the world accuses you of being the next Enron, time is short.” He

  warned that “[y]our reputation and that of the rest of the board along with the company is at

  grave risk of being destroyed on a permanent basis.” Ackman criticized Pearson for ending the

  last conference call abruptly, and said: “When Mike said that you were running out of time on



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  the call, he was right in that the company is running out of time to save itself.            When

  shareholders hear that management doesn’t have time to address their concerns, they assume the

  worst.     There is no amount of time that should [be] spared addressing shareholders [sic]

  concerns.” Ackman noted that it took a “short seller to bring Philador [sic] to light and that has

  destroyed managements [sic] compact with shareholders.” Ackman further advised, “I strongly

  recommend you immediately hold a conference call to address every remaining question from

  shareholders” of “unlimited duration.” Ackman pleaded with the executives to “answer the

  questions honestly no matter how embarrassing the answers are and no matter what the legal

  implications are.” Ackman noted the business and regulatory risks, including, “Valeant has

  become toxic. Doctors will stop prescribing your products” and “Regulators around the world

  will start investigating and competing to find problems with every element of your business.”

  Ackman further encouraged candor by cautioning, “The only people that need scripts and limited

  questions are crooks. Joe Nocera is right. You look like Enron.” Ackman added, “You should

  assume that the truth will come out eventually so there is zero downside to having it out now”

  and “If mistakes have been made, admit them immediately and apologize.” Ackman closed

  the email by stating: “You have previously made the mistake of waiting while Rome was

  burning. There is now a conflagration. It takes no time to prepare for a conference call to

  tell the truth. The time to do it is today. We are on the brink of tragedy. Please do the

  right thing.” Afterwards, Ackman continued to have these concerns, expressing his

  disappointment to Pearson in an October 29, 2015 e-mail that Pearson “ha[s] not been willing to

  do an open line q&a with all . . . shareholders, and as a result, certain important questions remain

  unanswered.” Ackman also reportedly told Ingram, “What the company needs now is a

  reputational recovery, someone who can deal with the press and testify before Congress, and




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  that’s not Mike’s strength.”

             262.   Pearson did not follow Ackman’s advice. And despite his efforts to contain the

  fallout, additional facts emerged. After the market closed on October 28, 2015, Bloomberg

  reported that an internal Philidor training manual showed that Philidor relied on “back door”

  tactics to boost payments and “instructed employees to submit claims under different pharmacy

  identification numbers if an insurer rejected Philidor’s claim- to essentially shop around for one

  that would be accepted.”

             263.   On October 29, 2015, Bloomberg Businessweek reported additional accounts by

  former Philidor employees of the improper tactics by Philidor, some of which were formally

  documented. The article reported that, in order “to fill more prescriptions with Valeant products

  instead of generics”:

                   “[w]orkers at ... Philidor ... were given written instructions to change
                    codes on prescriptions in some cases so it would appear that physicians
                    required or patients desired Valeant’s brand-name drugs -not less
                    expensive generic versions - be dispensed, the former employees said”;

                   that “[a]n undated Philidor document obtained by Bloomberg provides a
                    step-by-step guide on how to proceed when a prescription for Valeant
                    dermatological creams and gels ... is rejected”; and

                   that an October 2014 employee manual noted that “[w]e have a couple of
                    different ‘back door’ approaches to receive payment from the insurance
                    company.”

             264.   Later that day, while the market was still open, reports disclosed that CVS

  Caremark (one of the three largest PBMs in the United States) terminated its relationship with

  Philidor, citing “noncompliance” with its provider agreement after an audit of Philidor’s

  practices.

             265.   On October 29, 2015, Express Scripts and United Health’s OptumRx, the other

  two largest PBMs, similarly announced that they had terminated their relationships with Philidor.



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  Thus, in the same day, the three largest PBMs in the country announced they would no longer

  pay for medication dispensed by Philidor.

             266.   In light of the revelation of Philidor and the secret pharmacy network, on that day,

  Valeant announced it would cut all ties with Philidor. The following day, October 30, 2015,

  shortly after underscoring the purported benefits and independence of Philidor, Valeant

  announced that Philidor would be shutting down as soon as possible. Pearson stated that Valeant

  had “lost confidence in Philidor’s ability to continue to operate in a manner that is acceptable.”

             267.   Just a few days later, on November 4, 2015, the U.S. Senate reportedly formally

  launched a probe into Valeant’s price increases for three drugs. On the same day, Bloomberg

  reported further information regarding the financial impact of closing Philidor, disclosing that,

  just weeks earlier, Valeant was planning to expand its use of the specialty pharmacy. Also on

  that day, The Wall Street Journal reported that Ackman told Valeant’s lead director, Ingram, that

  Pearson might need to leave Valeant and that Ackman was considering liquidating his hedge

  fund’s entire $3.8 billion investment in the Company. The Wall Street Journal article further

  noted that Ackman had pushed Valeant to hold a conference call to “come clean” and disclose

  the full extent of executives’ knowledge regarding Philidor, and that he was disappointed the

  Company did not comply.

             268.   On November 10, 2015, the Company finally addressed investor concerns through

  a conference call to ‘‘update [the market] on our strategy with respect to specialty pharmacies, to

  explain our transition plans for Philidor, to discuss our business performance for the first half of

  the quarter, and perhaps most importantly to take questions from all of you.” Pearson, Rosiello,

  Carro, and Kellen participated on Valeant’s behalf. Pearson stated that, “As of last week,

  Philidor has stopped adjudicating claims.... Philidor has committed to cease operations by




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  January 30, 2016 at the latest.”

             269.   Pearson also began to disclose the negative financial impact resulting from the

  closing of Philidor and the government inquiries into its practices:

             In the very short term, disruption in our dermatology business will be significant.
             Last week, we asked Philidor to stop adjudicating claims and to fill all
             prescriptions at no cost for the week.

             Turning to Neuro, we are also seeing some short-term pressure in our Neuro
             business, in particular with respect to Nitropress and lsupre1, given all the
             publicity around those two drugs. We’re working with our large customers and
             providing direct discounts to protect volume.

             270.   As further fallout from the negative publicity and from the closure of Philidor,

  Pearson suggested that Valeant would have to withdraw and lower guidance that it had raised

  less than a month before on October 19, 2015:

             Turning to guidance. In terms of guidance, we are working to quantify the
             potential short-term impact of recent events, including the termination of our
             relationship with Philidor. Specifically, the downsides in Q4 will be primarily in
             dermatology and to a lesser extent, neurology RX. Obviously, what has happened
             will impact Q4. We are working to quantify the impact on Q4 and 2016 and we
             will provide you with updated guidance at our investor day in December.

             271.   During the call, Pearson was asked about the impact the Company would see in

  2015 in the dermatology division and responded:

             So, again, based on the data we have, we’ve not seen volume declines. It’s
             largely the value of the average selling price for a script. Now, I would not be
             shocked to see some volume declines over the next few weeks.

             In fact, I would expect that. But I don’t think they’re going to be hugely material.
             The onus is on us to get some sort of a Plan B in place, and we are quite confident
             that we’ll be able to get that done quite quickly.

             272.   In response to an analyst question regarding pricing scrutiny, Pearson stated, “if

  we’re viewed as aggressive, we’re going to have to listen to that.” Pearson acknowledged ‘‘the

  past few weeks have been a painful learning experience for me personally” and that “[t]he other

  things I’m dedicated to doing going forward is listening more to our patients, our partners, and


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  our critics.”

             273.   Valeant’s call served only to raise additional investor concerns. On November

  11, 2015, Bloomberg reported that Valeant creditors were “spooked by [the] possibility of [a]

  revenue squeeze” and that concern was “growing that disruption to Valeant’s cash flow could

  heighten the risk of the company violating lender limits on its debt burden.” According to one

  creditor, “The Big question is: What is the true cash-flow generation nature of the company?

  Will it be materially different?” The report noted that Valeant’s dermatology and neurology

  business accounted for 24 percent of company revenue, which Pearson stated would be

  “significantly” disrupted. The next day, November 12, 2015, Bloomberg released another article

  regarding Valeant’s relationship with Philidor and media reports recounted how numerous

  analysts had lowered their price targets for the Company.

             274.   The media also reported new Congressional inquiries into Valeant’s practices. On

  November 16, 2015, Bloomberg reported that U.S. Representative Elijah Cummings wrote

  Pearson, requesting that Pearson make Tanner, Patel, and Alison Pritchett available for

  interviews based on allegations ‘‘that a group of Valeant employees helped launch Philidor’s

  business in 2013 and have remained involved in its daily operations.” Representative Cummings

  also asked for contact information for Kornwasser, who recently left the Company. Later that

  day, The Washington Post published an article entitled “House Committee to hold hearing on

  prescription drug pricing.” The article reported that the House Oversight Committee would hold

  a formal hearing in early 2016 focusing on prescription drug pricing, the Committee had reached

  out to Valeant to gather information, and Committee members were calling for Valeant’s

  executives to testify at the hearing.




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             275.   Furthermore, the public was still paying attention to the Philidor story.    On

  November 17, 2015, Deutsche Bank published a report detailing a survey it commissioned of 25

  dermatologists in light of the disclosures relating to Philidor. The vast majority of them noted

  that they were prescribing fewer Valeant products and expected to write fewer prescriptions in

  the future. One added, “Did not know clearly about the Philidor-Valeant relationships.

  Somewhat misleading and dishonest.” Another more bluntly stated that Valeant had “[v]ery

  shady business practices.”

             D.     FURTHER DISCLOSURES OF THE FINANCIAL IMPACT OF THE FRAUD

             276.   On December 15, 2015, Valeant issued a press release announcing that it had

  entered into a deal with Walgreens to distribute its products which included 10% price reductions

  for its branded prescription-based dermatological and ophthalmological products.

             277.   On December 16, 2015, Valeant issued a press release formally withdrawing the

  inflated guidance it issued on October 19, 2015. Valeant issued new fourth quarter revenue

  guidance of $2.7 - $2.8 billion (a reduction of approximately $600 million and 17% from $3.25 -

  $3.45 billion) and new fourth quarter Cash EPS guidance of $2.55 - $2.65 (a reduction of

  approximately $1.50 and 37% from $4.00 - $4.20). Valeant also issued new 2015 full year

  revenue guidance of$10.4- $10.5 billion (a reduction of approximately $700 million and 16%

  from $11.0 - $11.2 billion) and new 2015 Cash EPS guidance of$ 10.23 - $10.33 (an

  approximately $1.50, or 13% decline from $11.67- $11.87). Finally, Defendants issued new

  2016 EBITDA guidance of $6.9 - $7.1 billion (a reduction of approximately $500 million and

  7% from $7.5 billion).

             278.   On December 16, 2015, an analyst for Piper Jaffray reported that Valeant was not

  “well positioned for significant [price/earnings] recovery anytime soon given the credibility gap




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  associated with senior management.” The next day, Mizuho Securities USA (“Mizuho”) cut its

  rating on Valeant stock to ‘‘neutral” from ‘‘buy” pointing to a lack of clarity regarding Valeant’s

  agreement with Walgreens and stating that Valeant management had “not done a good job in

  articulating the details” and that “[w]e still don’t understand how this partnership will improve

  filled prescriptions if payer restrictions persist.”

             279.   On December 28, 2015, Valeant announced that Pearson had left the Company,

  effective immediately, on a medical leave of absence. To fill the gap, Valeant created an “Office

  of the CEO,” which included Robert Chai-Onn, Kellen, and Rosiello to serve in an interim

  capacity. The Board also formed a committee to “oversee and support” the Office of the CEO,

  which included Ingram, Morfit, and Schiller.

             280.   On January 6, 2016, Valeant announced that Schiller would serve as the

  Company’s interim CEO while Pearson remained on medical leave and that Ingram would serve

  as the interim Chairman of the Board of Directors.

             281.   On January 22, 2016, but undisclosed to investors, Valeant entered into a

  termination agreement with Philidor that was effective as of November 1, 2015. Schiller signed

  on behalf of Valeant and Rosiello signed on behalf of KGA. The agreement included a

  retroactive mutual release dated November 1, 2015.

             282.   On February 19, 2016, a Wells Fargo report by analyst David Maris (“Maris”)

  providing a detailed analysis of Valeant drew significant media attention. The media noted that

  Maris had identified inconsistencies with regard to Defendants’ disclosures concerning Philidor’s

  impact on the business. Specifically, Maris found that Valeant initially claimed that Philidor

  accounted for 7% of sales, yet lowered 4Q15 revenue guidance by 17%-19% (from $3.25-$3.45

  to $2.7-$2.8 billion) and EPS guidance by nearly 37% (from $4.00-$4.20 to $2.55-$2.65). The




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  analyst commented that “Valeant has not explained how the unwinding of a business that

  represents only approximately 7% of total revenue, and is, according to Valeant, less profitable

  than traditional prescriptions, results in a 36.6% reduction in EPS.”         Maris added that at

  approximately 7% of revenue, Philidor would have represented approximately $227.8 million in

  revenue for 4Q15, yet guidance was lowered by $526.5 million. The analyst concluded that ‘‘the

  new guidance is not compatible with the data presented by Valeant” and “the reduction in

  guidance does not match the impact, as described by Valeant.”

             283.   Second, according to media reports, Maris commented on the Company’s

  management, stating “we believe investors are likely questioning the judgment and decision

  making of [the] management team and board,” adding that “corporate cultures ... are difficult to

  change without management and board changes.” Maris noted that ‘‘the slide in Valeant’s

  shares is directly related to decisions that the board and management have made” including ‘‘the

  board review and approval of a relationship with Philidor, which later caused a significant

  decline in shareholder value and corporate reputation.”

             284.   Third, according to media reports, Maris discussed the reduced financial outlook

  for Valeant. Maris noted that “management has said that it is not planning to complete any

  acquisitions in 2016, nor is it planning to raise prices excessively” and concluded that ‘‘this will

  pose significant risk for a company that was dependent on both.” The Wells Fargo analyst

  commented that ‘‘the model of cutting R&D and spending, and dramatically raising prices, in

  pursuit of higher and higher EPS to fuel a roll-up strategy built on earnings accretion for deals is

  shortsighted, as often the cuts undermine the longer- term prospects of the business.”

             285.   Fourth, according to media reports, Maris identified how Valeant’s accounting

  was misaligned with Valeant’s purported performance. The analyst said ‘‘receivables growth has




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  outstripped sales growth over the past several years.” Maris noted that a screening tool it uses

  ‘‘to predict the likelihood of accounting misstatements, puts Valeant in the ‘substantial risk’

  category,” adding that when ‘‘receivables are increasing faster than revenue, it can often indicate

  that customers are hesitant to pay for products” and “[a]n alternative explanation for a dramatic

  rise in receivables is a company’s improperly timed recognition of revenue.” Maris stated that

  “gross-to-net revenue adjustments” in 2012 were 19.1% of gross revenues but had steadily

  increased to 41.1% of gross revenues by 3Q15, and that “Valeant suggests the reason for the

  increasing provision is growing returns, rebates, and co-pay assistance programs related to select

  dermatology products ....”

             E.     VALEANT’S FRAUDULENT ACCOUNTING

             286.   Following up on Maris’s warnings, on February 22, 2016, Market Watch reported

  that Valeant “likely needs to restate some of its previous financial results based on the findings

  of an internal investigation into its business, according to people familiar with the matter.”

  Market Watch noted that the “potential revisions concern revenue that Valeant booked when its

  drugs were shipped to a distributor” and involved “late 2014 and early 2015.”

             287.   That evening, Valeant issued a release confirming the financial restatement. In the

  release, Valeant admitted that ‘‘the Company has preliminarily identified certain sales to Philidor

  during 2014, prior to Valeant’s entry into an option to acquire Philidor, that should have been

  recognized when product was dispensed to patients rather than on delivery to Philidor.” This

  statement runs contrary to Defendants’ earlier statements in October 2015 that Valeant was not

  inflating revenues through Philidor. The release stated that the “Company currently believes that

  approximately $58 million of net revenues previously recognized in the second half of 2014

  should not have been recognized upon delivery of product to Philidor,” and “[c]orrecting the




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  misstatements is expected to reduce reported 2014 GAAP EPS by approximately $0.10.”

             288.   Valeant also revealed internal control problems, stating that the Company would

  “delay filing its 2015 10-K pending completion of the review of related accounting matters by

  the Ad Hoc Committee ...and the Company’s ongoing assessment of the impact on financial

  reporting and internal controls.” Schiller assured investors that the Company was “committed to

  improving reporting procedures, internal controls and transparency for our investors” and “[w]e

  have made mistakes in the past and our focus today is on executing our business plan and

  rebuilding trust.”

             289.   On February 28, 2016, Valeant issued a press release announcing that Pearson

  was returning from his medical leave but that the Company was separating the role of CEO and

  Chairman of the Board, naming Ingram as Chairman. The release further disclosed that “[i]n the

  interim, the Company is withdrawing its prior financial guidance,” adding that “[a]s previously

  announced, the Company will delay filing its 2015 10-K pending completion of the review of

  certain accounting matters by the Ad Hoc Committee” and ‘‘the Company’s ongoing assessment

  of the impact on financial reporting and internal controls.” Pearson was quoted as admitting that

  “I realize that recent events are disappointing to everyone’’ and that among his priorities would

  be “improving Valeant’s reporting procedures, internal controls and transparency.”

             290.   In the early afternoon on February 29, 2016, Bloomberg reported that although the

  scheduled call was canceled, Valeant “will hold a call for sell-side analysts later Monday that

  will include Pearson,” noting the call was not publicly announced. According to a Bloomberg

  article, on March 2, 2016, Pearson held a meeting with certain Valeant employees in the second-

  floor conference room at Valeant’s headquarters in Bridgewater, New Jersey. Pearson claimed,

  “We’re under a barrage of external government and media and everything else,” adding that




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  “Everyone is nervous. The board is nervous.” That same day, Moody’s reported that it had placed

  Valeant’s corporate credit ratings “under review for downgrade,” which it stated “reflect[ed]

  concerns that Valeant’s underlying operating performance is weaker than Moody’s previous

  expectations,” potentially impeding the Company’s deleveraging plans. Then, within hours of

  release of the Bloomberg article regarding Valeant’s non-public conference call, it was reported

  that the call was canceled as a result of “media interest.” Moreover, Valeant announced later in

  the day that it was under investigation by the SEC since 4Q15.

             291.   On March 15, 2016, Valeant reduced its financial guidance for 2016 and provided

  unaudited financial information regarding its 2015 performance. With regard to 2016 guidance,

  Valeant lowered revenue guidance to $11-$11.2 billion (a reduction of approximately $1.5

  billion and 12% from the full year 2016 $12.5-$12.7 billion guidance given on December 16,

  2015), Cash EPS guidance to $9.50-$10.50 (a reduction of approximately $3.50 and26% from

  the prior $13.25 - $13.75 guidance), and full year 2016 EBITDA guidance to $5.6-$5.8 billion

  (an approximately $1.3 billion and 19% reduction from the prior $6.9-$7.1 billion guidance).

  The Company blamed ‘‘reduced revenue assumptions for certain businesses, new managed care

  contracts, and increased investment in key functions, such as financial reporting, public and

  government relations and compliance, as well as the impact of the weak first quarter of 2016.”

             292.   The Company hosted a conference call that same day, which Pearson, Rosiello,

  and Kellen attended on its behalf. During the call, Rosiello stated that Valeant’s first quarter

  results were below guidance in part due to ‘‘realizing a slower-than-expected rebound in

  dermatology,” and Pearson added that “increases in rebates are due to more competitive pressure

  in response to our store price increases for our late life cycle products.” In a press release that

  was also issued on March 15, 2016, Valeant disclosed $51.3 million in ‘‘wind down costs” for




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  Philidor which included write-downs of fixed assets and bad debt expenses during the “wind

  down period November 1, 2015 through December 31, 2015.” Furthermore, the Company

  disclosed a “$79.0 million impairment charge related to Philidor Rx Services.”

             293.   During the conference call, Pearson explained why the guidance was being

  lowered. In particular, Pearson cited “higher-than-expected inventory reductions that transition

  from Philidor to Walgreens and the cancellation of almost all price increases.” Pearson added

  that “any future price increases will be more modest and in line with industry practices and

  managed-care contracts. We have experienced increased competitive pressure at the payer level,

  resulting in increased rebates for access for our key growth products, like Jublia ....” Pearson

  revealed that the Company had already committed to reducing pricing on certain dermatology

  products “within the Walgreens’ portfolio, on average, 10%” and that the “price reduction is on

  WAC and will impact and will be taken across all channels, not just Walgreens.”

             294.   During the March 15, 2016 conference call, an analyst noted “the fact that

  management needs to rebuild credibility with investors” and that the guidance was “lowered far

  more than any investor anticipated.” The analyst asked “how can we be confident in what you’re

  saying today about the business, given that you were positive in December and January?”

  Pearson responded, in part ‘‘we have to earn back the credibility.” In a publicly disclosed

  message to Valeant employees the next day, Pearson reiterated that “Restoring the public’s

  confidence will take time.’’

             295.   On March 21, 2016, Valeant filed a Form 8-K announcing the restatement of its

  prior financial statements. The Company disclosed that in light of the Ad Hoc Committee’s

  review of recent allegations and related matters it determined that “approximately $58 million in

  net revenues relating to sales of Philidor during the second half of 2014 should not have been




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  recognized upon delivery of product to Philidor.” Valeant therefore disclosed that the

  Company’s last four financial statements, the 2014 10-K and the 10-Qs for the first, second, and

  third quarters of2015, along with PriceWaterhouse Cooper’s audit report on the 2014 10-K,

  should no longer be relied upon.

             296.   Specifically, the Ad Hoc Committee determined that the Company’s revenue

  recognition “on a sell-in basis (i.e., recorded when the Company delivered the product to

  Philidor)” prior to the Company’s purchase option agreement with Philidor was improper.

  Instead, ‘‘revenue for certain transactions should have been recognized on a sell-through basis

  (i.e., record[ed] revenue when Philidor dispensed the products to patients) prior to entry into the

  option agreement.” As a result, the Company was no longer able to record revenues for

  shipments to Philidor and could only record revenues on shipments to the patient. The March 21,

  2016 press release further disclosed that:

             Management, in consultation with the [Ad Hoc] committee, has concluded that
             one or more material weaknesses exist in the Company’s internal control over
             financial reporting and that, as a result, internal control over financial reporting
             and disclosure controls and procedures were not effective as of December 31,
             2014 and disclosure controls and procedures were not effective as of March 31,
             2015 and the subsequent interim periods in 2015 and that internal control over
             financial reporting and disclosure controls and procedures will not be effective at
             December 31, 2015.

             297.   Significantly, the Company admitted that its “improper revenue recognition”

  related to Philidor was not innocently made, but rather was the result of the “improper conduct”

  of the Company’s former CFO and former Corporate Controller. Additionally, the Company

  specifically attributed as a “contributing factor” to its ineffective controls over financial

  reporting the unethical “tone at the top” by senior management. Specifically, Valeant’s March

  21, 2016 press release stated that:

             “The improper conduct of the company’s former chief financial officer and
             former corporate controller, which resulted in the provision of incorrect


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             information to the committee and the company’s auditors, contributed to the
             misstatement of results. In addition, as part of this assessment of internal control
             over financial reporting, the company has determined that the tone at the top of
             the organization and the performance-based environment at the company, where
             challenging targets were set and achieving those targets was a key performance
             expectation, may have been contributing factors resulting in the company’s
             improper revenue recognition.”

  The Company further stated it would begin searching for a new CEO to replace Pearson, who

  would continue to serve as CEO and as Director until his replacement was appointed.

             F.     ADDITIONAL REVELATIONS REGARDING THE FRAUD AND ITS IMPACT

             298.   In a March 22, 2016 article entitled “Bill Ackman’s Plan to Fix Valeant Is

  Doomed,” the Business Insider attempted to quantify what the financial impact would be if

  Valeant were to transition from its non-traditional approach to that of a traditional

  pharmaceutical company. The article noted that without price hikes, “Valeant would lose 10%

  of its revenue.” The analysis showed that operating margins would decrease from 24% to 7%

  and with an increase in R&D spending to 13% instead of 3% that “Valeant would be losing

  money. A lot of money.” (Emphasis in original.) The article noted that, according to an analysis

  conducted by Bloomberg, “[i]f Valeant was operating more like a traditional specialty pharma

  company, it could have had a trailing 12- month (4Q15) loss of $2.44 rather than an adjusted

  EPS of $1.53. Ebit could have dropped to $606 million from $2.5 billion ...Valeant could have

  had an adjusted net loss of $842 million instead of net income of $527 million.”

             299.   On April 9, 2016, The New York Times published an article titled “The Female

  Viagra, Undone by a Drug Maker’s Dysfunction,” which noted that “Valeant dismissed the

  entire sales force behind [Addyi]” and “doctors had prescribed the drug fewer than 4,000 times

  as of February.” Citing interviews with former employees, analysts, investors and doctors, the

  article attributed Addyi’s failure to Valeant’s pricing actions and reliance on Philidor. The

  article explained that Sprout (the maker of Addyi) had determined that Addyi should be sold at


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  $400 and “Anthem, one of the nation’s largest insurers, said it would cover the drug at the $400

  price.” However, once Valeant acquired the drug, it doubled the price to $800 causing payers to

  reconsider their coverage. Valeant also terminated Sprout’s distribution agreement with Cardinal

  Health, deciding instead to rely on Philidor.

             300.   On April 29, 2016, Valeant released its Form 10-K Annual Report for the year

  ended December 31, 2015 (“2015 10-K”) which confirmed the financial restatement and the

  Company’s material weaknesses. Additions to the 2015 10-K demonstrated the inadequacy of

  the disclosures in the Company’s prior annual and quarterly reports. For example, the 2015 10-

  K revealed that while the Company historically depended on acquisitions, that the volume and

  size of acquisitions in 2016 and beyond was expected to be minimal and this “could have a

  material adverse effect on our business, financial condition, cash flows and results of operations

  and could cause the market value of our common shares and/or debt securities to decline.”

             301.   In an attempt to rebuild its image, on May 3, 2016, Valeant announced the

  appointment of Joseph C. Papa as its CEO and Chairman of the Board, reuniting the roles it

  recently separated. Three weeks later, on May 23, 2016, Papa spoke publicly at the UBS Global

  Healthcare Conference. While answering questions from investors and analysts, Papa described

  Valeant as “a great turnaround opportunity” and discussed a number of the challenges he

  inherited. Papa acknowledged that with Philidor “clearly we had some question marks” and that

  ‘‘there were some pricing mistakes that were made” and “some transparency things that [could

  be] improve[d] on at Valeant.” Regarding internal controls, Papa recognized ‘‘there are some

  functions that we need to put some additional [] controls [on]” and “there is some investment that

  needs to happen in areas . . . where [Valeant] just need[s] to bring some additional financial

  capabilities.”    To that end, Papa disclosed that the Company “just recently hired a new




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  Controller.”

             302.   However, the change in management could not immediately alter Valeant’s

  prospects. On June 7, 2016, Valeant made additional disclosures regarding the financial impact

  of shutting down its captive pharmacy network, shedding light on the extent to which the

  Company’s performance had depended on its price gouging and related deceptive practices.

  That day, Valeant filed its first quarter 2016 10-Q (“1Q16 10-Q”), issued a press release, and

  hosted a conference call regarding the Company’s long-awaited first quarter 2016 (“1Q16”)

  financial results, which had been delayed by several months. Valeant disclosed a GAAP loss per

  share of ($1.08) for 1Q16 and significantly lowered its 2016 guidance again to total revenue of

  $9.9-$10.1 billion (down from $11-$11.2 billion), adjusted EPS (non-GAAP) of $6.60-$7.00

  (down from $8.50-$9.50), and adjusted EBITDA (non-GAAP) of $4.80-$4.95 billion (down

  from $5.6-$5.8 billion). During the conference call that day, Rosiello stated that “[t]he base

  business in Q1 declined by $289 million, driven by dermatology . . . and the transition to

  Walgreens....”

             303.   Further revealing the detrimental effect that the loss of Philidor was having on

  Valeant’s pricing, volume, and drug refills, Rosiello added that:

             Following the launch of the Walgreens program in January, we saw volume
             flattening and ASPs [average selling price] declining post launch. Overall
             volume challenges were exacerbated by the loss of refills following the
             shutdown at the end of January of our previous specialty pharmacy [Philidor]
             relationship, as well as the negative external narrative and some internal
             disruptions...

             304.   Papa added that the “vast majority’’ of Valeant’s “revenue shortfall in

  dermatology in our revised guidance relates to this average selling price shortfall.” During the

  question and answer portion of the call, Papa further revealed how much the Company’s drug

  pricing and profitability were suffering as a result of its cessation of price gouging and deceptive



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  practices and the termination of its relationship with Philidor:

             The issue is that there is a percentage of the business where the average selling
             price is significantly below what we had previously expected as we put the
             program together. And in fact, in some places that average selling price is
             negative and by that [it] means, every time a prescription goes out the door we’re
             taping dollar bills to that prescription as it goes out the door. That’s something
             that we have to get fixed.

             305.   On July 31, 2016, The New York Times published an article titled, “How Valeant

  Cashed In Twice on Higher Drug Prices,” which detailed Valeant’s use of ‘‘price appreciation

  credits” to inflate the Company’s revenues. The article explained that the credits – which come

  about when a drug company increases the cost that its wholesalers must pay for a product they

  have contracted to distribute – were “an obscure but vital source of cash to Valeant that is

  directly linked to its pricing practices.” As reported by The New York Times, “[n]ow that those

  practices are under scrutiny, the money Valeant receives from these credits is likely to decline

  substantially or disappear outright,” noting the ‘‘unique” and “outsize contributions” of the

  credits to Valeant’s cash flows. “In recent periods, they have equaled one-fifth or more of

  Valeant’s operating cash flow,” the article emphasized, based on the Company’s reported

  financials.

             306.   On August 9, 2016, Valeant issued a press release and hosted a conference call

  regarding the Company’s second quarter 2016 (“2Q16”) financial results. In the release, Valeant

  disclosed a GAAP loss per share of ($0.88) for 2Q16 and a drop in revenue of 11.4%, with the

  Company blaming the slow recovery in its dermatology division, which suffered greatly from

  Philidor’s closing. The release disclosed that Valeant’s dermatology revenue dropped 55%

  compared to 2Q15, with Solodyn and Jublia sales down 74% and 69%, respectively, year-over-

  year. The two Valeant drugs singled out by Congress at the start of its probes, the heart drugs

  Nitropress and Isuprel, experienced year-over-year revenue declines of 46% and 19%,



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  respectively. In the conference call that day, Papa stated: “I don’t want to suggest for an instant

  that there [aren’t] challenges” and that it “will take time to implement and execute our

  turnaround plan.” Additionally, the Company cited lower price appreciation credits as one of the

  reasons revenues declined 14% in Developed Markets.

             307.   Also on August 9, 2016, in an article titled, “Valeant Begins to Look Like A

  Normal Drug Company, But With Way Too Much Debt,” Forbes reported on a Wells Fargo

  analysis by its analyst Maris. Forbes noted that by Maris’ calculations, “Papa will have to

  deliver a 55% sequential increase in adjusted EPS and a 30% increase in adjusted EBITDA in the

  second half of 2016 to meet guidance” and that “Xifaxan remains off pace to hit $1 billion in

  2016 sales, a previous Valeant target.” Quoting Maris, Forbes added that: “If Papa falls short in

  coming quarters, it is likely many will see the company’s new reign as ‘just new paint on the

  same old shed’ ....”

             308.   Finally, on August 10, 2016, the Wall Street Journal reported that federal

  prosecutors at the U.S. Attorney’s office in Manhattan were considering bringing criminal mail

  and wire fraud charges against Valeant and former Philidor executives. According to sources

  with knowledge cited by The Wall Street Journal, federal prosecutors are investigating whether

  Valeant and Philidor “defrauded insurers by hiding their close relationship.” The sources added

  that prosecutors are also examining “some of Philidor’s business practices, including rebates and

  other compensation provided by the pharmacy to customers who used Valeant products, as well

  as Philidor’s efforts to seek reimbursement from insurers.” The Wall Street Journal reported

  that, based on its sources, the probe is expected to be the most serious Valeant faces.”

  VII.       VALEANT’S FINANCIAL STATEMENTS VIOLATED GAAP AND SEC RULES

             309.   Throughout the Relevant Period, Valeant’s periodic financial statements with the




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  SEC represented that Valeant’s financials were prepared in accordance with GAAP. This was

  not true. Financial statements, including interim financial statements, filed with the SEC are

  presumed to be misleading and inaccurate if they have not been prepared in conformity with

  GAAP. See Regulation S-X, 17 C.F.R. § 210.4-01(a)(1); 17 C.F.R. § 210.10-01.

  Financial Period:                                 Reported revenue overstated by:
  3 months ended Sept. 30, 2014                     $12.9 million
  3 months ended Dec. 31, 2014                      $44.6 million
  12 months ended Dec. 31, 2014                     $57.5 million
  3 months ended Mar. 31, 2015                      $20.8 million
  6 months ended June 30, 2015                      $20.8 million
  9 months ended Sept. 30, 2015                     $20.8 million

             310.   Valeant’s financial statements during the Relevant Period were materially

  misstated and violated GAAP (and certain of the Company’s critical accounting policies) in

  numerous ways, including (i) by improperly recognizing Philidor revenue, in violation of GAAP;

  (ii) by concealing Philidor as a VIE, which violated of GAAP as well as Financial Accounting

  Standards Board (“FASB”) Accounting Standards Codification Topic 810, Consolidation; (iii)

  by falsely certifying that the Company’s internal controls over financial reporting and its

  disclosure controls were effective, in violation of SOX and SEC rules, as well as the Committee

  of Sponsoring Organizations, Internal Control-Integrated Framework; (iv) by concealing

  information regarding the Company’s dependence on its relationship with Philidor and price

  increases, for its increased revenues and earnings; and (v) by reporting quantitatively and

  qualitatively false and misleading statements, according to SEC Codification of Staff Accounting

  Bulletins Topic 1-M, Materiality.

             A.     VALEANT IMPROPERLY RECOGNIZED PHILIDOR REVENUE

             311.   On March 21, 2016, Valeant confirmed that it had materially overstated Philidor




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  revenue in violation of GAAP and would be restating its financial statements for fiscal year 2014

  and the first nine months of fiscal year 2015. As a result, the Company’s 2014 10-K, and its 10-

  Qs for first, second, and third quarter of 2015 could no longer be relied upon. Valeant concluded

  that, prior to the Company’s purchase option agreement with Philidor in 4Q14, certain sales

  transactions involving Philidor were not executed in the normal course of business, and it could

  not reasonably assure that revenue would be collected at the time such revenue was recognized.

  See FASB Accounting Standards Codification Topic 605, Revenue Recognition; SEC Staff

  Accounting Bulletin No. 104 (“SAB 104”).

             312.   As detailed above, Valeant entered into a purchase option agreement with Philidor

  on December 15, 2014. Before executing the option agreement, Valeant recognized revenue on

  sales to Philidor when Valeant delivered products to Philidor, i.e., on a “sell-in” basis. After the

  option agreement was executed, Valeant was required to, but did not, recognize revenue when

  Philidor distributed the products to the end customers (patients), i.e., on a sell-through basis.

             313.   Furthermore, in 2014, leading up to the execution of the option agreement,

  Valeant improperly recognized revenue on sales transactions with Philidor that were not

  executed in Valeant’s normal course of business. As admitted in Valeant’s 2015 10-K, these

  purported sales transactions included: “fulfillment of unusually large orders with extended

  payment terms and increased pricing, an emphasis on delivering product prior to the execution of

  the purchase option agreement and seeking and filling a substitute order of equivalent value for

  an unavailable product.” Valeant recorded revenue on these fictitious sales. In addition, Valeant

  double booked revenue on these sales, recognizing revenue for a second time once Philidor sold

  the same products to end customers.




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             314.   Collectability of revenue was not reasonably assured for these fictitious sales.

  Despite that, Valeant improperly recognized the revenue prior to revenue collection. In a March

  21, 2016 press release, Valeant announced that the Company’s financial statements for the year

  ended December 31, 2014 were materially misleading and required restatement as a result of

  these improper revenue bookings.

             315.   Each Philidor-related misstatement and disclosure violation was material to

  Valeant’s financial statements during the Relevant Period. As a qualitative matter, the

  improperly recognized revenue from Philidor allowed Valeant to meet its “Cash EPS” target of

  $2.58 for 4Q2014, and exceed its Cash EPS guidance of $2.55. Proper revenue recognition

  would have caused Valeant to fall short of its guidance. In addition, the misstatements were

  qualitatively material because Valeant had repeatedly emphasized that its revenue growth came

  from U.S. organic sales, as well as increased sales in its dermatology line.

             B.     VALEANT CONCEALED PHILIDOR AS A VIE

             316.   Valeant also failed to disclose Philidor as a VIE. Pursuant to ASB Accounting

  Standards Codification Topic 810, Consolidation (“ASC 810”), a company must disclose in its

  financial statements both unconsolidated and consolidated VIEs. In its October 26, 2015 investor

  presentation, Valeant stated that it considered Philidor a VIE prior to the purchase agreement.

  Under ASC 810, Valeant was required to determine if Philidor needed to be consolidated in its

  financial statements from the time that Philidor became a VIE. The relevant test for determining

  if Philidor should have been consolidated is whether or not Valeant was the “primary

  beneficiary” of Philidor.

             317.   On October 26, 2015, Valeant claimed that it did not become the primary

  beneficiary of Philidor until after the purchase option agreement was executed in December




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  2014. Assuming that is correct, ASC 810’s guidance still required Valeant to disclose all

  material unconsolidated VIEs. Hence, before the execution of the December 15, 2014 option

  agreement, Valeant was required to disclose its unconsolidated relationship with Philidor. In

  particular, Valeant was required to disclose in its pre-December 2014 financial statements (i)

  quantitative and qualitative information about Valeant’s involvement with Philidor, including

  Philidor’s nature, size, purpose, activities, and how it was financed; and (ii) the rationales for its

  conclusion that Valeant was not the primary beneficiary of Philidor, including disclosure of key

  factors, assumptions, and significant judgments used in making the determination. See ASC

  810-10-50-5A. Valeant did not fulfill those disclosure obligations. Instead, Valeant stated in its

  2013 10-K that: “There were no material arrangements determined to be variable interest

  entities.’’

             318.   Following the execution of the purchase option agreement, Valeant concluded it

  was the primary beneficiary of the Philidor VIE and finally began to consolidate Philidor’s

  results. Because of this change, ASC 810 also required Valeant to disclose which factors caused

  it to change its reporting with respect to Philidor, and to set out the impact of the change on the

  Company’s consolidated financial statements. See ASC 810-10-50-5A. Valeant failed to disclose

  this information in its 2014 10-K. Valeant also failed to make additional VIE disclosures

  necessary to comply with the principle disclosure objective of ASC 810, i.e., to provide users of

  its financial statements with information concerning (i) significant judgments and assumptions

  made in determining whether it needs to consolidate the VIE and/or disclose information about

  its involvement with the VIE; (ii) the nature of and changes in the risks associated with its

  involvement with the VIE; and (iii) how its involvement with the VIE affects its financial

  position, financial performance, and cash flows. See ASC 810-10-50-8. However, Valeant did




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  not make any of these required disclosures related to its VIE relationship with Philidor until it

  issued its 3Q15 10-Q.

             C.     DEFENDANTS’ FALSE STATEMENTS REGARDING INTERNAL CONTROLS

             319.   Valeant has admitted that Defendants’ representations during the Relevant Period

  concerning the effectiveness of the Company’s internal and disclosure controls were false.

             320.   Valeant management was responsible for establishing and maintaining effective

  internal controls over financial reporting and disclosure controls pursuant to the Sarbanes-Oxley

  Act of 2002 (“SOX”). This requirement includes annual assessments of Valeant’s financial and

  disclosure controls and a report examining whether such controls were effective and free from

  material weaknesses. SOX requires that these assessments be made in accordance with a pre-

  determined framework, such as the “COSO Framework,” described below. See Committee of

  Sponsoring Organizations, Internal Control - Integrated Framework. During the Relevant Period,

  Valeant’s financial statements represented that management’s evaluations were based on the

  COSO Framework.

             321.   According to the COSO Framework, the control environment sets the tone for the

  entire structure of internal control and has a pervasive influence on all business activity.

  Circumstances that may indicate that a company’s control environment is ineffective include, but

  are not limited to, “[i]dentification of fraud of any magnitude on the part of senior management”

  and “[i]neffective oversight of the company’s external financial reporting and [internal controls

  over financial reporting] by the company’s audit committee.” See Exchange Act Release No.

  54976 (Dec. 20, 2006). The concept of “tone at the top” has become widely accepted within the

  accounting profession to describe the attitude and actions of a company’s senior management

  toward internal financial controls and the control environment. Indeed, the SEC Staff has




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  described the tone set by upper management-i.e., “the corporate environment or culture within

  which financial reporting occurs” - as ‘‘the most important factor contributing to the integrity of

  the financial reporting process.” See SEC Staff Accounting Bulletin No. 99.

             322.   Control deficiencies that are determined to be a material weakness9 must be

  disclosed in management’s annual report on its assessment of the effectiveness of the company’s

  internal controls over financial reporting. Management may not disclose that it has assessed its

  internal financial controls as effective if one or more control deficiencies are determined to be a

  material weakness. See Exchange Act Release No. 54976. Indicators of material weaknesses in a

  company’s internal controls over financial reporting include: (i) identification of fraud, whether

  or not material, on the part of senior management; (ii) restatement of previously issued :financial

  statements to reflect the correction of a material misstatement; (iii) identification by the auditor

  of a material misstatement of financial statements in the current period in circumstances that

  indicate that the misstatement would not have been detected by the company’s internal control

  over financial reporting; and (iv) ineffective oversight of the company’s external financial

  reporting and internal control over financial reporting by the company’s audit committee. See

  AS 5.

             323.   As detailed above, Defendants repeatedly represented during the Relevant Period

  that Valeant’s internal controls could properly prevent or detect material misstatements. This

  included the SOX Certifications included in each of the Company’s quarterly reports and annual

  reports. However, in connection with the restatement, Valeant has admitted that material



  9
      Pursuant to Public Company Accounting Oversight Board Auditing Standard No. 5 (“AS
  5”), a “material deficiency” is a “deficiency, or a combination of deficiencies, in internal
  control over financial reporting, such that there is a reasonable possibility that a material
  misstatement of the Company’s annual or interim financial statements will not be prevented
  or detected on a timely basis.”


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  weaknesses in its internal financial controls existed during the Relevant Period, and that its

  disclosure controls and procedures were not effective. Specifically, on March 21, 2016, the

  Company disclosed:

             As a result of the restatement, management is continuing to assess the Company’s
             disclosure controls and procedures and internal control over financial reporting.
             Management, in consultation with the committee, has concluded that one or more
             material weaknesses exist in the company’s internal control over financial
             reporting and that, as a result, internal control over :financial reporting and
             disclosure controls and procedures were not effective as of December 31, 2014
             and disclosure controls and procedures were not effective as of March 31, 2015
             and subsequent interim periods in 2015 and that internal control over financial
             reporting and disclosure controls and procedures will not be effective at
             December 312015.

                                                   ***

             [A]s part of this assessment of internal control over financial reporting, the
             company has determined that the tone at the top of the organization and the
             performance-based environment at the company, where challenging targets were
             set and achieving those targets was a key performance expectation, may have
             been contributing factors resulting in the company’s improper revenue
             recognition and the conduct described above.

             324.   Valeant’s 2015 10-K, filed with the SEC on April 29, 2016, confirms the

  Company’s ineffective financial controls, including the existence of two separate material

  weaknesses as of December 31, 2014 (i.e., the improper ‘‘tone at the top” and the failure to

  detect the Philidor accounting fraud).

             D.     DEFENDANTS CONCEALED VALEANT’S RELIANCE               ON   PHILIDOR   AND    PRICE
                    GOUGING

             325.   Valeant also failed to disclose its relationship with Philidor, and the Company’s

  dependence on price increases to drive its revenue and profit growth, in the Management’s

  Discussion and Analysis (“MD&A”) section of each quarterly and annual report filed during the

  Relevant Period.




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             326.   With regard to Philidor, Valeant was required to disclose, among other things, (i)

  Philidor’s impact on Valeant’s revenue growth; (ii) Philidor’s existence as a distinct sales

  channel; and (iii) that Philidor sales were unsustainable. During the Relevant Period, Valeant

  repeatedly emphasized U.S. organic sales growth and sales growth in its dermatology segment,

  as well as the role of volume increases, as opposed to price increases, on its revenue growth.

             327.   As detailed above, the Valeant pharmacy network and price increases were major

  drivers of the Company’s purported revenue and profitability growth trends during the Relevant

  Period, including U.S. organic sales growth, dermatology and neurology sales growth, and

  overall prescription volume growth. As a result, Valeant was required to disclose the impact of

  Philidor and price increases on its revenue growth trends. See SAB 104. However, Valeant

  failed to disclose Philidor in its MD&A until 3Q15.

             328.   Valeant was also required to disclose the trend of increasing sales through

  Philidor because Philidor was a separate sales channel with different characteristics than

  Valeant’s traditional sales channels. The SEC Staff provides specific examples of required

  MD&A disclosures regarding sales channels, including “[c]hanging trends in shipments into, and

  sales from, a sales channel or separate class of customer that could be expected to have a

  significant effect on future sales or sales returns.” See SAB 104, Topic 13.B. During the

  Relevant Period, Valeant disclosed “Provisions to reduce gross product sales to net product

  sales” in its financial statements. The sales provisions as a percentage of gross sales increased

  dramatically throughout the Relevant Period, including increases of 47%, 7%, and 28% in 2013,

  2014, and 3Q15, respectively. However, Defendants concealed the fact that these significant

  increases in provisions were tied to deceptive practices, such as routing patients into Valeant’s

  secret pharmacy network and the improper use of PAPs. Valeant failed to disclose Philidor as a




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  distinct sales channel and, as a result, its reported growth was not indicative of future

  performance.

             329.   As described above, Philidor also employed practices to deceive TPPs. As a

  result, Valeant’s sales, through its concealed relationship with Philidor, were unsustainable.

  When private insurers and PBMs became more aware of Philidor and its practices in late 2015,

  they immediately stopped reimbursing Philidor. Consequently, Valeant closed Philidor. The

  significant financial impact that the Philidor closing ultimately had on Valeant’s future financial

  results, including revenues and earnings, is precisely the type required to be disclosed by Valeant

  under the SEC’s MD&A rules.10

             330.   Finally, Valeant’s price gouging was another major driver of Valeant’s revenue

  and profitability growth trends requiring disclosure in the Company’s annual and quarterly

  reports. Indeed, at the April 27, 2016 Senate Hearing, Pearson testified that 1Q13 to 3Q15

  revenue growth and profitability were driven primarily by price, not volume. When asked if he

  could name a single drug that Valeant acquired where it did not raise the price, Pearson

  responded “[n]ot in the United States.” Valeant was required to disclose its dependency on and

  the impact of price increases on its reported revenues and earnings, as Item 303 explicitly

  requires reporting issuers to report details in MD&A disclosures describing changes in volume or

  price that impact reported revenues. Moreover, in SAB 104, the SEC Staff makes it clear that an

  analysis of volume and price changes affecting changes in revenue are required MD&A

  disclosures. As detailed above, Valeant’s dependency on price increases and their impact on

  Valeant’s reported revenues were concealed from investors during the Relevant Period.




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     Valeant was required to warn investors that its results were not indicative of future results
  due to the significant financial impact Valeant would suffer upon Philidor closing.


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             331.   The SEC MD&A rules require disclosure of material events that would cause

  reported financial information to not necessarily be indicative of future operating performance.

  Because of the unsustainable nature of Valeant’s deceptive practices, Valeant was required to

  disclose the practices and associated risks and that its financial performance was not indicative of

  future results. In October 2015, Valeant provided certain price and volume disclosures as part of

  its 20l5 earnings presentation. These disclosures of how price and volume impacted Valeant’s

  sales growth were not provided throughout the Relevant Period. The October 19, 2015 investor

  presentation showed that through the first nine months of 2015, volume had declined 7% while

  net realized price had increased 30% for Valeant’s neurology business.           This showed that

  without price increases, revenues for neurology would have declined. As another example,

  Valeant doubled its revenues from Wellbutrin XL from 2013 to 2015, despite declining volume,

  by repeatedly increasing the drug’s price. Valeant provided similar disclosures about price and

  volume in its 1Q16 10-Q filed on June 7, 2016. However, during the Relevant Period, in

  violation of SEC rules, Valeant failed to provide adequate disclosures showing how increases or

  decreases in price and volume impacted its revenue growth.

             E.     DEFENDANTS’ FALSE AND MISLEADING STATEMENTS WERE QUANTITATIVELY
                    AND QUALITATIVELY MATERIAL

             332.   In evaluating the materiality of financial statement items, SEC rules require that
                                                                                        11
  both “quantitative” and “qualitative” factors be considered. See SEC Topic 1-M.            SEC Topic

  1- M notes that assessing materiality solely on a quantitative basis “has no basis in the

  accounting literature or the law” and that the FASB ‘‘has long emphasized that materiality

  cannot be reduced to a numerical formula.” As alleged herein, each of Defendants’ Relevant


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      SEC Topic 1-M provides: “there are numerous circumstances in which misstatements
  below 5% could well be material. Qualitative factors may cause misstatements o f
  quantitatively s m a l l amounts to be material.”


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  Period misstatements and disclosure violations were quantitatively and/or qualitatively material

  to investors as they related to central aspects of Valeant’s business, operations, and prospects.

             333.   Valeant has restated its financial statements for the quarter and year ending

  December 31, 2014 and the first nine months of 2015 disclosing that, as originally reported, its

  financial statements should no longer be relied upon. Valeant’s financial restatement is an

  admission that the financial statements it issued to investors during the Relevant Period were

  materially false and misleading, as only materially misstated financial statements and measures

  need be corrected and reissued on a retroactive basis. As discussed above, the material impact of

  Philidor on Valeant’s revenue growth is further evident from Valeant’s closing of Philidor. For

  example, Valeant disclosed that the “Philidor separation” would negatively impact 4Q15

  financial results by approximately $250 million in revenue, $0.65 in EPS, and its dermatology

  prescriptions would decline by 20%.

             334.   Each of the Philidor-related misstatements and disclosure violations were also

  material from a qualitative perspective. First, SEC Topic 1-M provides that quantitatively small

  misstatements may be material if management has intentionally violated GAAP. Here, Valeant

  has acknowledged that an improper ‘‘tone at the top” and “improper conduct” of its Controller

  and CFO contributed to the misstatements. Second, Philidor masked Valeant’s sales trends

  throughout the Relevant Period. Philidor was a key driver of Valeant’s publicly reported, and

  highly touted, dermatology segment revenue growth rate. As detailed above, Valeant emphasized

  U.S. organic sales growth and dermatology sales growth-each of which Philidor represented a

  material portion. Third, SEC Topic 1-M states that ‘‘the demonstrated volatility of the price of a

  registrant’s securities in response to certain types of disclosures may provide guidance as to

  whether investors regard quantitatively small misstatements as material.” Here, when Valeant




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  disclosed the existence of Philidor on October 19, 2015, the price of Valeant stock plummeted

  over 17% in just two trading days. As reported by The Wall Street Journal on October 25, 2015,

  “[w]hile Valeant may argue it didn’t think the consolidation of Philidor was material, the

  market’s reaction shows investors think otherwise. And since materiality is a qualitative, not a

  quantitative concept, the company shouldn’t try to stonewall with answers that try to purport that

  it wasn’t enough of assets to talk about it.”

             335.   Finally, in addition to the foregoing quantitative and qualitative considerations,

  the MD&A disclosure violations and omissions were also material under SEC disclosure rules,

  which place an emphasis on materiality in regard to MD&A disclosure:

             Companies must provide specified material information in their MD&A, and they
             also must provide other material information that is necessary to make the
             required statements, in light of the circumstances in which they are made, not
             misleading.

  See SEC Release Nos. 33-8350, 34-48960; FR-72.

             336.   Each of the MD&A disclosure violations and omissions discussed above were

  either required MD&A disclosures on their own, or at a minimum, were required in light of the

  existing MD&A disclosures that Valeant made regarding revenue trends. Valeant has conceded

  the materiality of Philidor and the Company’s price increases by belatedly making additional

  MD&A disclosures.

             337.   The Company’s Forms 10-K and 10-Q were also materially false and misleading

  because they failed to, as required by Item 303 of Regulation S-K, disclose known trends,

  demands, commitments, events, and uncertainties that were reasonably likely to have a material

  adverse effect on the Company’s liquidity, net sales, revenues and income from continuing

  operations.




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  VIII. ADDITIONAL INDICIA OF DEFENDANTS’ SCIENTER

             338.   The Executive Defendants participated in an intricate scheme that operated for

  years to defraud investors by issuing false and misleading statements about Valeant and its

  operating performance. They also defrauded PBMs, physicians, and payers by creating secretive

  improper practices to boost sales and sale prices of Valeant products. The Executive Defendants

  were personally aware of, designed, and implemented the deceptive practices described herein.

  The Executive Defendants were also personally aware of, or were severely reckless in

  disregarding, the improper and deceptive tactics employed by Philidor by virtue of their frequent

  meetings, effective control over, and contractual right to review and approve Philidor’s records

  and policies. Additionally, the Executive Defendants had significant motives to engage in the

  fraudulent conduct. The following facts demonstrate their scienter.

             A.     THE EXECUTIVE DEFENDANTS DESIGNED VALEANT’S BUSINESS STRATEGY

             339.   The Executive Defendants were active and culpable participants in the fraudulent

  scheme and course of business alleged herein because they received information reflecting the

  true facts regarding Valeant, controlled and received Valeant’s materially misleading

  misstatements, and owing to their associations with the Company were privy to confidential

  proprietary information concerning Valeant’s unsustainable business model and its reliance on

  deceptive practices. The ongoing fraud as described herein was pervasive, multi-faceted, and

  carefully designed. Such a sophisticated fraudulent scheme could not have been perpetrated for

  so many years without the knowledge and/or recklessness and complicity of personnel at the

  highest level of the Company, including the Executive Defendants.

             340.   Pearson was the architect of the Company’s business strategy and orchestrated the

  dramatic price increases and deceptive business practices along with the other Executive




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  Defendants. Pearson implemented the strategies discussed herein when he became Valeant’s

  CEO, i.e., acquiring existing drugs, eliminating traditional R&D, and engaging in price gouging

  while intentionally concealing Valeant’s network of captive pharmacies. It was a strategy well

  known to the Executive Defendants who designed, implemented and/or approved of the strategy

  that allowed Defendants to claim profit margins as high as 99%.

             341.   Further illustrating his knowledge of the deceptive practices, Pearson, according

  to a former Valeant executive in a conversation with Forbes, “wanted to win at all costs and

  surrounded himself with people who would basically do whatever he told them to do.”

  According to Forbes, Pearson “liked to hire cronies like his former McKinsey partner Robert

  Rosiello, (now Valeant’s chief financial officer),” his ”brother-in-law [Robert Brabandt], who

  was paid $299,000 a year,” and “Ryan Weldon, head of Valeant’s U.S. dermatology operation,”

  who was the son of Pearson’s former client, Johnson & Johnson CEO Bill Weldon. Other

  members of the Board of Directors and additional executives also had prior ties to Pearson.

             342.   In addition, Pearson’s knowledge can be inferred from his hands-on management

  style, which former employees interviewed by Bloomberg Businessweek confirmed: they

  described how he “had his fingers in everything, from operations to making decisions about the

  salaries of individual employees.” Forbes also confirmed that Pearson “micromanaged things he

  deemed important.” In fact, Pearson held weekly calls with the leaders of Valeant’s business

  groups on Tuesdays at 11:00 a.m., during which Valeant’s senior management would assess the

  business, address developing issues, and ensure that there were no surprises facing the Company

  at each quarter end.

             343.   Likewise, Schiller was involved in the design of and aware of the Company’s

  overall strategy.      During the April 29, 2015 conference call, Schiller indicated his own




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  knowledge of Valeant’s deceptive practices when he commented on his resignation as CFO and

  confirmed the role that he and Pearson played in implementing the non-traditional practices,

  stating that, “Mike [Pearson] sets the tone at Valeant” and adding, in part:

             I’ve completely bought into our unique strategy and culture, the transparency and
             fact-based approach to running our business, and our relentless focus on building
             a great Company and on creating shareholder value.

             . . . . Valeant’s business has never been stronger and its prospects have never been
             brighter . . . .

             344.   In addition, Valeant documents, former Valeant/Philidor employees, and sworn

  testimony confirm that the Executive Defendants were directly involved in the business and

  pricing strategies implemented by Valeant. In particular, they had extensive discussions about

  the role of price increases in feeding company growth. For example, in a meeting in July 2015,

  Pearson met with Rosiello, Carro, Stolz (Senior Vice President of Neurology/Dentistry/

  Generics), Craig Olson (Vice President of Finance), and Lalilt, and decided to raise the price of

  Cuprimine by 400% from approximately $6,500 for 100 capsules to over $26,000.

             345.   Another example of the Individual Defendants’ role in setting prices occurred

  shortly after Valeant acquired Isuprel and Nitropress. Pearson, Schiller, Kornwasser, Andrew

  Davis, Steve Sembler (former Senior Vice President of Neurology and Other), and Sandeep

  Lalilt (Senior Director of Marketing) held a meeting to discuss pricing. The Wall Street Journal

  reported that Pearson wanted to dramatically increase prices to reach profit targets, while the rest

  of the group recommended smaller price increases implemented over time. At the Senate

  hearing, Schiller confirmed that despite the recommendation of the business unit, “Mr. Pearson

  made a decision to go with the higher price.” In a written statement to the Senate Committee,

  Pearson admitted that he, “as [Valeant’s] leader, was too aggressive in pursuing price increases

  on certain drugs.” At the Senate hearing, Pearson confirmed his hands-on style, testifying in


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  response to questions about patient complaints that ‘‘we do track every patient that calls and

  make sure that it’s run to the ground” and “I read the reports.”

             346.   In a May 28, 2014 conference call with investors, as further evidence of the

  Executive Defendants’ hands on approach, and therefore scienter, Schiller noted how carefully

  he and Pearson pay attention to each transaction, to the point that they “religiously track each

  deal on a quarterly basis. Our Board of Directors receives a report every quarter on each deal.

  We review every quarter and ask ourselves how are we doing, we are our own biggest critics.”

  Later the same day, at a Sanford C. Bernstein Strategic Decisions Conference, Pearson reiterated

  Schiller’s point by confirming, “we’re tracking every product around the world.”

             347.   Moreover, throughout the Relevant Period, the Executive Defendants held

  themselves out to investors as the persons most knowledgeable about Valeant’s business,

  operating model, and strategies (including pricing, the AF initiative, and specialty pharmacies),

  acquisitions, organic growth, internal controls, ethical standards, compliance programs, and the

  volume, pricing, and performance of Valeant’s products. The Executive Defendants voluntarily

  and repeatedly chose to discuss these issues throughout the Relevant Period and in doing so

  either knew or recklessly disregarded that their statements were contrary to the underlying facts

  alleged herein, while making the specific and detailed statements alleged herein.

             348.   For example, during a May 21, 2016 RBC Investor Meeting, Pearson discussed

  Valeant’s stock price, stating “[w]e expect our stock to go up 50%, 70% a year, that’s our

  expectation, that’s what I get paid to do and our long-term investors appreciate it.” He also said

  “I believe that our company is fundamentally undervalued” and that “last year when we were

  trading at 105 it was so obvious to me that we were so undervalued why wouldn’t all you guys

  rush in? Not just you guys but I mean investors clearly we weren’t worth [only] 105.”




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             349.   During the Relevant Period, the Executive Defendants, as senior executive

  officers and/or directors of Valeant, were privy to confidential and proprietary, non-public

  information concerning Valeant’s operations, finances, financial condition, and present and

  future business prospects, including in connection with due diligence undertaken as part of

  Valeant’s acquisitions, via internal documents and conversations with other officers and

  employees, and/or attendance at management and/or board of directors meetings and committees

  thereof. Because of their possession of such information, the Executive Defendants had the

  ability and opportunity to prevent the issuance of the Company’s reports and releases alleged

  herein to be false or misleading and/or to cause them to be corrected.              The Executive

  Defendants’ materially false and misleading statements during the Relevant Period violated their

  duty to promptly disseminate accurate, full, and truthful information with respect to Valeant’s

  operations, business, financial statements, and financial metrics, so that the market price of

  Valeant securities would be based upon truthful and accurate information.

             350.   The level of involvement in the day to day operations of the Company goes

  beyond general awareness of corporate executives of the workings of their companies. As

  explained above, Pearson, Schiller, Rosiello and Carro held meetings to determining by how

  much to raise prices. They also held meetings with Pearson’s former employer, McKinsey, to

  strategize about pricing.      As his former employees stated, Pearson had his “fingers in

  everything.” Given these facts, and that the key Valeant executive who was on the ground at

  Philidor reported directly to Pearson, it is reasonable to infer that he was aware of the fraudulent

  practices that allowed for the price increases.

             351.   Moreover, by executing SOX certifications in periodic reports, Pearson, Schiller,

  and Rosiello assumed the responsibility of obtaining the requisite knowledge to ensure the




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  Company’s disclosures to the market were true. Beyond signing the certifications, Pearson,

  Schiller and Rosiello also participated in the drafting, preparation, and/or approval of the various

  SEC filings, releases, and other public statements complained of herein and because of their

  managerial positions had control over the information that was disclosed and the true facts

  relating to those disclosures.

             B.     THE EXECUTIVE DEFENDANTS CLOSELY MONITORED, AND ULTIMATELY
                    CLOSED, PHILIDOR

             352.   The Executive Defendants were personally aware that Valeant used Philidor and

  its secret network of pharmacies to engage in the deceptive practices that enabled Valeant to

  engage in price gouging to boost profits. They also knew that the relationship was being

  concealed.

             353.   For instance, from the start, the Executive Defendants were intimately involved in

  the acquisition of Medicis, which soon after led to the formation of Philidor. Gary Tanner had

  been at the helm of Medicis’s AF strategy. The Executive Defendants decided to retain Tanner,

  and to promote him several times, so that he might implement the AF strategy within

  Valeant/Philidor. The AF strategy was simply a euphemism for the deceptive practices that

  underlay Valeant’s price gouging.         Additional information about Tanner’s involvement at

  Philidor, and the Executive Defendants’ knowledge thereof, is detailed supra Section IV. B.

             354.   In addition, Kornwasser served as a liaison to Philidor, and he reported directly to

  Pearson. Kornwasser’s position and $8.8 million in total compensation in his first year of

  employment demonstrate that Philidor was of critical importance to Valeant.

             355.   Additionally, Pearson, Schiller, and senior management signed the Philidor

  agreements.       While Philidor’s relationship with Valeant was concealed from investors, the

  Executive Defendants knew that Valeant employees assisted in the formation of Philidor and



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  worked at Philidor, where these employees (both while still employed at Valeant and after

  transferring to Philidor) would oversee the deceptive business practices designed to artificially

  boost the sales and sale prices of Valeant drugs.

             356.   Before obtaining the option to acquire Philidor, Pearson, Schiller, and Valeant’s

  Board of Directors performed due diligence, including multiple site visits at Philidor. Notably,

  before Valeant’s $100 million payment to Philidor, Valeant’s senior management and members

  of the Board, including the entire Audit Committee, went on site visits to Philidor. On these

  visits, Valeant was provided further access and exposure to Philidor’s business practices and

  operations. After the payment, Valeant intentionally avoided disclosing its relationship with

  Philidor in its financial statements.   Additionally, Valeant’s entire Board of Directors, including

  the Finance and Transactions Committee and the Audit and Risk Committee, reviewed and

  approved the Philidor transaction and accounting treatment that violated GAAP.

             357.   Valeant effectively controlled Philidor from the day it was created. Philidor was

  formed to orchestrate Defendants’ fraudulent scheme to inflate revenues. Valeant had a

  contractual right to inspect Philidor’s books, records, and facilities and to audit its practices for

  compliance and either did so, and knowingly approved of the deceptive practices, or was

  severely reckless in failing to do so. As Philidor employees have confirmed, the deceptive

  practices were widely known, discussed, and even documented in Philidor’s training manuals.

             358.   Moreover, Valeant included Philidor in many of its own operations, procedures,

  and documentation. Philidor was included in Valeant’s internal control testing and internal audit

  program for 2015. Valeant and Philidor formed a joint steering committee which held regular

  meetings to discuss, among other things, Philidor’s “Strategic Plan,” contractual obligations with

  TTPs, and “internal policies, manuals and processes.”




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             359.   As a further example that Pearson was personally monitoring Philidor’s practices,

  on March 9, 2015, Kellen sent an email to Pearson updating him on their earlier conversation

  stating “Met with Deb [Jorn].... Suggested we get all the DMs [District Managers] in for a day...

  goal to go over the practices in each district where Philidor is working well and identify next

  [approximately] 10 practices where we should push harder to build it out. That [sic] will help

  fuel growth.” Pearson responded, “Good stuff.” Philidor managers were invited to meet with

  Valeant’s board in July 2015.

             360.   Valeant also exercised more active control over its network of captive pharmacies

  because Defendants also monitored the network of pharmacies through which Philidor operated.

  For example, Valeant made approximately 75 shipments to R&O between January and August

  2015 and received millions of dollars in payment directly from R&O in return. On September 4,

  2015, after R&O began withholding invoices upon suspicion of fraudulent conduct, Valeant’s

  general counsel sent a letter to R&O’s owner seeking “immediate payment.” In the October 19,

  2015 conference call, Pearson told investors that R&O was a part of the Company’s specialty

  pharmacy network and discussed the lawsuit.

             361.   On October 19, 2015, as questions about Philidor arose, Pearson, at a conference

  attended by Rosiello and Kellen, defended Philidor and the decision to conceal the relationship

  as “a competitive advantage that we did not want to disclose to our competitors.” Pearson

  repeated this at the October 26th conference attended by Schiller, Rosiello, Ingram, Provencio,

  Melas-Kyriazi, Stevenson, Carro, and Kellen and added that Philidor was purportedly

  “independent” and sales through it were “less profitable.” But just days later, on October 30,

  2015, Valeant announced Philidor would cease operations as Philidor’s improper practices were

  publicly revealed. Defendants’ decision to shut down Philidor so quickly, rather than




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  investigating to confirm the devastating allegations, shows they were aware of Philidor’s

  deceptive practices.

             362.   Pearson repeatedly spoke of the purported benefits of the AF strategy during the

  Relevant Period but refused to provide details of the particular practices when asked.         In

  addition, when Valeant’s relationship with Philidor was uncovered, Pearson admitted that it was

  a conscious decision to conceal Philidor for purported “competitive” reasons, and Ingram made

  clear that the Board ‘‘has fully supported the company’s specialty pharmacy strategy.”

             363.   The Executive Defendants also had knowledge of the accounting violations

  associated with Philidor.      When Citron issued its report questioning whether Valeant was

  inflating revenue through Philidor, Pearson, Ingram, and Carro all publicly defended Valeant’s

  accounting. On October 26, 2015, Ingram noted that the entire Board and Audit Committee had

  reviewed and confirmed the appropriateness of the accounting relating to Philidor. The 3Q15

  10- Q Valeant filed that same day, signed by Pearson and Rosiello, repeated this fact. In a

  conference call with investors, Ingram forcefully defended Pearson, saying, “I also want to

  reiterate the Board’s complete and total faith in Mike Pearson” because “[h]e operates with the

  highest degree of ethics and he has the Board’s unanimous support.” However, once the SEC

  investigation was underway, Carro and Schiller were asked to leave for engaging in “improper

  conduct” related to the accounting. Valeant admitted it had improperly inflated revenues through

  Philidor and would need to restate its previously issued financial statements.

             364.   Finally, the efforts by Philidor to cover up its wrongdoing further support an

  inference of scienter considering Valeant’s effective control over Philidor. Specifically, as

  reported by Reuters, starting in September 2015, “Philidor began requiring employees to sign

  confidentiality agreements empowering the pharmacy to sue workers who divulged information




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  about its activities.”    The fact that Philidor compelled its employees to sign such agreements,

  two years after it began operations and just after the R&O dispute and government inquiries,

  demonstrates such efforts were intended to conceal wrongdoing rather than protect purported

  business secrets.

             C.     EVIDENCE OF SCIENTER FROM THE US ATTORNEY’S COMPLAINT AGAINST
                    TANNER

             365.   As explained above, Tanner had been employed at Medicis and was retained at a

  high level within Valeant to foster its AF program and its relationship with Philidor. The US

  Attorney’s complaint against Tanner, currently pending in the United States District Court for

  the Southern District of New York, sheds further light on the Executive Defendants’ knowledge

  of the misconduct that was occurring at Philidor, as directed by Tanner’s direct oversight.

             366.   According to the US Attorney’s complaint against Tanner and Davenport, Tanner

  “had direct access to senior management of Valeant.” Further, “[i]n documents that were later

  prepared for Valeant’s Board of Directors, Valeant recognized Tanner as a ‘key organization

  talent’ that Valeant retained after acquiring Medicis.” The US Attorney’s complaint further

  states:

             By April 2013, Valeant had appointed TANNER to be the Senior Director for the
             “Access Solutions Team,” which was responsible for Valeant’s AF initiatives and
             patient access programs, among other things. TANNER was later promoted to the
             position of Vice President responsible for Access Solutions.

             During TANNER’s employment by Valeant, TANNER occupied a managerial
             position of trust at the company. In particular, TANNER supervised programs
             that were responsible for generating hundreds of millions of dollars in sales for
             Valeant; he reported to and had access to Valeant’s top executives, including the
             company’s CEO, on various issues; and he interacted directly with Valeant’s
             customers, suppliers, and auditors as an executive of Valeant.

             Over the course of TANNER’s work for Valeant, TANNER proposed and
             assumed responsibility for supporting and supervising the operation of Philidor, a
             new mail-order pharmacy that, as described in greater detail below, assumed an
             increasingly large role in Valeant’s AF program and its financial performance.


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             As part of TANNER’s work at Valeant on supporting and growing Philidor,
             TANNER interacted directly with Philidor’s executives, including ANDREW
             DAVENPORT, the defendant. TANNER also supervised employees who worked
             partially or wholly out of Philidor’s out of Philidor’s offices in Pennsylvania,
             including sales and managerial staff employed by Valeant and certain staff
             employed by Philidor. Even while TANNER served in this capacity at Philidor,
             however, TANNER was still considered and treated as a Valeant employee,
             receiving compensation, performance ratings, and compliance training from
             Valeant.

                                                  ***
             During TANNER’s time as a Valeant employee, Valeant paid TANNER millions
             of dollars in salary, bonuses, stock options, and restricted stock options to
             represent its interests.

             367.   The US Attorney’s complaint further explains that “From in or about 2013 until

  2015, Valeant Executive-1 oversaw numerous business units within and affiliated with Valeant,

  including Philidor. Valeant Executive-1 reported directly to Valeant’s former CEO. During the

  relevant time period, GARY TANNER, the defendant, reported to Valeant Executive-1, first

  indirectly and then directly for a period of time.”

             368.   Furthermore, during a Philidor site-visit, “Valeant Executive-1 noticed that

  TANNER appeared to have an office inside Philidor, had access to Philidor’s entire office

  facility, and acted as if he had a managerial role at Philidor.” This executive “understood

  [TANNER] was providing advice to Philidor’s sales team.” These observations purportedly

  caused the anonymous executive to be concerned, and he “shared his concerns about TANNER

  with other senior executives at Valeant.”

             369.   In addition to “Valeant Executive-1,” Valeant’s Chief Compliance Officer “also

  had concerns that TANNER may have a financial interest in Philidor,” and he “raised these

  concerns to other Valeant executives.”

             370.   Moreover, Valeant Executive-1 repeatedly urged Tanner to diversify the

  pharmacies that would be used to dispense Valeant products, in large part to lessen the risks



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  associated with becoming “overly dependent on Philidor.” These concerns were also raised by

  two other senior executives in emails to Tanner. However, Tanner told the executives that “he

  was too busy building Philidor to enter into arrangements with other pharmacies, or that

  alternative arrangements would compare unfavorably to Philidor.” The US Attorney’s complaint

  concluded that “[a]s a result of TANNER’s failure and/or refusal to diversify the AF program,

  Valeant did not mitigate payer risk . . . and it became increasingly dependent on Philidor to

  achieve its sales and growth targets.”

             371.   According to the US Attorney’s complaint, Tanner also provided updates

  regarding Philidor to Pearson and Schiller. For example, on

             September 5, 2014, TANNER sent an email to Valeant’s CEO, Chief Financial
             Officer, and other senior executives in which TANNER touted Philidor’s
             performance and stated, “Given the performance through the first half of the year
             and specifically the significant update of the program yielding results far greater
             than expectation, I temporarily ceased publishing this summary knowing the
             performance was exceeding expectation.”

  In addition, “On September 17, 2014, TANNER met with Valeant’s CEO and emailed the CEO a

  20-page presentation which described Philidor’s growth over time and touted its future

  prospects.”

             372.   It is unreasonable to infer that the Executive Defendants were unaware of

  Tanner’s misconduct in interacting with Philidor when he reported directly to them, and had

  responsibility for such a large portion of Valeant’s business. In addition, they voiced concerns

  about Tanner, directly to Tanner and to each other, but did not follow through to ensure that their

  concerns were addressed. Further, he sent them updates regarding Philidor, including that its

  growth was far ahead of expectations, which should have raised a red flag concerning Philidor’s

  operations. Finally, they never disclosed their concerns regarding Tanner and his affiliation with

  Philidor, including the Company’s reliance on Philidor, to investors. At a minimum, they



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  recklessly disregarded the risks that Valeant prescriptions filled by Philidor were tainted by

  deceptive and improper practices.

             D.     VALEANT REFUSED TO PURSUE REMEDIES AGAINST WRONGDOERS

             373.   Despite the availability of various remedies, Valeant failed to pursue them against

  Pearson, Schiller, Philidor and its executives. This failure to pursue available remedies supports

  an inference that it approved the deceptive business practices alleged herein, because Valeant

  could not pursue remedies for the very wrongdoing it condoned.             Thus, it was limited to

  terminating the employment of the wrongdoers and shutting down Philidor.

             374.   In 2014, Valeant instituted a clawback policy, allowing the Company to recover

  incentive compensation from management if a restatement is required within three years of the

  relevant period and an executive is found to have participated in fraudulent or illegal conduct.

  However, as Ingram noted, the Board approved the accounting for Philidor and thus,

  notwithstanding this clawback right, Valeant’s Board has taken no public action to recover

  payments to Pearson, Schiller, or the other executives.

             375.   To the contrary, the Company retroactively modified Pearson’s employment

  contract to provide him with a $2 million salary for 2016, along with other financial benefits,

  although Pearson was only supposed to receive a performance bonus but no salary for 2016, a

  month after announcing that Pearson would be replaced as the CEO. Valeant has since provided

  him a $9 million severance.

             376.   Similarly, Valeant’s purchase option agreement with Philidor provides Valeant

  with broad indemnification rights, including that Philidor “shall indemnify, defend, and hold

  harmless” Valeant “from and against any and all Losses” to Valeant “as a result of the operation

  of the Pharmacy or the performance by the Pharmacy of its duties.” However, the purchase




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  option agreement further provides that such liability “shall be reduced by the extent ... that such

  Losses are caused by or arise out of (a) the negligence or intentional misconduct of

  Manufacturer.” Consistent with this exception, rather than pursue its claims against Philidor,

  Valeant entered into a mutual release with Philidor, effective as of November 1, 2015.

             E.     VALEANT ADMITTED ITS WRONGDOING

             377.   Valeant not only condoned wrongdoing, but it also actively engaged in and

  admitted to it. As detailed above, Valeant has admitted that several Defendants’ Relevant Period

  statements were false and misleading, that Carro and Schiller engaged in improper conduct, and

  that Valeant had an unethical “tone at the top.”

             378.   On February 3, 2016, Valeant admitted that Pearson’s April 29, 2015 statement

  that “volume was greater than price in terms of our growth” was false. On February 22, 2016,

  Valeant issued a press release wherein the Company stated it had improperly recognized

  revenues. Furthermore, on March 21, 2016, the Company issued a press release and Form 8-K

  disclosing that it had material weaknesses in internal controls and the 2014 10-K and three 10-Qs

  during 2015 could no longer be relied upon.

             379.   Further, Schiller was accused of “improper conduct” and the Company

  “determined that the tone at the top of the organization and the performance-based environment

  ... may have been contributing factors resulting in improper revenue recognition.”12 Valeant


  12
      Valeant regularly reported non-GAAP financial disclosures in an effort to make Valeant
  appear more profitable. On December 4, 2015, the SEC raised concerns regarding the “overall
  format and presentation of the non-GAAP measures” and regarding the prominence given to
  such numbers. In a March 18, 2016 letter to the Company, the SEC noted that “over the past
  four years, you have reported approximately $9.8 billion of non-GAAP net income” compared to
  having “reported [a] GAAP net loss of approximately $330 million.’’ The Executive
  Defendants’ insistence on providing opaque and misleading disclosures and resistance to the
  SEC’s repeated requests for reform further supports an inference of scienter. On April 8, 2016,
  the Company informed the SEC it would change its approach to non-GAAP financial measures.


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  asked Schiller to resign from the Board and forced Pearson and Carro out, quickly replacing

  them.

             380.   Finally, during a conference call on October 26, 2015 in which the three members

  of the Audit Committee (Norma Provencio, Theo Melas-Kyriazi and Katherine Stevenson),

  Schiller, Pearson, Carro, Rosiello, and Kellen participated, Lead Independent Director Ingram

  admitted that the Audit Committee of the Board and the full Board had approved the Company’s

  (improper) accounting for Philidor. Slides accompanying the call stated that the “Finance and

  Transactions Committee, Audit and Risk Committee and [the] Full Board reviewed the

  transaction” and “[t]he appropriate accounting treatment was determined by management and

  reviewed with the Audit and Risk Committee.”

             F.     THE CONGRESSIONAL HEARINGS ARE FURTHER EVIDENCE OF VALEANT’S
                    SCIENTER

             381.   Congressional committees began investigating Valeant’s business practices in

  2015. Numerous admissions during the course of these investigations further support an

  inference of scienter. In particular, Pearson acknowledged repeatedly that Valeant’s business

  model was price gouging, which he stated was unsustainable. It is reasonable to infer that, with

  such detailed knowledge of Valeant’s pricing, Pearson and the other Executive Defendants were

  aware of the deceptive and fraudulent practices accomplished through Philidor and other captive

  pharmacies that permitted Valeant to charge such high prices.

                    1.     February 4, 2016 House Oversight Committee Hearing

             382.   Valeant produced 75,000 pages of documents to the House Oversight Committee.

  A summary of those documents corroborates the allegations herein by confirming that the

  Defendants purposefully used price increases to foster growth: (i) “Mr. Pearson purchased

  Isuprel and Nitropress in order to dramatically increase their prices;” (ii) “Valeant identified



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  goals for revenues first, and then set drug prices to reach those goals;” (iii) ‘‘Valeant used its

  patient assistance programs to justify raising prices and to generate increased revenues by

  driving patients into closed distribution systems;” (iv) Valeant “sought to exploit this temporary

  monopoly by increasing prices dramatically to extremely high levels very quickly;” and (v) “Mr.

  Pearson utilized this strategy with many more drugs than Isuprel and Nitropress” as Valeant had

  increased the prices of 20 prescription drugs by more than 200% from 2014 to 2015.

             383.   During this hearing, Schiller also demonstrated his intimate familiarity with and

  knowledge of Valeant’s drug pricing practices.             In his prepared testimony, Schiller

  acknowledged that Valeant had acquired Nitropress and Isuprel in February 2015 and that even

  though they were only two of 1,800 total Valeant products (0.1%), they accounted for 4% of full

  year 2015 revenues (and even more of Valeant’s profits given their 99% margins). Schiller

  further acknowledged that federal anti-kickback laws prohibited the ‘‘patient assistance”

  programs Valeant provided.

             384.   At the hearing, Schiller also admitted that the Company’s price gouging practices

  concealed various risks, which included: “increased pressure for rebates from the payers,

  decreased sales volumes from hospitals, increased substitution of alternative products, and

  heightened competition from new generic or branded drugs.”

             385.   In addition, Schiller effectively admitted that Valeant’s business strategy was

  neither sustainable nor more profitable than a traditional R&D strategy, a notion which

  Defendants previously denied repeatedly during the Relevant Period.            Schiller did so by

  acknowledging ‘‘we made a lot of mistakes” and would no longer pursue such “aggressive” price

  increases, but would instead be lowering prices. Schiller also admitted Defendants were ‘‘too

  aggressive” in raising the prices of Nitropress and Isuprel, and said “[w]e are not going to be




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  looking for those kinds of acquisitions going forward.” Furthermore, in contrast to Valeant’s

  earlier business model and representations, Schiller also acknowledged that going forward,

  Valeant would spend more heavily on R&D.

             386.   Schiller also admitted, when asked by Representative Maloney, that ‘‘price

  increases represented 80 percent of [Valeant’s] growth for the first quarter of 2015.” When

  asked if Pearson’s statement, “do not bet on science, bet on management,” was Valeant’s

  operating philosophy, Schiller responded that the Company was “chang[ing] quite a bit.”

             387.   At one point, Chairman Chaffetz asked Schiller to identify all of the factors that

  Valeant considered when raising prices, and when Schiller omitted to mention that increasing

  profits was a factor, Chairman Chaffetz stated that Schiller was “lying” and being

  “disingenuous.”

             388.   Representative Cummings confronted Schiller with Valeant’s price increases, and

  even though Schiller would not confirm each specific price increase, he confirmed their general

  thrust. Representative Cummings said Valeant’s documents showed “[t]heir basic strategy has

  been to buy drugs that are already on the market and then raise the prices astronomically [for a]

  temporary period of time before other competitors enter the market” and noted reports that “in

  2014, Valeant led the industry in price hikes, raising prices on 62 [drugs]” by “an average of 50

  percent” with Glumetza, a diabetes drug, increasing “by a whopping 800 percent over a mere

  six-week period.” Schiller said he was “not familiar with all those numbers” but “directionally,

  that is true.” Representative Cummings complained that Valeant had “refused my previous

  request and obstructed our abilities to investigate their actions.”

             389.   After the hearing, members of the House Oversight Committee continued to

  emphasize that Valeant was not being cooperative. For example, in September 2015, Valeant




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  asserted privilege over various documents, but by March 2016 members of Congress complained

  that Valeant had still not produced a privilege log.

             390.   In a further inquiry, on April 12, 2016, Representative Cummings sent another

  letter to Pearson stating “[y]our refusal to cooperate fully with Congress is extremely troubling

  and reflects a pattern of obstruction. . .” Cummings said he had asked on November 16, 2015

  that Valeant make Tanner, Pritchett, and Patel available for interviews but that Valeant had

  “failed” to do so.

                    2.     Senate Aging Committee Hearing

             391.   On April 27, 2016, the Senate Aging Committee also held hearings relating to

  Valeant. Pearson (who had been terminated as CEO after returning from a leave of absence)

  along with Schiller and Ackman testified. During the hearing, Pearson and Schiller displayed

  their intimate familiarity with and knowledge of the Company’s drug pricing practices.

             392.   In a written statement, Pearson admitted that “the company was too aggressive—

  and I, as its leader, was too aggressive—in pursuing price increases on certain drugs.” He said

  he “regret[ted] pursuing transactions where a central premise was a planned increase in the prices

  of the medicines, such as our acquisitions of Nitropress and Isuprel.”

             393.   Pearson further acknowledged in his written statement:

             In retrospect, we relied too heavily on the industry practice of increasing the
             price of brand name drugs in the months before generic entry. Instead, in my
             view, we should have abandoned the transaction with Marathon when it became
             clear the expected arrival of generic competition made the economics of the
             deal dependent on significant price increases.

             394.   Pearson also admitted that Valeant’s “pricing has driven more growth than

  volume, although that is changing over time.”          He further admitted ‘‘we have also made

  mistakes, including those that bring me here today.”




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             395.   Senator Kaine noted that Pearson previously claimed Valeant’s business model

  was not fully understood by all investors and the Company had “nothing to be ashamed of.”

  When Senator Kaine asked if Pearson still felt that way, Pearson testified ‘‘No . . . we have been

  too aggressive on pricing.” Pearson also admitted he had raised prices higher than Valeant’s

  consultants recommended.

             396.   Pearson confirmed the correctness of Senator McCaskill’s observation that, since

  2013, price had been more responsible for growth than volume in all quarters except one. This

  admission contradicted Pearson’s April 29, 2015 statement and his October 14, 2015 letter to

  Senator McCaskill, wherein Pearson claimed “[t]here is a misperception in the media that

  Valeant’s revenue growth for existing products has been driven primarily by price.”

             397.   As an example of this tension between Pearson’s oral testimony and his previous

  written responses, Pearson’s October 14, 2015 letter to Senator McCaskill claimed that

  Nitropress and Isuprel were only “two of the approximately 209 prescription products sold by

  Valeant” and that “[b]road conclusions about Valeant cannot be drawn from the pricing or

  history of any one drug or set of drugs.” But this statement was misleading because far from

  raising prices on just two of 209 products, Valeant had raised prices (in just 2015 alone) on 85 of

  its 156 “U.S. Branded Pharma” products by an average of 36%. At the hearing, Pearson was

  asked if he could name a single drug that Valeant had acquired where it did not raise the prices

  and he conceded, “[n]ot in the United States.”

             398.   The Congressional committee hearings exposed other false and misleading

  statements that Defendants had made to investors during the Relevant Period. For example,

  Pearson claimed in his October 30, 2015 letter to Senator McCaskill that “for those institutions

  where the impact was significantly greater, we are beginning to reach out to hospitals to




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  determine an appropriate pricing strategy.” Soon thereafter, Valeant announced a 30% discount

  program for hospitals. Yet, at the hearing, Senator McCaskill noted that she had not found a

  single hospital that had received the discounts. Hospital-affiliated witnesses at the hearing also

  denied receiving the discounts and several more sent letters to the Senate Aging Committee also

  attesting to not receiving any such discounts.

             399.   For example, Cleveland Clinic noted that it called Stolz of Valeant to ask about

  the discounts, and Stolz promised to get back to them but never did. Similarly, University of

  Utah Health Care wrote to the Senate Aging Committee that “Valeant noted in a letter to

  Ranking Member McCaskill that their company would be reaching out to hospitals that were

  impacted by the new pricing” but when they called “Valeant refused to talk to me about better

  contracted prices.” Valeant essentially conceded that Pearson’s claim was inaccurate, when, on

  April 23, 2016, Stolz submitted a written response admitting that “[a]s of this date, Valeant has

  not entered into contracts with individual hospitals to provide volume-based discounts for

  Nitropress and Isuprel” but had entered into contracts with only three hospital groups. Valeant

  issued a public statement that they formed a committee that was working to “develop solutions

  so any hospital that is eligible for discounts on Nitropress and Isuprel receives them,” and Stolz

  left the Company.

             400.   Moreover, Senator Collins during the hearing pointed out that Valeant did not

  merely raise prices haphazardly, but followed a systematic strategy that “appears to be based on

  careful study of the FDA approval process. The Company knows it often takes years before

  generic competitors can clear the hurdles imposed by that process to enter the market and to

  compete. During that period, Valeant exploits its de facto monopoly.” Senator Collins further

  stated, “[i]t is also apparent that these medications make an out-sized contribution to the




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  company’s net income, we can find nothing to explain these dramatic price increases beyond

  Valeant’s desire to take advantage of monopoly drugs.” As an example, she noted that in

  February 2015, “Valeant paid just $40,000 for the Isuprel [while] it sold and it made more than

  $17 million in net income on that one drug alone.” Pearson conceded that her “figures are

  correct from a gross margin standpoint.”

             401.   Senator McCaskill commented that “[e]ven Valeant’s patient assistance program

  appears to be set up solely to increase Valeant’s bottom line,” with Senator Collins adding that

  Valeant’s PAP was used “so that you can still get the payments primarily from commercial

  insurers, which dwarf the amount that you’re giving in customer assistance.”

             402.   Senator Warren asked Pearson, “[w]hy don’t you use these co-pay reduction

  programs for federal government insurance programs, like Medicare Part D or Medicaid, “to

  which Pearson acknowledged “we’re not allowed to.”           Senator Warren responded, “Yeah,

  because it’s illegal . . . because Medicare and Medicaid understand that the programs are scams

  to hide the true cost of the products from the consumer and drive up the cost of all the

  taxpayers.”

             403.   Finally, in connection with the Congressional probes, Philidor was asked why

  Valeant did not simply purchase Philidor outright rather than acquire the option to purchase it for

  $0.    Philidor’s counsel, in a written response, said that “Philidor concluded that Valeant’s

  conduct was consistent with a concern about the economic impacts of any PBM response if

  Valeant had purchased Philidor.” Thus, Philidor confirmed that Valeant knew PBMs would

  refuse to reimburse Philidor prescriptions if PBMs knew of the controlling relationship.

             G.     EXECUTIVE DEPARTURES

             404.   An inference of scienter can also be drawn from the timing of widespread




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  executive and director departures, including many of the Executive Defendants, just shortly

  before the public revelations of Valeant and Philidor’s deceptive practices. In total, 12 senior

  executives and board members were forced out of Valeant, including its CEO, CFO, controller,

  audit committee, head of dermatology and most members of its board of directors.

             405.   On April 29, 2015, just a few months before the scandal would reach the public

  and just after it issued misleading 2014 financial statements, Valeant announced that Schiller

  would be leaving his position as CFO once a successor was appointed.

             406.   Kornwasser left the Company in July 2015. CNBC subsequently attempted to

  contact Kornwasser, but received a call from Valeant’s crisis management department who said

  Kornwasser was not interested in discussing Valeant or Philidor. Representative Cummings

  noted that Kornwasser was never made available when the House Oversight Committee asked

  Valeant to produce him for an interview.

             407.   On August 25, 2015, the Company issued a release announcing that Jeffrey W.

  Ubben, a Valeant Board member and founder of activist investor ValueAct (Valeant’s fourth

  largest shareholder), had resigned from the board. Notably, before his resignation, Ubben,

  through ValueAct, sold 4.2 million shares of Valeant stock on June 10, 2015 for nearly $1 billion

  at close to peak prices. He had held these stocks for many years.

             408.   On or about March 2, 2016, it was reported that Jorn, head of the U.S.

  Gastrointestinal and Dermatology divisions, was “leaving the company effective immediately.”

  Jorn was responsible for some of Valeant’s top selling drugs, including Jublia, a dermatology

  drug which was sold in massive quantities through Philidor.

             409.   On March 21, 2016, Valeant issued a press release regarding the restatement and

  material weaknesses of its internal controls. It also confirmed Pearson would be leaving the




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  Company. Moreover, the Company admitted that Schiller and Carro engaged in “improper

  conduct” and provided inaccurate information to the Ad Hoc Committee investigating the false

  revenues. Schiller was asked to resign from the Board. Carro was replaced as controller.

             410.   After joining the Board, Ackman was asked by media and Congress about the

  corrective actions Valeant was taking and he responded by noting Pearson’s replacement as CEO

  and a “lot of the board is going to turn over, so we’re going to have a new board for the most

  part.”

             411.   On April 29, 2016, Valeant announced that seven of its board members would not

  be standing for re-election. This included Pearson and Schiller, as well as Morfit (of ValueAct),

  Provencio (chair of the Audit Committee), Goggins, Ronald Farmer, and Melas-Kyriazi (member

  of the Audit Committee). Notably, Provencio, Goggins, and Morfit were also members of the

  Ad Hoc Committee.

             412.   On May 20, 2016, Valeant stated in a filing with the SEC that Stolz had resigned

  as Senior Vice President of Neurology, Dentistry and Generics. Stolz had been involved in both

  the price increases and the purported pricing discounts Pearson promised Congress but failed to

  deliver.

             H.     PEARSON’S MISREPRESENTATIONS TO ACKMAN

             413.   Further evidence of scienter can be found in the fact that Pearson concealed his

  deceptive practices from Ackman, a large investor with whom Pearson had a cooperative

  business relationship. For instance, during the Allergan takeover fight, although Ackman met

  with Pearson on many occasions to discuss Valeant’s business, Pearson kept him in the dark

  regarding its deceptive practices, while using him to defend Valeant’s business model and to

  refute Allergan’s claims.




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             414.   As background, in 2014, Ackman, who controlled one of the Company’s largest

  stakeholders (Pershing Square), met with Pearson to form a partnership between Valeant and

  Pershing Square in an effort to take over Allergan. According to the plan, Pershing Square would

  acquire stock in Allergan both to assist in providing shareholder support and to validate the value

  of Valeant’s stock.

             415.   Pershing Square is, as Ackman has described, an investment company whose

  business is to thoroughly investigate companies before taking large investment positions. In an

  October 2014 deposition, Ackman testified that because Valeant was attempting to acquire

  Allergan with Valeant stock, Pershing Square “had the benefit really for the first time of doing

  due diligence on a company with full access to management and access to inside information, so

  we could vet Valeant as a company, we could assess its value and we could have helped, you

  know, vet the credibility of the currency [Valeant’s stock].”

             416.   When Allergan resisted Va1eant’s takeover attempt and challenged the

  sustainability of Valeant’s business and its pricing practices (which claims Valeant denied),

  Pershing Square engaged in further due diligence before investing $4 billion in Valeant in early

  2015. Ackman and Pearson had frequent contact, through calls, emails, and dinners. Ackman

  also introduced other investors to Pearson, offered to help Pearson prepare for earnings calls, and

  gave advice after those calls. In short, during 2014 and 2015, Ackman had numerous

  conversations with Pearson about Valeant’s business.

             417.   Despite these extensive contacts and Ackman’s “full access to management,’’

  Pearson concealed the extent of Valeant’s price gouging and other deceptive practices from

  Ackman, in order to have Ackman publicly endorse Valeant’s “currency,” i.e., stock value,

  during the attempted Allergan acquisition and defend Pearson and Valeant’s business practices.




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  For example, on April 22, 2014, Pearson emailed Ackman, asking him to “emphasize [the]

  quality of our company” to the media.

             418.   Pearson used Ackman to defend Valeant against others’ criticism, as well. On

  April 9, 2015, Ackman emailed Warren Buffett in response to criticism of Valeant and Pearson

  by Buffett’s partner, Charlie Munger, vice-chairman of Berkshire Hathaway. Ackman mounted a

  vigorous defense of Valeant, writing that Munger “has gotten this one wrong,” that “[w]e have

  gotten to know Valeant and Pearson well over the last year,” and that others also “hold Mike

  Pearson in extremely high regard.” Ironically, Ackman claimed that Pearson was “an extremely

  direct person,” and offered to set up a meeting to “meet Mike Pearson and ask him anything you

  would like.” Ackman continued stating “Mike would like the opportunity to clear his reputation

  in response to Charlie’s recent comments.” Buffett suggested that Ackman contact Munger

  directly.

             419.   Ackman believed in Valeant’s fundamental strength because of Pearson’s

  misrepresentations and omissions. Thus, Ackman defended Valeant all the more vigorously. On

  April 11, 2015, in an e-mail to Munger, Ackman claimed there “was a lot of misinformation

  disseminated by Allergan about Valeant,” and “[p]erhaps that is the source of your

  misinformation.” Ackman asked him to meet with Pearson, stating, “I think you have the facts

  wrong,’’ and “it seems fair that you would give Mike an opportunity to respond to your concerns

  . . .” Further demonstrating Ackman’s belief that Allergan’s claims were false and revealing the

  extent of his ignorance about the true state of affairs at Valeant, Ackman even claimed that

  Pearson followed a “rational approach to operations,” and that “Valeant stock has been and

  continues to remain perennially undervalued,” even though it was trading at over $200 per share.




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             420.   Even as late as October 6, 2015, Ackman had not been told of the extent of

  Valeant’s price gouging. In a media interview that day, Ackman claimed a “[v]ery small part of

  Valeant’s business is repricing drugs” and said it was price increases by other companies that

  were resulting in Valeant getting “dragged into the story.” Ackman went on to claim that Valeant

  was “the most undervalued” stock Pershing Square owned at the time.

             421.   After the truth regarding Valeant’s deceptive practices came to light and Ackman

  joined the Board, he dramatically reversed course in his defense of Pearson and Valeant’s

  business practices. Ackman testified to the Senate under oath that he was unaware of what he

  called the “horrible” and “wrong” price increases that were later publicly disclosed with regard

  to Cuprimine, Isuprel, and Nitropress, and testified that Pershing Square did not approve of the

  ‘‘rapid and large increases in the prices of certain drugs.” Ackman testified, “[c]learly [there]

  were things I did not understand about the business.” Ackman also told the Senate Aging

  Committee, and repeated on CNBC and in other media interviews, that replacing Pearson as

  CEO was “appropriate.’’

             422.   After the disclosures, Munger’s criticism was even sharper, stating “Valeant of

  course is a sewer, and those who created it deserve all the opprobrium that they got.” Buffett

  added: “I don’t think you’d want your son to grow up and run a company in the manner that

  Valeant was run.” This time, rather than defend Pearson, as he had to Munger and Buffet in the

  past, Ackman essentially conceded Pearson’s misconduct by stating only that “it is not fair to

  indict an[] entire company based on the actions of a few.”

             I.     VALEANT’S EXECUTIVE COMPENSATION STRUCTURE PROVIDED                    THEM A
                    MOTIVE TO ENGAGE IN FRAUD

             423.   Valeant’s unusual compensation structure, which was heavily dependent on

  increasing the value of its stock, provided a motive to commit fraud.          Valeant’s unusual



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  compensation structure provided incredibly rich compensation packages based on achieving

  increasingly challenging performance goals, backed by the threat of termination. As Pearson

  described it, “[i]f a business does not make money, we either exit the business or we fire the

  person running that business. Usually we fire the person running the business.” This emphasis

  on results over ethics led to a culture of fraudulent practices.

             424.   For example, at a May 28, 2014 conference, Pearson stated ‘‘there’s been a lot of

  turnover at the senior ranks; but that has been, by and large, our decision, not their decisions, as

  we continue to upgrade talent.” Pearson bluntly acknowledged “[t]here’s no tenure at Valeant.

  It’s up and out. ... It’s more like a professional services firm than a sort of traditional

  pharmaceutical company.” Pearson also admitted that the compensation system at Valeant was

  entirely dependent on increasing the stock price, stating:

             So, our Company senior management and the Board-- we-- there’s only one
             metric that really counts, and it’s total return to shareholders. That’s how
             we’re paid. We have a unique pay model, that at least we -at least -- if we don’t
             at least achieve a 15% total return to shareholders each year, compounded
             annual growth rate, that basically the equity we receive in terms of our stock
             grabs is worth nothing.

  A December 12, 2013 Board of Directors presentation regarding Valeant’s 2014 budget reflected

  these aggressive targets. The presentation noted that “[b]udget reflects stretched targets for all

  business units,” and there would be “[n]o bonuses to be paid for performance <90% of base

  budget.”

             425.   While Valeant provided the stick of missing budgets that was punished with

  forfeiture of bonuses or worse, Valeant also provided a carrot to its highest ranking executives,

  who stood to receive potentially millions and even hundreds of millions of dollars for achieving

  the increasingly aggressive financial targets.          For example, in 2014, Pearson’s base

  compensation was $2 million and Schiller’s was $1 million. However, under the bonus program



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  they could earn multiples of their base salary. Thus, Pearson received an $8 million bonus, an

  amount equal to 4 times his base compensation, and Schiller received a $2.4 million bonus,

  nearly 2.4 times his base compensation.

             426.   Yet these lavish salaries and bonuses paled in comparison to the rewards for

  bringing Valeant’s stock price as high as possible until 2017. Industry observers noted that

  Valeant’s compensation scheme paid Pearson “like a hedge fund manager.” For example, on

  April 22, 2014, the Company filed a proxy statement with the SEC disclosing that Pearson’s

  shares of Valeant stock on March 31, 2014 were worth approximately $1.3 billion. During an

  April 22, 2014 presentation in New York, Ackman appeared with Pearson and referred to the

  $1.3 billion, stating that “this is one of the more unusual and leveraged shareholder aligned

  compensation packages we’ve ever seen.” Ackman also highlighted that a large portion of

  Pearson’s compensation was tied to the grant of performance share units that vest only if he

  delivered incredibly aggressive annual returns over three years of between 15% and 60%, which

  compounded each successive year.

             427.   The compensation program provided Pearson the opportunity to become a

  billionaire and obtain wealth far beyond even a typical highly paid CEO. It also incentivized

  Pearson and other Valeant executives to use any means necessary to increase the stock price

  through 2017 at the expense of the long-term health of the Company and shareholder interests.

  Moreover, Pearson was allowed to effectively cash out a portion of his stock, pledging it as

  collateral for $100 million loaned to him by Goldman Sachs in 2014.

             428.   With such powerful incentives, Pearson made statements to drive up the stock

  price, including in an October 27, 2014 letter Pearson wrote to Allergan’s Board of Directors,

  which was publicly disclosed by the Company. In it, Pearson stated: “We believe our stock is




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  trading at artificially low levels.”

             429.   Pearson was also incentivized to omit mentioning facets of Valeant’s business

  model that could negatively affect the stock price, such as how its business model based on

  temporary price increases could not be sustained long-term.

             430.   Throughout Pearson’s tenure as CEO, Valeant continued to create these perverse

  incentives for Pearson. On January 13, 2015, the Company filed a Form 8-K with the SEC

  announcing it had entered into an amended and restated employment agreement with Pearson.

  Pearson stopped earning an annual base salary, but his ‘‘target bonus opportunity” was increased

  from $6 million to $10 million. Again, as large as it was, the cash bonus paled in comparison to

  the hundreds of millions of dollars in compensation Pearson would receive if he successfully

  drove Valeant’s share price higher.13

             431.   During the Relevant Period, Schiller also had millions of dollars of his executive




  13
       Pearson’s amended employment agreement stated, in relevant part:

             The Employment Agreement provides for the grant of 450,000 PSUs with a
             base price of $140.63 (with the potential to earn between zero and 2,250,000
             P S U s depending on performance). The PSUs vest based on achievement of the
             following performance metrics (applying linear interpolation for performance
             between the applicable thresholds): if the total shareholder return (“TSR”)
             over the five year measurement period is less than 10% over the base price,
             none of the PSUs will vest; if the TSR over the five year measurement period is
             10% over the base price, 450,000 of the PSUs will vest; if the TSR over the five
             year measurement period is 20% over the base price, 900,000 of the PSUs will
             vest; if the TSR over the five year measurement period is 30% over the base
             price, 1,350,000 of the PSUs will vest; if the TSR over the five year
             measurement period is 40% over the base price, 1,800,000 of the PSUs will
             vest and if the TSR over the five year measurement period is 50% or more
             over the base price, 2,250,000 of the PSUs will vest.



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  compensation connected with meeting challenging share price increase.14

             432.   But as Valeant’s fortunes took a dip after negative publicity and Philidor’s

  closure, on March 21, 2016, the Company admitted that its aggressive compensation and

  performance-goal practices contributed to the wrongdoing. In particular, it stated: “the Company

  has determined that the tone at the top of the organization and the performance-based

  environment at the Company, where challenging targets were set and achieving those targets was

  a key performance expectation, may have been contributing factors resulting in the Company’s

  improper revenue recognition” and other misconduct detailed in the press release.

             433.   The “tone at the top” material weakness further supports an inference of scienter

  as accounting and internal control guidance makes clear the importance “top management” has

  setting an appropriate tone. SEC Staff Accounting Bulletin No. 99 at 16. As CEO during the

  Relevant Period, Pearson had ultimate responsibility for Valeant’s internal control system and

  setting the “tone at the top” to prioritize ethical business and accounting practices and

  compliance over personal financial compensation, which he failed to do.

             J.     DEFENDANTS WERE MOTIVATED            TO   INFLATE VALEANT’S STOCK PRICE       TO
                    FACILITATE ACQUISITIONS

             434.   In addition to personal compensation, the Executive Defendants were motivated

  to conceal their fraudulent business practices described herein in order to artificially inflate

  Valeant’s stock price to acquire other companies cheaply and to further Valeant’s acquisition

  strategy.

             435.   For example, in 2014, Valeant offered cash and shares of Valeant stock in

  exchange for Allergan shares of stock. Thus, the more that each share of Valeant stock was


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     On top of their extreme compensation, Pearson and Schiller were permitted personal use of
  Valeant’s $60-million fleet of private jets, which were used by them to fly friends and family for
  vacations.


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  worth, the fewer shares Defendants would be required to furnish upon Allergan in the

  acquisition, and ultimately, the less it would cost to Valeant and its shareholders, including the

  Executive Defendants. On May 28 and 29, 2014, Valeant held meetings with some of Allergan’s

  largest shareholders to gather their support for Valeant’s bid. Ackman reported that Allergan’s

  shareholders would support the transaction if Valeant could “deliver $180 a share in Valeant in

  the value of the bid.” The more that the $180 could be funded with the trading price of Valeant’s

  stock, the less cash would be required to deliver Allergan $180 per Valeant share. If Valeant

  stock were trading at or above $180 per share, Valeant would not be required to tender any

  supplemental cash.

             436.   Valeant also took advantage of the artificially inflated price of its securities to

  conduct numerous debt and equity offerings during the Relevant Period, including one of the

  largest high-yield debt offerings in history, which generated in the aggregate nearly $15 billion

  of cash for the Company from the investing public at artificially inflated prices. For example,

  Valeant used proceeds from a $9.5 billion offering of senior notes in March 2015 to acquire

  Salix, and proceeds from a $3.2 billion offering of senior notes in July 2013 to acquire Bausch &

  Lomb.

             437.   These acquisitions added to Valeant’s drug portfolio, which meant more

  opportunities for it to increase prices and thus grow its revenue. That, and the growth in assets

  that such acquisitions would imply, led to continual increases in Valeant’s stock prices. As a

  result, the Executive Defendants saw their own stock options increase in value, which gave them

  incentives to continue engaging in deceptive practices and in concealing whatever facts would

  inhibit Valeant’s ability to raise funds and acquire companies.




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  IX.        LOSS CAUSATION

             438.   Defendants’ wrongful conduct, as detailed herein, directly and proximately

  caused Plaintiffs’ economic losses. Defendants’ statements and material omissions caused, or

  were a substantial contributing factor, in causing Valeant stock to trade at artificially inflated

  prices during the Relevant Period, with the price of Valeant stock reaching over $260 per share

  on August 5, 2015.        As Defendants’ false and misleading statements and omissions were

  revealed to the market beginning in the third quarter of 2015 and continuing through 2016, the

  price of Valeant’s common stock declined precipitously, ultimately closing as low as $24 per

  share on June 7, 2016. As the artificial inflation was removed from Valeant’s stock price, tens of

  billions of dollars in shareholder market capitalization was destroyed, causing substantial

  damage to investors, including Plaintiffs. Similarly, the price of Valeant’s bonds followed suit,

  trading at approximately 80% of par following the corrective disclosures.

             439.   The truth began to emerge on September 28, 2015, when Bloomberg reported that

  members of Congress were calling for an investigation of price gouging by Valeant. Bloomberg

  reported that all Democratic members of the House Committee had directed Chairman Chaffetz

  to subpoena Valeant for documents related to massive price increases for two heart rate

  medications, and that, according to the House Committee members, Valeant had failed to

  “adequately answer” questions and provide documents requested by House Committee staff

  members regarding the Company’s basis for such “skyrocketing prices.” Also on September 29,

  2015, numerous additional news reports were released detailing that Valeant was being targeted

  by Congress for the Company’s practice of purchasing older drugs and then dramatically raising

  their prices.




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             440.   In response to this partial disclosure regarding the Company’s reliance on, and the

  associated risks of, price gouging, the price of Valeant stock dropped more than 16%, from a

  close of $199 per share on Friday, September 25, 2015, to a closing price of $166 per share on

  Monday, September 28, 2015, on unusually high trading volume. The price of Valeant stock

  continued to fall the following day, dropping an additional 5% to close at $158 per share on

  September 29, 2015, also on unusually high trading volume. The total stock price decline over

  this two-day period was over 20%, or $41 per share. Valeant debt securities likewise declined in

  value on the news.

             441.   On Sunday, October 4, 2015, additional details regarding Valeant’s reliance on

  price gouging were revealed when The New York Times published a highly critical article

  concerning Pearson’s September 28, 2015 letter to employees, specifically, his claim that

  Valeant was well-positioned for growth even without any price increases. The article noted that

  extraordinary price increases on eight Valeant drugs accounted for approximately 7% of the

  Company’s revenue and 13% of its earnings before taxes and interest in the second quarter, and

  that Valeant raised the prices on its branded drugs nearly five times as much as its closest

  competitor. On this news, the price of Valeant stock declined by more than 10%, falling from a

  close of $182 per share on Friday, October 2, 2015 to a close of $163 per share on Monday,

  October 5, 2015, on unusually high trading volume.

             442.   After the market closed on October 14, concerns about the legality of the

  Company’s financial assistance programs were revealed when Valeant issued a press release

  disclosing that it had received subpoenas from the U.S. Attorney’s Offices for the District of

  Massachusetts and the Southern District of New York requesting documents related to, among

  other things, Valeant’s PAPs, financial support provided by Valeant for patients, distribution of




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  Valeant’s products, and pricing decisions. The press release also noted that the Company was

  beginning to reach out to hospitals impacted by above average price increases in response to

  Congressional inquiries. On October 15, 2015, additional information was revealed to the market

  as news reports detailed Valeant’s failure to be responsive or transparent with Congress’s

  investigation, and that despite being served with a federal subpoena, Valeant was still refusing to

  provide adequate answers regarding its price gouging and improper practices. On this news, the

  price of Valeant stock dropped by 4.75%, from a close of $177 per share on October 14, 2015, to

  a close of $168 per share on October 15, 2015, on elevated trading volume. Valeant debt

  securities likewise declined in value on the news.

             443.   On October 19, 2015, the market learned additional information related to

  Valeant’s dependence on price increases and its controlling interest in Philidor and a related

  secret network of specialty pharmacies, when the Company reported its third quarter 2015

  financial results and hosted an earnings conference call (which started before the market

  opened). During the conference call, the Company revealed its direct relationship with and

  reliance on certain specialty pharmacies to increase the price of Valeant’s drugs and volume of

  Valeant’s sales, including Philidor, and Valeant’s option to purchase Philidor. In addition, the

  Company disclosed that pricing accounted for approximately 60% of its growth in 2014 and

  2015, that it would be making drug pricing a smaller part of growth going forward, and that

  R&D would become an increased area of focus. After the market closed on October 19, 2015,

  The New York Times published an article that described Philidor as not a ‘‘typical” specialty

  pharmacy, noted that Philidor’s application for a license in California had been rejected for

  submitting false statements, and stated that Valeant was using Philidor as a tool to keep its drug

  prices high.




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             444.   On this news, the price of Valeant stock declined by nearly 8%, falling from a

  close of $177 per share on Friday, October 16, 2015 to a close of $163 per share on Monday,

  October 19, 2015, on elevated trading volume. The following day, Valeant shares fell an

  additional 10% to close at $146 per share on October 20, 2015, also on unusually high trading

  volume. The total stock price decline over this two-day period was over 17%, or $30 per share.

             445.   On October 21 and 22, 2015, the market learned of additional problems regarding

  Valeant’s secret relationships with specialty and “affiliate” pharmacies, including Philidor and

  R&O, and related issues regarding Valeant’s accounting practices. On that day, Citron published

  a research report questioning the relationship between Valeant and Philidor and Valeant’s

  attendant accounting practices, and suggesting that Valeant had created a network of “phantom”

  specialty pharmacies for the purpose of inflating the Company’s revenues. The Citron report also

  provided further details of the lawsuit between R&O and Valeant, where R&O accused Valeant

  of “conspiring ... to perpetuate a massive fraud.” After Citron’s report was published, trading in

  Valeant shares was temporarily halted because of the rapid decline in the price of Valeant shares.

  Specifically, as a result of the information provided to the market on October 21, the price of

  Valeant stock dropped more than 19%, from a close of $146 per share on October 20, 2015, to a

  close of $118 per share on October 21, 2015, on extraordinary trading volume. Valeant debt

  securities likewise declined in value on the news.

             446.   Moreover, after the market closed, Philidor issued a press release disclosing its

  contractual relationship with “affiliated pharmacies,” including R&O, and that it had a right to

  acquire such pharmacies now or in the future subject to regulatory approval. The following day,

  analysts reacted to the troubling disclosures regarding Philidor. For example, before the market

  opened on October 22, 2015, BMO issued a report downgrading its rating of Valeant and




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  concluding that Valeant’s arrangements with Philidor were “not just aggressive, but

  questionable.” As analysts reacted to the disclosures and the market continued to digest the

  negative news, the price of Valeant stock continued to decline on October 22, falling an

  additional 7%, to close at $109 per share on unusually high trading volume. The total stock price

  decline over this two-day period was over 25%, or $36 per share. Valeant debt securities

  likewise declined in value on the news.

             447.   On October 25 and October 26, 2015, the market learned of additional issues

  concerning Valeant’s improper relationship with and reliance on specialty pharmacies to increase

  the prices of Valeant products and to boost the volume of Valeant sales, and that the Company

  might be forced to terminate these clandestine relationships. On Sunday, October 25, 2015, The

  Wall Street Journal reported that former Philidor employees had revealed that Valeant

  employees worked directly at Philidor and were using fictitious names in order to conceal the

  companies’ relationship “so it didn’t appear Valeant was using the pharmacy to steer patients” to

  Valeant products. Before the market opened on October 26, 2015, Valeant filed its 2015 10-Q

  and hosted a conference call, which acknowledged that the Company had the ‘‘power to direct”

  Philidor’s activities, and that the Company was conducting an investigation, through an ad hoc

  Board committee, into its relationship with Philidor. Later that day, Bloomberg reported that the

  remarks on the call “left investors skeptical, failing to answer critical questions on Valeant’s

  continuing relationship with Philidor.” As a result of this news, the price of Valeant stock

  dropped more than 5%, from a close of $116 per share on Friday, October 23, 2015, to a close of

  $110 per share on Monday, October 26, 2015, on unusually high trading volume. Valeant debt

  securities likewise declined in value on the news.




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             448.   On October 28 and 29, 2015, further information was revealed to the market

  regarding Valeant’s secret relationship with and reliance on specialty pharmacies, including

  Philidor, to increase the prices of Valeant products and boost the volume of Valeant’s sales. On

  that day, Bloomberg reported that Philidor used “back door” tactics to increase payments and

  “instructed employees to submit claims under different pharmacy identification numbers if an

  insurer rejected Philidor’s claim- to essentially shop around for one that would be accepted.’’

  Then, on October 29, 2015, Bloomberg Businessweek reported on additional improper business

  practices at Philidor, including that Philidor was falsifying prescriptions to boost Valeant sales,

  based on the accounts of former Philidor employees and internal company documents.

  Additionally, during market hours on October 29, 2015, reports surfaced that CVS Caremark-one

  of the nation’s three largest PBMs - had terminated its relationship with Philidor following an

  audit of Philidor’s practices. As a result of this news, the price of Valeant stock dropped nearly

  5%, from a close of $117 per share on October 28, 2015, to a close of $111 per share on October

  29, 2015, on unusually high trading volume.

             449.   After the market closed on October 29, 2015, the nation’s other largest PBMs,

  Express Scripts and OptumRx, announced that they too had terminated their relationships with

  Philidor. Before the market opened on October 30, 2015, the Company issued a press release

  stating that it would be terminating its relationship with Philidor and that Philidor would be

  ceasing operations as soon as possible. On this news, Valeant shares fell by nearly 16%, from a

  close of $111 per share on October 29, 2015, to a close of $93 per share on October 30, 2015, on

  unusually high trading volume.

             450.   On November 4, 2015, before the market opened, the Senate Aging Committee

  announced that it had formally launched a probe and requested documents and information from




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  Valeant regarding its skyrocketing drug prices. That same day, also before the market opened,

  Bloomberg reported that just weeks prior to the Company’s announcement that it was cutting ties

  with Philidor, Valeant had planned to expand its use of Philidor, which further called into

  question the viability of the Company’s recently issued financial guidance. After the market

  closed on November 4, 2015, The Wall Street Journal reported that Valeant’s largest

  shareholder, Ackman, was considering liquidating his entire $3.8 billion stake in the Company

  and had demanded that Valeant management “come clean’’ about Philidor.

             451.   On this news, the price of Valeant stock dropped by approximately 6%, from a

  close of $97 per share on November 3, 2015, to a close of $91 per share on November 4, 2015,

  on elevated trading volume. Valeant shares continued to decline the following day, falling by

  more than 14%, to close at $78 per share on November 5, 2015, on extraordinary trading volume.

  The total stock price decline over this two-day period was 19.5%, or $19 per share. The price of

  Valeant debt securities also declined in response to the news.

             452.   On November 10, 2015, before the market opened, Valeant hosted a business

  update call and disclosed the “significant” negative financial impact that Philidor’s closing and

  the Government’s spiraling probes into its pricing practices were having on the Company,

  including with respect to its financial guidance. In particular, Valeant disclosed that there would

  be a significant short-term disruption to the Company’s dermatology division, that the Company

  was seeing short-term pressure in its neurology business, and that the Company was “working to

  quantify the potential short-term impact” on 4Q15 of the termination of its relationship with

  Philidor. The Company also acknowledged that filling prescriptions for free would “obviously”

  have an impact on the rest of the quarter and that if Valeant’s pricing is “viewed as aggressive

  we’re going to have to listen to that.” On this news, Valeant stock dropped 2%, from a close of




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  $85 per share on November 9, 2015, to a close of $83 per share on November 10, 2015, on

  unusually high trading volume. The price of Valeant debt securities also declined in response to

  the news.

             453.   After the market closed on November 10, 2015, it was reported that the Sequoia

  Fund, Valeant’s biggest shareholder, had paid and was offering to pay Philidor employees in

  order to obtain information regarding Valeant’s practices. The next day, before the market

  opened, Bloomberg reported that Valeant’s creditors were “[s]pooked” by a possible “[r]evenue

  [s]queeze” and concern was “growing that disruption to Valeant’s cash flow could heighten the

  risk of the company violating lender limits on its debt burden.” During market hours on

  November 11, 2015, analysts at Nomura cut their Valeant price target. On this news, the price of

  Valeant stock continued to decline, falling by over 5%, to close at $78 per share on November

  11, 2015.

             454.   On November 12, 2015, before the market opened, Bloomberg published another

  article regarding Valeant’s relationship with Philidor, and multiple media outlets reported that

  analysts at several firms had lowered their price targets for Valeant. On this news, Valeant’s

  stock price dropped an additional 6.5%, to close at $73 per share. The total stock price decline

  from November 10 through November 12, 2015, was over 13%, or $11 per share.

             455.   On November 16, 2015, during market hours, Bloomberg reported that

  Congressman Elijah Cummings wrote Pearson requesting that Pearson make certain Valeant

  employees available for interviews. After the market closed that day, The Washington Post

  reported that the House Oversight Committee announced it would hold a hearing in early 2016

  on prescription drug pricing, and that it had contacted Valeant to gather information. The article

  also disclosed that members of the House Oversight Committee were urging Valeant’s




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  executives to testify at the hearing and for Valeant to be subpoenaed. On this news, the price of

  Valeant stock dropped by nearly 3%, from a close of $75 per share on November 13,2015, to a

  close of $73 per share on November 16, 2015, on unusually high volume. The price of Valeant

  stock continued to decline on November 17, 2015, dropping an additional 14% to close at $70 on

  high trading volume.

             456.   On December 17, 2015, before the market opened, Mizuho cut its rating on

  Valeant stock to ‘‘neutral” from “buy.” The Mizuho analyst cited a lack of clarity regarding

  Valeant’s agreement with Walgreens, and stated that Valeant management had “not done a good

  job in articulating the details” and that “[w]e still don’t understand how this partnership will

  improve filled prescriptions if payer restrictions persist.” During market hours that day,

  Bloomberg published an article reporting on the Mizuho downgrade. On this news, the price of

  Valeant stock declined nearly 6%, falling $7 from a closing price of $118 on December 16, 2015

  to close at $111 on December 17, 2015.

             457.   On February 19, 2016, media outlets reported on a Wells Fargo analyst report

  issued the prior day that included an in-depth analysis on Valeant and questioned whether the

  Company had been truthful about Philidor. In particular, the report questioned whether the

  Company had been truthful regarding Philidor and Valeant’s relationship, including the adverse

  consequences to Valeant of terminating that relationship, management’s credibility, and

  irregularities with the Company’s accounting. The analysis noted that Valeant’s ‘‘new guidance

  is not compatible with the data presented by Valeant” and “the reduction in guidance does not

  match the impact [of Philidor], as described by Valeant.” The report stressed that “the slide in

  Valeant’s shares is directly related to decisions that the board and management have made”

  including “the board review and approval of a relationship with Philidor.” The report further




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  noted that Valeant’s accounting was misaligned with its purported performance, and suggested

  that the dramatic rise in Valeant’s accounts receivables could be an indication of Valeant’s

  “improperly timed recognition of revenue.” On this news, the price of Valeant stock dropped by

  nearly 10%, falling from a close of $94 per share on February 18, 2016 to a close of $84 per

  share on February 19, 2016, on elevated trading volume.

             458.   On February 22, 2016, a Wells Fargo analyst released an updated note regarding

  Valeant that included two additional valuation models and a $62 price target. Also on February

  22, 2016, CVS announced it would restrict the use of Jublia, one of Philidor’s most heavily

  distributed drugs, by requiring patients to first try a less expensive generic drug. After the market

  closed on February 22, 2016, The Wall Street Journal reported that Valeant was likely to restate

  its 2014 and 2015 earnings following an internal review of its financials. Later that evening, the

  Company confirmed in a release that it would be restating its 2014 earnings by at least $58

  million, which would reduce 2014 GAAP EPS by approximately $0.10. The Company disclosed

  that it had been improperly recognizing revenue upon the delivery of products to Philidor,

  instead of when the products were dispensed to patients. The Company also announced it would

  delay filing its 2015 10-K pending completion of related accounting matters. Schiller commented

  that the Company would be “improving reporting procedures, internal controls and transparency

  for our investors.” On this news, the price of Valeant stock dropped by over 10%, from a close of

  $84 per share on February 19, 2016 to a close of $75 per share on February 22, 2016, the next

  trading day, on unusually high trading volume. Valeant shares continued falling in after-hours

  trading on February 22, 2016 as news of the impending restatement hit the market, dropping as

  low as $68 per share. The price of Valeant debt securities also declined in response to the news.




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             459.   On Sunday, February 28, 2016, Valeant issued a press release announcing

  Pearson’s immediate return as CEO, Ingram’s appointment as Chairman of the Board, and the

  cancellation of a conference call set for February 29, 2016 concerning preliminary 2015 financial

  results and updated guidance for 2016. The press release also disclosed that the Company was

  withdrawing its prior financial guidance, and confirmed that it would delay filing its 2015 10-K

  pending completion of the review of accounting matters by the Ad Hoc Committee “and the

  Company’s ongoing assessment of the impact on financial reporting and internal controls.”

  Numerous media outlets reported on these disclosures prior to the market’s opening on February

  29, 2016. Also during market hours, Moody’s placed Valeant ratings on review for potential

  downgrade on concerns that the Company’s operating performance was weaker than

  expectations, potentially impeding deleveraging plans. As the day progressed, additional reports

  surfaced, and the Company ultimately confirmed that Valeant was under investigation by the

  SEC and had received a subpoena during 2015.

             460.   On this news, the price of Valeant stock dropped by more than 18%, from a close

  of$80 per share on February 26, 2016 to a close of $65 per share on February 29, 2016, the next

  trading day, on unusually high trading volume.        The price of Valeant debt securities also

  declined in response to the news.

             461.   On March 15, 2016, before the market opened, Valeant issued its preliminary

  unaudited 2015 financial results and held a much anticipated conference call. The Company

  revealed that it was reducing its financial guidance for 2016, and provided certain unaudited

  financial information concerning its 4Q15 performance. In particular, the Company slashed its

  2016 revenue guidance from $12.5-12.7 billion to $11-11.2 billion; reduced its Cash EPS

  guidance from $13.25-13.75 to $9.50-10.50; and cut its EBITDA guidance from $6.7-$7.1




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  billion to $5.6-$5.8 billion. The Company cited as reasons for these substantial downward

  revisions “reduced revenue assumptions for certain businesses, new managed care contracts and

  increased investment in key functions, such as financial reporting, public and government

  relations and compliance, as well as the impact of the weak first quarter of 2016.” The Company

  also reported $51.3 million in “wind down costs” for Philidor, including “write-downs of fixed

  assets and bad debt expenses,” and a $79 million impairment charge related to Philidor. As to

  price increases, Pearson stated that all increases going forward ‘‘will be more modest and in line

  with industry practices and managed-care contracts.” During the conference call, Defendants

  disclosed that even the Company’s release from earlier that morning was inaccurate because its

  reporting forecasted adjusted EBITDA for the next four quarters of $6.2 to $6.6 billion, when the

  figure should have been only $6.0 billion. That same day, Moody’s further downgraded

  Valeant’s credit ratings, as well as those of its subsidiaries.

             462.   On this news, the price of Valeant stock plummeted by more than 50%, from a

  close of $69 per share on March 14, 2016 to a close of $33 per share on March 15, 2016, on

  extremely high trading volume. The price of Valeant debt securities also declined in response to

  the news. For example, the price of the 5.375% notes, the 5.875% notes, the 6.125% notes, the

  5.5% notes, the 5.625% notes, and the 7.5% notes each suffered a one-day decline of more than

  10% by the close of trading on March 15.

             463.   On June 7, 2016, Valeant issued a press release and hosted a conference call

  regarding the Company’s long-delayed 1Q16 financial results. The Company reported a GAAP

  loss per share of $1.08 and significantly lowered its 2016 guidance, and revealed that the poor

  financial results and outlook were caused, in large part, by the loss of Philidor. For example,

  Rosiello stated that sales volume declines were “exacerbated by the loss of refills following the




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  shutdown at the end of January of our previous specialty pharmacy relationship.” Papa, the

  Company’s new CEO, added that with respect to dermatology, “a significant portion of our

  Walgreens prescriptions have profitability significantly below our internal projections and

  meaningfully below non-Walgreens prescriptions” and that “[i]n some instances, these

  prescriptions actually have a negative average selling price.’’

             464.   In response to this news, which further revealed the extent to which Valeant relied

  on Philidor to boost prescription drug sales, refills, and prices during much of the Relevant

  Period, the price of Valeant stock dropped by nearly 15% to close at $24 on June 7, 2016, on

  unusually high trading volume.

             465.   On August 10, 2016, after the market closed, The Wall Street Journal reported

  that Valeant was under criminal investigation by the DOJ for whether it defrauded insurers by

  concealing its relationship to Philidor and for a variety of other deceptive business practices.

  According to the Wall Street Journal article, which was quickly picked up by a variety of media

  outlets, federal prosecutors in the U.S. attorney’s office in Manhattan are investigating possible

  mail and wire fraud violations based on whether Valeant “defrauded insurers by shrouding its

  ties to a mail-order pharmacy [Philidor] that boosted sales of its drugs,” and for deceptive

  business practices used to sell Valeant drugs, such as rebates and other compensation provided to

  patients. According to sources interviewed by the Wall Street Journal familiar with the matter,

  “[p]rosecutors are investigating not only the level of control Valeant exerted over Philidor’s

  business, but the extent of the ties, including Valeant’s role in Philidor’s growth.” The Wall

  Street Journal cited these sources as stating that, ‘‘the probe is expected to be the most serious

  Valeant currently faces, and could lead to criminal charges against former Philidor executives

  and Valeant as a company.” The article quoted a statement by Valeant that it “has been




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  cooperating and continues to cooperate with the ongoing Southern District of New York

  investigation.”

             466.   In response to this news, which further revealed the enormous risks presented by

  Valeant’s secret pharmacy network and other undisclosed business practices, the price of Valeant

  stock declined by over 10% to close at $24.49 on August 11, 2016, on unusually high trading

  volume.

             467.   In addition, Defendants’ false and misleading material statements and omissions

  caused, or were a substantial contributing factor, in causing the Valeant bonds to trade at

  artificially inflated prices during the Relevant Period, when Plaintiffs purchased the Valeant

  bonds. As a series of partial disclosures corrected Defendants’ statements, the artificial inflation

  was removed from the price of Valeant’s securities and the price of Valeant bonds declined,

  causing substantial damage to Plaintiffs.

             468.   Each of the declines discussed above in the price of the Valeant bonds was

  statistically significant at a high level after taking into account changes on the same days in the

  overall securities market and in relevant industry indices. Furthermore, as set forth above, each

  of the price declines in Valeant’s securities is attributable to the disclosure of previously

  concealed information relating to the materially false and misleading statements and omissions

  alleged herein. The timing and magnitude of the price declines negate any inference that the

  losses suffered by Plaintiffs were caused by other changed market conditions, macroeconomic or

  industry factors, or Company-specific facts unrelated to the alleged fraudulent conduct. As the

  truth about the fraud was revealed, the price of Valeant bonds declined, the artificial inflation

  was removed, and Plaintiffs suffered damages.




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             469.   These declines in Valeant stock and bonds were the direct and proximate result of

  the nature and extent of Defendants’ prior materially false and misleading statements and

  omissions being revealed to the market. The partial removal of artificial inflation from the price

  of Valeant securities following each of these disclosures would have been greater had

  Defendants fully disclosed the truth. But, because of Defendants’ materially false and misleading

  statements and/or failure to disclose the full truth, the price of Valeant securities remained

  artificially inflated.

             470.   The timing and magnitude of the price declines negate any inference that

  Plaintiffs’ losses were caused by changed market conditions, macroeconomic or industry factors

  or Company-specific factors unrelated to Defendants’ wrongful conduct.

  X.         PLAINTIFFS’ RELIANCE

             471.   During the Relevant Period, Plaintiffs relied on the materially false and

  misleading statements alleged herein when purchasing Valeant securities.

             472.   There is a presumption of reliance established by the fraud-on-the-market doctrine

  in this case because, among other things:

                       (a)     Defendants made public misrepresentations or failed to disclose

       material facts during the Relevant Period;

                       (b)     The misrepresentations and omissions were material;

                       (c)     The Company’s securities traded in efficient markets;

                       (d)     The misrepresentations and omissions alleged would induce a

       reasonable investor to misjudge the value of the Company’s securities; and

                       (e) Plaintiffs purchased Valeant securities between the time Defendants

       misrepresented or failed to disclose material facts, and the time the true facts were




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        disclosed, without knowledge of the misrepresented or omitted facts.

             473.   At all relevant times, the markets for Valeant securities were efficient for the

  following reasons, among others: (a) Valeant’s common stock was listed, and actively traded, on

  the NYSE, a highly efficient and automated market; (b) Valeant filed periodic reports with the

  SEC; (c) Valeant regularly communicated with investors via established market communication

  mechanisms, including through regular disseminations of press releases on the major news wire

  services, and through other wide-ranging public disclosures, such as communications with the

  financial press, securities analysts and other similar reporting services; and (d) Valeant was

  followed by numerous analysts who wrote reports that were published, distributed and entered

  the public market. As a result of the foregoing, the market for Valeant’s securities promptly

  digested current information with respect to the Company and reflected such information in the

  price of Valeant’s securities. Plaintiffs relied on the prices of Valeant’s securities, which

  reflected all the information in the market, including the misstatements by Defendants.

             474.   Plaintiffs are also entitled to a presumption of reliance under Affiliated Ute

  Citizens of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein

  against Defendants are also predicated upon omissions of material fact for which there was a

  duty to disclose.

             475.   To the extent that the presumption of reliance does not apply to some or all of

  Plaintiffs’ claims, Plaintiffs directly relied on Defendants’ false statements in making their

  decision to purchase Valeant common stock and bonds. Plaintiffs were not aware of the truth

  when they made the decisions to invest in Valeant securities.

  XI.        NO SAFE HARBOR

             476.   The statutory safe harbor applicable to forward-looking statements under certain




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  circumstances does not apply to any of the false or misleading statements pleaded in this

  Complaint. The statements complained of herein were historical statements or statements of

  current facts and conditions at the time the statements were made. Further, to the extent that any

  of the false or misleading statements alleged herein can be construed as forward-looking, the

  statements were not accompanied by any meaningful cautionary language identifying important

  facts that could cause actual results to differ materially from those in the statements.

             477.   Alternatively, to the extent the statutory safe harbor otherwise would apply to any

  forward-looking statements pleaded herein, Defendants are liable for those false and misleading

  forward-looking statements because at the time each of those statements was made, the speakers

  knew the statement was false or misleading, or the statement was authorized or approved by an

  executive officer of Valeant who knew that the statement was materially false or misleading

  when made.

  XII.       COUNTS

                                     COUNT I
         VIOLATION OF SECTION 10(b) OF THE EXCHANGE ACT AND RULE 10b-5
                             (Against All Defendants)

             478.   Plaintiffs repeat and reallege each and every allegation in the preceding

  paragraphs as if fully set forth herein.

             479.   This claim is brought by Plaintiffs in connection with their purchases of Valeant

  securities against all Defendants for violation of Section 10(b) of the Exchange Act, 15 U.S.C. §

  78j(b), and Rule 10b-5 promulgated thereunder.

             480.   During the Relevant Period, Defendants disseminated or approved the materially

  false and misleading statements specified above, which they knew or recklessly disregarded were

  misleading in that they misrepresented or omitted material facts necessary in order to make the

  statements made, in light of the circumstances under which they were made, not misleading.


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             481.   Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that

  they: (a) employed devices, schemes and artifices to defraud; (b) made untrue statements of

  material facts or omitted to state material facts necessary in order to make the statements made,

  in light of the circumstances under which they were made, not misleading; or (c) engaged in acts,

  practices and a course of business that operated as a fraud or deceit upon Plaintiffs related to the

  purchase and/or acquisition of Valeant securities.

             482.   In addition to the duties of full disclosure imposed on the Defendants attendant to

  their affirmative false and misleading statements to the public, Defendants had a duty under SEC

  Regulations S-X (17 C.F.R. §210.01, et seq.) and S-K (17 C.F.R. §229.10, et seq.) to promptly

  disseminate truthful information with respect to Valeant’s operations and performance that

  would be material to investors in compliance with the integrated disclosure provisions of the

  SEC, including with respect to the Company’s revenue and earnings trends, so that the market

  prices of the Company’s securities would be based on truthful, complete, and accurate

  information.

             483.   As a direct and proximate cause of Defendants’ wrongful conduct, Plaintiffs

  suffered damages in connection with their purchases and acquisitions of Valeant securities

  during the Relevant Period. In reliance on the integrity of the market, Plaintiffs paid artificially

  inflated prices for Valeant securities and experienced losses when the artificial inflation was

  removed from the securities as a result of the revelations and price declines detailed herein.

  Plaintiffs would not have purchased or acquired Valeant securities at the prices they paid, or at

  all, if they had been aware that those prices had been inflated by Defendants’ misleading

  statements and omissions.




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             484.   By virtue of the conduct alleged herein, Defendants have each violated Section

  10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, and are liable to Plaintiffs.

                                           COUNT II
                    VIOLATION OF SECTION 20(a) OF THE EXCHANGE ACT
                        (Against Defendants Pearson, Schiller, and Rosiello)

             485.   Plaintiffs repeat and reallege each and every allegation in the preceding

  paragraphs as if fully set forth herein.

             486.   This claim is brought by Plaintiffs against Defendants Valeant, Pearson, Schiller,

  and Rosiello for violation of Section 20(a) of the Exchange Act, 15 U.S.C. § 78(a).

             487.   During their tenures as officers and/or directors of Valeant, Pearson, Schiller, and

  Rosiello were controlling persons of Valeant within the meaning of Section 20(a) of the

  Exchange Act. By reason of their positions of control and authority as officers and/or directors

  of Va1eant, these Defendants had the power and authority to cause Valeant to engage in the

  conduct complained of herein. These Defendants were able to, and did, control, directly and

  indirectly, the decision-making of Valeant, including the content and dissemination of Valeant’s

  public statements and filings described herein, thereby causing the dissemination of the

  materially false and misleading statements and omissions as alleged herein. Valeant exercised

  control over and directed the actions of its senior managers, directors and agents, including the

  individual Defendants. Valeant controlled Pearson, Schiller, Rosiello and all of its employees

  and subsidiaries.

             488.   In their capacities as senior corporate officers and/or directors of Valeant, and as

  more fully described herein, Pearson, Schiller, and Rosiello participated in the misstatements and

  omissions set forth above. These Defendants had direct and supervisory involvement in the day-

  to-day operations of the Company, and had access to non-public information regarding Valeant’s

  deceptive and risky business practices. Valeant, Pearson, Schiller and Rosiello had the ability to


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  influence and direct and did so influence and direct the activities of each of the Defendants in

  their violations of Section 10(b) of the Exchange Act and Rule 10b-5 as detailed above in ¶¶

  339-372.

             489.   As a result, Valeant, Pearson, Schiller, and Rosiello, individually and as a group,

  were control persons within the meaning of Section 20(a) of the Exchange Act.

             490.   As set forth above, Valeant violated Section 10(b) of the Exchange Act. By virtue

  of their positions as controlling persons, and as a result of their aforesaid conduct and culpable

  participation, Pearson, Schiller, and Rosiello are liable pursuant to Section 20(a) of the Exchange

  Act, jointly and severally with, and to the same extent that Valeant is liable to Plaintiffs. Valeant

  exercised control over the individual Defendants and all of its employees and subsidiaries and, as

  a result of its aforesaid conduct and culpable participation, is liable pursuant to Section 20(a) of

  the Exchange Act, jointly and severally with, and to the same extent as the individual Defendants

  are liable to Plaintiffs.

             491.   By reason of the foregoing, Valeant, Pearson, Schiller, and Rosiello violated

  Section 20(a) of the Exchange Act, 15 U.S.C. §78(a), and are liable to Plaintiffs.

  XIII. PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs pray for relief and judgment as follows:

             A.     Awarding Plaintiffs compensatory damages in an amount to be proven at trial for

  all injuries sustained as a result of Defendants’ wrongdoing, including pre-judgment and post-

  judgment interest, as allowed by law;

             B.     Awarding Plaintiffs extraordinary, injunctive and/or equitable relief, including

  rescission, as appropriate, in addition to any other relief that is just and proper under the

  circumstances;




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             C.     Awarding Plaintiffs their reasonable costs and expenses incurred in this action,

  including counsel fees and expert fees; and

             D.     Awarding such other relief as this Court may deem just and proper.

  XIV. JURY DEMAND

             Plaintiffs hereby demand a trial by jury for all issues so triable.



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                             LOCAL CIVIL RULE 11.2 CERTIFICATION

             Pursuant to Local Civil Rule 11.2, I hereby certify that the matter in controversy is

  related to the following civil actions:

  Class case
                   Potter v. Valeant Pharmaceuticals International, Inc. et al., 15-cv-7658 (M.
                    Shipp)
  Opt-outs

                   T. Rowe Price Growth Stock Fund, Inc. et al. v. Valeant Pharmaceuticals
                    International, Inc., et al., 16-cv-5034 (M. Shipp);
                   Equity Trustees Ltd. as Responsible Entity for T. Rowe Price Global Equity Fund;
                    Voya Partners, Inc.; JNL Funds; Dow Corning Empl Ret. Plan Master Trust;
                    Milliken Retirement Plan; Penn Series Funds, Inc.; Foreign & Colonia Invs.
                    Trust; Minnesota Life Ins. CO.; Securian Funds Trust; Conagra Funds; City of
                    Tallahassee Pension Plan; Teacher Ret. Sys. of Texas, 16-06127 D. NJ (M.
                    Shipp);
                   Principal Funds, Inc. and Principal Variable Contracts Funds, Inc., 16-06128 D.
                    NJ (M. Shipp);
                   Bloombergsen Partners Fund LP et. al. v. Valeant Pharmaceuticals International,
                    Inc., et al., 16-07212 D. NJ (M. Shipp);
                   Bluemountain Foinaven Master Fund L.P. et al v. Valeant Pharmaceuticals
                    International, Inc. et al., 16-07328 D. NJ (M. Shipp);
                   Discovery Global Citizens Master Fund, Ltd. et al. v. Valeant Pharmaceuticals
                    International, Inc., et al., 16-07321 D. NJ (M. Shipp);
                   MSD Torchlight Partners, L.P. et al v. Valeant Pharmaceuticals International,
                    Inc., et al., 16-07324 D. NJ (M. Shipp);
                   Incline Global Master LP et al v. Valeant Pharmaceuticals International, Inc., et
                    al., 16-07494 D. NJ (M. Shipp);
                   Janus Aspen Series et al. v. Valeant Pharmaceuticals International, Inc. et al., 16-
                    07497 D. NJ(M. Shipp);
                   Valic Company I et al. v. Valeant Pharmaceuticals International, Inc., et al., 16-
                    07496 D. NJ (M. Shipp);
                   Lord Abbett Investment Trust-Lord Abbett Short Duration Income Fund et al. v.
                    Valeant Pharmaceuticals International Inc. et al., 17-cv-6365 (M. Shipp);
                   Okumus Opportunistic Value Fund, Ltd. v. Valeant Pharmaceuticals International
                    Inc. et al., 17-cv-6513 (M. Shipp);
                   Pentwater Equity Opportunities Master Fund Ltd. et al. v. Valeant
                    Pharmaceuticals International, Inc. et al., 17-cv-7552 (M. Shipp);
                   Public Employees Retirement System of Mississippi v. Valeant Pharmaceuticals
                    International, Inc. et al., 17-cv-7625 (M. Shipp);
                   The Boeing Company Employee Retirement Plans Master Trust et al. v. Valeant
                    Pharmaceuticals International, Inc. et al., 17-cv-7636 (M. Shipp);



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                Forsta AP-Fonden et al. v. Valeant Pharmaceuticals International, Inc. et al., 17-
                 12088 D. NJ (M. Shipp);
                State Board of Administration of Florida v. Valeant Pharmaceuticals
                 International, Inc. et al., 17-12808 D. NJ (M. Shipp);
                The Regents of the University of California v. Valeant Pharmaceuticals
                 International, Inc. et al., 17-13488 D. NJ (M. Shipp);
                New York City Employees' Retirement System et al v. Valeant Pharmaceuticals
                 International, Inc. et al., 18-00032 D. NJ (M. Shipp);
                GMO Trust et al. v. Valeant Pharmaceuticals International, Inc. et al., 18-00089
                 D. NJ (M. Shipp);
                Hound Partners Offshore Fund LP et al. v. Valeant Pharmaceuticals
                 International, Inc., 18-08705 D. NJ (M. Shipp);
                Blackrock Global Allocation Fund, Inc. et al. v. Valeant Pharmaceuticals
                 International, Inc. et al., 18-00343 D. NJ (M. Shipp);
                Colonial First State Investments Limited v. Valeant Pharmaceuticals
                 International, Inc., et al., 18-00383 D. NJ (M. Shipp);
                Ahuja, et al v. Valeant Pharmaceuticals International, Inc., et al., 18-00846 D. NJ
                 (M. Shipp);
                Brahman Partners Ii, L.P., et al. v. Valeant Pharmaceuticals International, Inc.,
                 18-00893 D. NJ (M. Shipp);
                The Prudential Insurance Company of America, et. Al. v. Valeant
                 Pharmaceuticals International, Inc., et al., 18-01223 D. NJ (M. Shipp);
                Senzar Healthcare Master Fund, LP, et al. v. Valeant Pharmaceuticals
                 International, Inc., et al., 18-02286 D. NJ (M. Shipp);
                Dynasty UC LLC, et al. v. Valeant Pharmaceuticals International, Inc., et al., 18-
                 08595 D.NJ (M. Shipp);
                Catalyst Dynamic Alpha Fund, et al. v. Valeant Pharmaceuticals International,
                 Inc., et al., 18-12673 D.NJ (M. Shipp);
                Northwestern Mutual Life Insurance Co., et al. v. Valeant Pharmaceuticals
                 International, Inc., et al., 18-15286 D.NJ (M. Shipp);
                Bahaa Aly, et al. v. Valeant Pharmaceuticals International, Inc., et al., 18-17393
                 D.NJ (M. Shipp);
                Delaware Public Employees' Retirement System v. Valeant Pharmaceuticals
                 International, Inc., et al., 19-18475 D. NJ (M. Shipp);
                Office of the Treasurer as Trustee for the Connecticut Retirement Plans and Trust
                 Funds v. Valeant Pharmaceuticals International, Inc., et al., 19-18473 D. NJ (M.
                 Shipp);
                Maverick Neutral Levered Fund, Ltd., et al v. Valeant Pharmaceuticals
                 International, Inc., et al., 20-2190 D.N.J. (M. Shipp); and
                Templeton, et al. v. Valeant Pharmaceuticals International, Inc., et al., 20-5478
                 D.N.J. (M. Shipp);




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             I hereby certify that the following statements made by me are true. I am aware that if any

  of the foregoing statements made by me are willfully false, I am subject to punishment.



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